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 6
 7                              UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
 8                                   OAKLAND DIVISION
 9
     S.Y., Z.D., Y.W., H.G., W.X.,                        Case No. 4:25-cv-03244-JSW
10
            Plaintiffs,
11                                                        DECLARATION OF ZACHARY
12          v.                                            NIGHTINGALE IN SUPPORT
                                                          OF PLAINTIFFS’ REPLY IN
13   Kristi NOEM, in her official capacity, Secretary,    SUPPORT OF MOTION FOR
     U.S. Department of Homeland Security;                TEMPORARY RESTRAINING
14                                                        ORDER
15   Todd M. LYONS, in his official capacity, Acting
     Director, Immigration and Customs Enforcement,
16   U.S. Department of Homeland Security;
17   Moises BECERRA, in his official capacity, Acting
18   Field Office Director of San Francisco Office of
     Detention and Removal, U.S. Immigrations and
19   Customs Enforcement, U.S. Department of
     Homeland Security; and
20
21   Donald J. TRUMP, in his official capacity,
     President of the United States of America;
22
           Defendants.
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28   S.Y. v. Noem, et al., No. 5:25-cv-03244- JSW
     DECLARATION OF ZACHARY NIGHTINGALE
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 1   I, Zachary Nightingale hereby declare as follows:
 2       1. I am a partner at Van Der Hout LLP, which is located at 360 Post Street, Suite 800, San
 3   Francisco, California 94108. I have personal knowledge of the matters stated herein because I
 4   am an attorney for Plaintiffs S.Y., Z.D., Y.W., H.G., and W.X. in this case. I make this
 5   declaration in support of their Reply in Support of Motion for a Temporary Restraining Order.
 6       2. Attached as Exhibit A is a Notice of Intent to Deny (NOID) issued by the U.S.
 7   Citizenship and Immigration Services (USCIS) on April 18, 2025, regarding an application to
 8   change status from F-1 to H-1B. In that NOID, USCIS states that, because the noncitizen
 9   applicant’s Student and Exchange Visitor Information System (SEVIS) record was terminated,
10   he is not in valid F-1 nonimmigrant status and therefore cannot change from F-1 status to H-1B
11   status.
12       3. Attached as Exhibit B is a declaration from Brian Childs, Senior Director of the
13   International Student & Scholar Services office of Western Michigan University (WMU) and a
14   Designated School Official (DSO) for WMU, that was filed in B K, et al. v. Noem, et al., 1:25-
15   cv-00419-JMB-PJG (Dkt. 12-1). DSOs are responsible for an institution’s communication with
16   the Student Exchange Visitor Program (SEVP), updating F-1 student records, helping F-1
17   students maintain their status by providing guidance, and creating the Form I-20, Certificate of
18   Eligibility for Nonimmigrant Student Status, for F-1 students and post-graduate workers.
19       4. Attached as Exhibit C is the transcript from Patel v. Lyons, 1:25-cv-01096-ACR,
20   (D.D.C., Apr. 16, 2025).
21       5. Attached as Exhibit D is the Order granting a Temporary Restraining Order in Patel v.
22   Lyons, 1:25-cv-01096-ACR, April 17, 2025.
23       6. Attached as Exhibit E is a transcript from Nali v. Noem, et al., 1:25-cv-03969 (N.D. Ill.
24   Apr. 18, 2025).
25       7. Attached as Exhibit F is the Order granting a Temporary Restraining Order in Nali v.
26   Noem, et al., 1:25-cv-03969 (N.D. Ill. Apr. 18, 2025).
27       8. Attached as Exhibit G is a Declaration from Linus Chan filed in filed in Student Doe #1
28   v. Trump et al., 25-cv-00174-TUC-JGZ (D. Ariz).

     S.Y. v. Noem, et al., No. 5:25-cv-03244- JSW                                                       1
     DECLARATION OF ZACHARY NIGHTINGALE
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 1       9. Attached as Exhibit H is a Declaration from Ami Hutchinson filed in Student Doe #1 v.
 2   Trump et al., 25-cv-00174-TUC-JGZ (D. Ariz).
 3       10. Attached as Exhibit I is a Temporary Restraining Order granted in Mohammed H. v.
 4   Trump et al., 0:25-cv-01576-JWB-DTS (D. Minn., Apr. 22, 2025), a case in which, on March
 5   28, 2025, U.S. Department of Homeland Security (DHS), U.S. Immigration and Customs
 6   Enforcement (ICE) officers detained petitioner Mohammed H outside his home based on a visa
 7   revocation and termination of his SEVIS record.
 8       11. Attached as Exhibit J is a Notice to Appear (NTA) of Rumeysa Ozturk, who was
 9   arrested, placed into proceedings, and immediately transferred to Louisiana after her F-1 visa
10   was revoked.
11       12. Attached as Exhibit K are copies of Temporary Restraining Orders (TROs) issued by
12   courts in substantially identical fact situations, including:
13               -   Liu v. Noem et al., 25-cv-133-SE (D.N.H., Apr. 10, 2025)
14               -   Zhou v. Lyons et al., 2:25-cv-02994-CV (C.D.Cal., Apr. 15, 2025)
15               -   Doe v. Noem et al., 2:25-cv-01103-DAD-AC (E.D.Cal., Apr. 17, 2025)
16               -   Doe v. Noem, 2:25-CV-00633-DGE (W.D. Wash. Apr. 17, 2025)
17               -   Ziliang J. v. Noem et al., 25-cv-01391-PJS (D.Minn., Apr. 17, 2025)
18               -   Oruganti v. Noem et al., 2:25-cv-00409-ALM-EPD (E.D.OH., Apr. 18, 2025)
19               -   Chen v. Noem et al., 1:25-cv-00733-TWP-MG (S.D.IN., Apr. 21, 2025)
20               -   W.B. v. Noem et al., 25-cv-03407 (N.D. Cal., Apr. 23, 2025)
21
     I declare under penalty of perjury that the foregoing statement is true and correct to the best of
22
     my own personal knowledge. Executed this 23rd day of April 2025 at San Francisco,
23   California.

24                                                   /s/ Zachary Nightingale
                                                     Zachary Nightingale
25
                                                     Declarant
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28

     S.Y. v. Noem, et al., No. 5:25-cv-03244- JSW                                                         2
     DECLARATION OF ZACHARY NIGHTINGALE
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              EXHIBIT A
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 1                   IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF COLUMBIA
 2

 3   AKSHAR PATEL                  ) CIVIL NO.:
                                   ) 25-1096-ACR
 4             Plaintiff,          )
          vs.                      )
 5                                 )
     TODD M. LYONS,                )
 6                                 ) April 16, 2025
               Defendant.          ) Washington, D.C.
 7   ______________________________) 10:45 a.m.

 8
                        Transcript of Motions Hearing
 9                    Before the Honorable Ana C. Reyes
                        United States District Judge
10
     APPEARANCES:
11
     For the Plaintiff:       Steven A. Brown, Esquire
12                            Reddy Neumann Brown, P.C.
                              10333 Richmond Avenue, Ste 1050
13                            Houston, TX 77042

14                            Bradley B. Banias, Esquire
                              Banias Law LLC
15                            602 Rutledge Avenue
                              Charleston, SC 29403
16
     For the Defendant:       Joseph F. Carilli , Jr., , Esquire
17                            United States Attorney's Office
                              Civil Division
18                            601 D Street, NW
                              Washington, DC 20001
19
     Also Present:    MacKlin Everly
20                    Andre Watson

21   Reported by:     Christine T. Asif, RPR, FCRR
                      Federal Official Court Reporter
22                    333 Constitution Avenue, NW
                      Washington, D.C. 20001
23                    (202) 354-3247

24
     Proceedings recorded by machine shorthand; transcript produced
25   by computer-aided transcription




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 1                            P R O C E E D I N G S

 2              THE CLERK:     This is civil action 25-1096, Akshar

 3   Patel versus Todd M. Lyons.

 4              Will the parties please identify themselves for the

 5   record.

 6              MR. BROWN:     Good morning, Your Honor.        Steven Brown

 7   and Brad Banias for the plaintiffs.

 8              THE COURT:     Government counsel.

 9              MR. CARILLI:     Joseph F. Carilli for the

10   Government.

11              THE COURT:     In the future gentleman if I or any

12   court orders you to meet and confer, there are two components

13   of a meet and confer meet and confer.        One that you actually

14   meet, which you do not do over email.        And two is that you

15   actually confer.    The second I saw your --

16              Mr. Carilli, could you please look up and not be

17   writing whatever you're writing right now and listen to me.

18              The second I saw your first joint status report I

19   knew immediately that none of you had done either of those two

20   things, which is why I asked for the further report which

21   confirmed everything that I thought.        Now did you all meet and

22   confer by video this morning?

23              MR. BROWN:     Yes, Your Honor.

24              THE COURT:     How long did the meet and confer last?

25              MR. BROWN:     About 40 minutes, Your Honor.




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 1               THE COURT:    Okay.   Did you guys make any progress?

 2               MR. BROWN:    Not towards a resolution, Your Honor,

 3   but I think we have a understanding of each -- better

 4   understanding of each other's position, Your Honor.

 5               THE COURT:    All right.     So Mr. Carilli, can you

 6   explain the SEVIS system to me exactly what it is and what it

 7   does.

 8               MR. CARILLI:    SEVIS is an information system that

 9   was established under 8 U.S.C., I'm sorry --

10               THE COURT:    1372.

11               MR. CARILLI:    1372, excuse me.      That was established

12   post 9/11 for the Secretary of Homeland Security to be able to

13   monitor individuals who are in the country in F, M, and J

14   status.   Obviously, the issue here is the portions of SEVIS

15   that are used by F.      Immigration and Customs Enforcement

16   maintains that system under that statute and it is used to,

17   like I said, monitor and then also for individual schools to

18   be able to provide information about F-1 students that are

19   enrolled at their schools.

20               THE COURT:    Okay.   So the purpose of SEVIS is to

21   monitor people who are here in part on F-1 visas?

22               MR. CARILLI:    Yes, Your Honor.

23               THE COURT:    Okay.   So what's the impact of taking

24   someone off of SEVIS, why would we not want to monitor

25   somebody?




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 1               MR. CARILLI:   Well, to clarify, Your Honor, what

 2   occurred here was, in SEVIS there is a drop down menu that

 3   allows you to list active -- there's categories about an

 4   individual.   So the record wasn't deleted, it's just in SEVIS

 5   that it was changed from active to terminated.

 6               THE COURT:   Okay.   And what's the consequence of

 7   moving someone from active to terminated?

 8               MR. CARILLI:   The consequence is exactly as

 9   described, that it changed the status of the individual inside

10   SEVIS.    It did not change the individual's immigration

11   status.

12               THE COURT:   So what's the impact of it being changed

13   within SEVIS, why -- what happens when that occurs?

14               MR. CARILLI:   I mean, it's an indication that in

15   system that the individual -- that their record in the system

16   has been -- the status is terminated.        I can't --

17               THE COURT:   No, I understand that.       But what is the

18   impact -- what's the impact of it having been terminated?              If

19   there's no impact, then I'm sure you have no problem moving it

20   back to active and we can all go home; right?

21               MR. CARILLI:   Well, I think that the government

22   has -- ICE has indicated they're not going to change it back.

23   I think that --

24               THE COURT:   That wasn't my question.         I'm not really

25   concerned what ICE thinks they can and can't do, I'm concerned




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 1   with what I can do.      And my understanding from the plaintiff's

 2   argument is that a change of SEVIS from active to terminated

 3   either automatically cancels their F-1 visa or is a precursor

 4   to canceling their visa.     I'm not quite sure what the argument

 5   is, but I think it's the first.      And the government says no,

 6   no, no, that has nothing to do with immigration.            So if it has

 7   nothing to do with immigration, it must have something to do

 8   with something, or else we would all change it back to active

 9   and we could all go home.

10               So explain to me please what the consequence is of

11   changing something from active to inactive or terminated.              And

12   do not say it's terminated within the SEVIS system, because

13   that is not an answer to my question.        What is the impact of

14   terminating somebody within SEVIS?

15               MR. CARILLI:    I'm not prepared to answer that --

16               THE COURT:    How are you not prepared to answer --

17   I'm sorry how are you not here prepared to answer that

18   question?   That's the only question in this litigation, Mr.

19   Carilli.

20               MR. CARILLI:    The question here is whether --

21               THE COURT:    No, Mr. Carilli -- Mr. Carilli.         I'm the

22   one who decides what the questions here are, okay, not you.

23   Now, obviously, the first question in this case is what is the

24   practical import of canceling someone within SEVIS.            And if

25   you don't know, we're all going to wait here while you call




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 1   someone and find out, because I'm not going to get jerked

 2   around by you telling me you're not prepared to answer the key

 3   question in this case.

 4              What is the impact of someone being terminated

 5   within SEVIS?

 6              MR. CARILLI:    I do not know --

 7              THE COURT:    All right.      Mr. Carilli, that's fine --

 8   Mr. Carilli, that's totally fine.        We're all going to stay on

 9   the phone here.    You're going to go some other phone or you're

10   going to put yourself on mute.      And you're going to call your

11   client and you're going to ask.       And we're going to stay here

12   until you get an answer.

13              MR. CARILLI:    Yes, Your Honor.

14              THE COURT:    So, gentleman, you guys can hang back

15   and we'll hear from Mr. Carilli when he's done.              And I'm going

16   to stay on the bench while you get this done.              And if you

17   can't get someone on the phone.       Get the next person on the

18   phone.   Because I'm going to stay here until you get someone

19   on the phone.   I'm ordering you to get your client on the

20   phone.   So we're all going to stay here while you do that.

21              And you can put yourself on mute and turn yourself

22   off the video if you would like Mr. Carilli.

23              Gentleman, you guys can put yourselves off video if

24   you want to, just stay around in case we get back from him.

25   And Ms. White mute, please.      Turn off my video.




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 1              (Pause in the proceedings from 10:53 a.m. to 12:06

 2   p.m.)

 3              THE COURT:    Mr. Carilli, where are we?

 4              MR. CARILLI:    Your Honor, I'm still waiting for a

 5   response from the Agency, in terms of the practical effects of

 6   changing the record in SEVIS to terminated.

 7              THE COURT:    Can you explain to me please why it has

 8   taken over an hour and I still don't have an answer, to what

 9   must be the most obvious simple question that this case

10   presents as to what happens when someone gets taken off of

11   SEVIS?   I mean, you know, why there's a delay, right, Mr.

12   Carilli?   Do you want to tell me why there's a delay or do you

13   want to me to tell you why there's a delay?

14              MR. CARILLI:    Your Honor, I don't know why there's a

15   delay.

16              THE COURT:    Well, I'll tell you why there's a delay,

17   Mr. Carelli, because what happens when you take someone off of

18   SEVIS and you terminate them they lose their status and that's

19   not something you all want to tell the Court.             Now, why you

20   all don't want to tell the Court, I don't know.             But we're

21   going to get an answer to the question.

22              So I want agency counsel to stop whatever

23   conversations she's having or he's having right now and get on

24   the video so I can ask agency counsel what's going on.

25   Because we asked -- apparently agency counsel was on the phone




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 1   no later than 11:40 having this conversation.             And it's not a

 2   25-minute answer.    So get agency counsel on the phone.            And

 3   after we get agency counsel on the phone, if I'm not

 4   satisfied, we're going to have the declarant Mr. Watson come

 5   to my courtroom and testify today.       So get agency counsel on

 6   the phone, please.

 7              MR. CARILLI:    Yes, Your Honor.      Honor, excuse me,

 8   before I go off video may I go off video to --

 9              THE COURT:    Yeah.   Sure.   Of course.

10              MR. CARILLI:    Thank you, Your Honor.

11              (Pause in the proceedings from 12:08 p.m. to 12:19

12   p.m.)

13              THE COURT:    Mr. Carilli, what's going on?

14              MR. CARILLI:    Your Honor, I just forwarded the

15   invite to one of the agency counsel.        Agency counsel indicated

16   there was also going to be another individual that was going

17   to join.   So I have been waiting for that second name, but I

18   just forwarded it to the person that told me --

19              THE COURT:    Okay.   While we're waiting for them, is

20   the government's position that Mr. Patel's F-1 visa is in

21   effect or not in effect?

22              MR. CARILLI:    Mr. Patel's F-1 visa is no longer

23   valid.   So -- and I think there's a different genre between a

24   individual who has a valid visa which allows them to seek

25   admission into the United States versus when an individual has




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 1   lawful status after they have been admitted into the United

 2   States.

 3               THE COURT:   Okay.   Is he lawfully in the United

 4   States right now?

 5               MR. CARILLI:   The government's position is that he

 6   has not -- ICE has not taken -- has not terminated his F-1

 7   status.    And for ICE to be able to terminate his F-1 status,

 8   they would have to put him in 1229a removal proceedings.

 9               THE COURT:   Is he lawfully in the United States

10   right now, yes or no?

11               MR. CARILLI:   I'm not able to answer that question,

12   Your Honor.

13               THE COURT:   How are you not able to answer that

14   question?   What does that even mean?       He's either here legally

15   or he's not here legally.      You're the government's lawyer.             Is

16   he here legally?    I mean, how is Mr. Patel supposed to know if

17   he's here legally if you don't even know if he is here

18   legally?

19               MR. CARILLI:   He was lawfully admitted to the United

20   States --

21               THE COURT:   No, no, Mr. Carilli, there's a -- no, no

22   Mr. Carilli, there is a yes or no answer here.            We are not --

23   this is not Schrodinger's visa, either he's here legally or

24   he's not here legally.     If you cannot answer the question, you

25   have to explain to me why you cannot answer that question.




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 1                MR. CARILLI:   I cannot answer that question.          I have

 2   talked to ICE as to whether or not they consider at this point

 3   in time the individual, whether or not they are maintaining

 4   lawful status.

 5                THE COURT:   And what does ICE say to that?

 6                MR. CARILLI:   I have not received a response, Your

 7   Honor.

 8                THE COURT:   Do you realize that this is Kafkaesque?

 9   I've got two experienced immigration lawyers on behalf of a

10   client who is months away from graduation, who has done

11   nothing wrong, who has been terminated from a system that you

12   all keep telling me has no effect on his immigration status,

13   although that clearly is BS.       And now, his two very

14   experienced lawyers can't even tell him whether or not he's

15   here legally, because the Court can't tell him whether or not

16   he's here legally, because the government's counsel can't tell

17   him if he's here legally.

18                And you know what's going to happen when he gets

19   picked up?    He's going to be accused of being here illegally

20   in the United States because when he is picked up and put

21   through deportation proceedings, everyone's going to say he

22   was here illegally and he was obviously here illegally and he

23   should have known that.      And then some court down there is

24   going to say no, no, no, the Court up in D.C. asked and the

25   government said they didn't know.         And those lawyers, do you




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 1   know what they are going to do?      They're going to be like, I

 2   don't know what that lawyer was thinking.

 3               We are not going to do that here, Mr. Carilli.            That

 4   is not happening in this courtroom.        We're going to get an

 5   answer.   And if the answer somehow contradicts what is in your

 6   brief, or what is in God willing no, Mr. Watson's declaration,

 7   there are going to be serious consequences.          Where is your

 8   agency counsel?

 9               MR. CARILLI:   Will you allow me to confer with the

10   agency --

11               THE COURT:   No, you've been conferring with the

12   agency for -- I want the agency counsel on the phone, you sent

13   them the thing; right?

14               MR. CARILLI:   Your Honor, what I meant by confer was

15   please let me try and get them back on the phone to find out

16   why they have not joined the call.

17               THE COURT:   Fine.

18               MR. CARILLI:   That's what I meant by --

19               THE COURT:   Fine.

20               (Pause in the proceedings.)

21               MR. CARILLI:   Your Honor, agency counsel is joining

22   on the line.

23               THE COURT:   Plaintiff's counsel, is your client

24   allowed to go to classes right now?

25               MR. BROWN:   Your Honor, it is our client's position




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 1   that based off of ICE he cannot be in status and thus cannot

 2   attend classes.

 3              THE COURT:    Is anyone at the school preventing him

 4   from going to classes?

 5              MR. BROWN:    I don't think there's anybody physically

 6   preventing him, no, Your Honor.

 7              THE COURT:    All right.      Government counsel, I assume

 8   while this is pending you are okay if he goes to classes?

 9              MR. CARILLI:    I would need to confer with the Agency

10   about that, Your Honor.     I asked that specific question before

11   this hearing and did not receive a response.

12              THE COURT:    Is it they just don't respond to you or

13   they just don't give you an answer?

14              MR. CARILLI:    I have received that they don't have a

15   response to my question.     In other words, it's not a -- it is

16   not a they did not respond.      It's -- as the Agency counsel

17   just explained to me, when I asked him to join the link is he

18   indicated that those are operational decisions that are with

19   the client, with their client.

20              THE COURT:    Okay.   Well, then I want someone from

21   the client -- where is agency counsel?          How long does it take

22   to log on to a video?     We've been waiting for the agency

23   counsel now 20 minutes.

24              (Pause in the proceedings.)

25              MR. CARILLI:    Just communicated, Your Honor, that




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 1   he's trying to log in right now.

 2              THE COURT:     Mr. Everly, could you please enter your

 3   appearance.

 4              THE CLERK:     Mr. Everly this is the courtroom deputy,

 5   can you hear me, sir?     I can't hear you.

 6              MR. EVERLY:     Can you hear me now?

 7              THE COURT:     Mr. Everly, can you please enter your

 8   appearance.

 9              MR. EVERLY:     Yes.   MacKlin Keith Everly, agency

10   counsel for U.S. Immigration and Customs Enforcement.

11              THE COURT:     How long have you been agency counsel,

12   sir.

13              MR. EVERLY:     Little less than two years.

14              THE COURT:     Where were you before then?

15              MR. EVERLY:     I was with Progressive and

16   (indiscernible) company.

17              THE COURT:     All right.     Government counsel asked you

18   some questions today about Mr. Patel, sort of rather obvious

19   questions that I have asked government counsel.             He says he's

20   asked you and you said you can't -- you don't have an answer

21   for him because it was above your pay grade or with some

22   operational people.      So I'm going to ask the two questions and

23   there will be more.      And then we're going to get answers to

24   those questions, Mr. Everly, before we all get off the phone.

25   Am I understood?




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 1                MR. EVERLY:    I understand.     I understand, Your

 2   Honor.   I will preface my responses with I won't have any

 3   additional information --

 4                THE COURT:    We're going to get additional

 5   information, Mr. Everly, because you're going to tell me who

 6   has that additional information and we're going to get that

 7   person on the phone.       And if we have to, I'm going to get them

 8   under oath.    All right?

 9                MR. EVERLY:    Understood, Your Honor.

10                THE COURT:    The first question is, is Mr. Patel here

11   legally?   Is he lawfully in the United States?

12                MR. EVERLY:    Your Honor, since that's an operational

13   decision by my client, we're actively conferring with the

14   client, I don't have a response to provide at this time.                I

15   believe --

16                THE COURT:    Is Mr. Patel free to go to his classes

17   at Wisconsin?

18                MR. EVERLY:    I have to reiterate the same.          Same

19   response, Your Honor.

20                THE COURT:    Well, what's the effect of terminating

21   someone on SEVIS?    That's just a mechanical question, what's

22   the effect of terminating someone from SEVIS?

23                MR. EVERLY:    Again, Your Honor, that's an

24   operational --

25                THE COURT:    It's not an operational question,




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 1   Mr. Everly.   That is a mechanical question.          There is a policy

 2   somewhere that says what the effect is, so tell me what the

 3   effect is of terminating somebody from SEVIS.

 4              MR. EVERLY:    Your Honor, I apologize, I do not have

 5   the answer to the question.

 6              THE COURT:    Okay.   Who has -- Mr. Everly, name me

 7   the individual who has the answer to the first two questions

 8   and then the third question.

 9              MR. EVERLY:    Your Honor, all I can offer at this

10   point is that we have provided a declarant in this case --

11              THE COURT:    Yes, fine.      All right.    That's fine.

12   We're going to get Watson, Mr. Watson here under oath since

13   he's filed a declaration.      And if he doesn't give me the

14   answers that I need then we're going to get somebody else.

15   Because Mr. Watson's declaration doesn't tell me if Mr. Patel

16   is here legally.    It doesn't tell me if Mr. Patel can go to

17   classes.   And it doesn't tell me what the practical effect is

18   of terminating someone from SEVIS, but if we want to start

19   with Mr. Watson under oath subject to penalty of perjury, I'm

20   very happy to do that.     Is there anybody else other than Mr.

21   Watson, who can give me answers to those questions?             Let me

22   put it to you this way, who have you been communicating with

23   at the agency?

24              MR. EVERLY:    I've been communicating with other

25   agency counsel.




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 1               THE COURT:    Who?    Names, names, Mr. Everly, who?

 2               I am ordering you to tell me who have you been

 3   communicating with.      Now if you want to violate a court order

 4   by stalling --

 5               MR. EVERLY:    Your Honor, I have no desire --

 6               THE COURT:    Okay.   Great.     Then tell me the name of

 7   the person that you've been communicating with.

 8               MR. EVERLY:    I have been communicating with -- and I

 9   will provide names, I'm just prefacing, I've been

10   communicating with individuals from our National Security Law

11   Division, primarily deputy chief Nina Gleiberman and the chief

12   of the division also Kate Briscoe.         And also in communication

13   with my management deputy chief -- excuse me, deputy chief

14   Christa Leash and Chief Henry (indiscernible.)

15               THE COURT:    Okay.   Of those four people who is most

16   likely to have an answer to my questions.

17               MR. EVERLY:    Unfortunately, they are all in the same

18   position as I am.

19               THE COURT:    Who are they communicating with?

20               MR. EVERLY:    They're communicating with the

21   client --

22               THE COURT:    Who is the client?       Who at the client is

23   the person who's making these decisions or can give me an

24   answer?

25               MR. EVERLY:    We've been working with the




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 1   declarant --

 2              THE COURT:    All right.      Fine.   Fine.     Get Mr. Watson

 3   on the phone right now.     I'm ordering him to appear to this

 4   hearing.   And he's going to be put under oath.

 5              MR. EVERLY:    Understood, Your Honor.          I will take

 6   those steps, if I can go on hold for a moment while I go do

 7   that.

 8              THE COURT:    Yup.

 9              MR. EVERLY:    Thank you.

10              (Pause in the proceedings.)

11              THE COURT:    I'm going to take a ten minute recess

12   I'm going to be back here at 12:45.         Mr. Carelli, Mr. Watson

13   had better be on this phone when we get back, are we

14   understood?

15              MR. CARILLI:    Yes, Your Honor.

16              THE COURT:    All right.

17              (A recess was taken from 12:35 p.m. to 12:45 p.m.)

18              THE COURT:    All right.      Do we have Mr. Watson?

19              MR. EVERLY:    Your Honor, we're in active contact

20   with him and we're working to get him here as soon as we can.

21   If we could just have 10 or 15 more minutes to accomplish

22   that, I would really appreciate that.

23              THE COURT:    All right.      I'm going to give you until

24   1:15.

25              MR. EVERLY:    Thank you, Your Honor.




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 1              THE COURT:     Have him here by then, all right?

 2              MR. EVERLY:     Yes, Your Honor.

 3              THE COURT:     If something happens and you can't get

 4   him here by 1:15, alert my law clerk we'll all get back on

 5   with the video.    We'll figure out where to go from there, but

 6   it's not going to be pretty.      Okay?

 7              MR. EVERLY:     Yes, Your Honor.      Thank you.

 8              THE COURT:     Thank you.

 9              (A recess was taken from 12:47 p.m. to 1:15 p.m.)

10              THE COURT:     All right.     Mr. Watson, welcome.        You're

11   on mute, sir.

12              MR. WATSON:     My apologies.     Good afternoon, Your

13   Honor.

14              THE COURT:     No worries.     All right.       So you filed a

15   declaration on behalf of the government in this case.               And I

16   have some questions for you about that declaration.              I'm not

17   going to put you under oath at this time, but if I feel like

18   I'm getting the run around, which I hope I will not, I will

19   put you under oath.      Okay?

20              MR. WATSON:     Yes, ma'am.

21              THE COURT:     All right.     So first of all, can you

22   explain to me what the practical effect is of terminating

23   someone on SEVIS?    How do I say that by the way, SEVIS, SEVIS?

24              MR. WATSON:     SEVIS is appropriate.

25              THE COURT:     Okay.   So what happens, what's the




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 1   effect of terminating someone on SEVIS?

 2              MR. WATSON:    So it does not terminate their

 3   nonimmigrant status, but what it does is it essentially raises

 4   a flag as it relates to the student and their participation in

 5   the student and exchange visitor program.

 6              THE COURT:    Okay.   And so what happens if that flag

 7   is raised, what's the effect of the flag raised?            First of

 8   all, who does it raise a flag to, ICE?

 9              MR. WATSON:    Well, it raises a flag to a designated

10   school official.

11              THE COURT:    Okay.

12              MR. WATSON:    Because they have access to the student

13   and exchange visitor information system.         So a designated

14   school official works with ICE in managing the student and

15   exchange visitor program to ensure compliance with applicable

16   code of federal regulations as it relates to nonimmigrant

17   students studying in the United States.         So it alerts the DSO,

18   the designated school official or the PSO as to that matter.

19              THE COURT:    Okay.   And so that flag tells the

20   official what?    What does the official take from that flag?

21   I'm the school official, I have a flag on Mr. Patel, what do I

22   do now?

23              MR. WATSON:    So it raises a -- it raises a gap, if

24   you will, a question about the student, and compliance as it

25   relates to the terms of their -- as it relates to the terms of




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 1   their participation in the program.

 2                THE COURT:    Okay.   And how does that question get

 3   answered?    What question is asked, if they're in compliance?

 4                MR. WATSON:    Well, the question can be what

 5   happened, what occurred.       So there can be a notation in the

 6   record saying what happened, or that someone may or may not be

 7   in compliance.

 8                THE COURT:    Okay.   So I'm -- so I'm the school

 9   official, and I have Mr. Patel's transcripts and he's attended

10   all his classes.    And so far as I, the school official, know

11   he's done everything he's supposed to do.            I see that -- I

12   mean, I don't know if I see this from SEVIS, but I see from

13   somewhere that he got arrested -- or he got pulled over for

14   driving too fast in Texas, but that the charges were

15   dismissed.    And so now am I satisfied that he's in compliance,

16   is everything kosher?       If the answer to that is yes, what do I

17   do next?

18                MR. WATSON:    So great question.       And here's another

19   novelty as well too, designated school officials can also

20   reach out to field representatives.

21                THE COURT:    Field representatives for -- I'm sorry,

22   field representatives for ICE?

23                MR. WATSON:    Yes, ma'am.

24                THE COURT:    Okay.

25                THE WITNESS:    And there's a hand -- there's a




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 1   working relationship there as to compliance and oversight with

 2   the program.   So questions can be raised in that dialogue and

 3   discussion.    So like in this instance with the case being

 4   dismissed, the question would be then what would the next

 5   steps be in terms of in this case the defendant.             So with

 6   those charges being dismissed the question then becomes is

 7   there a matter there that requires further review.

 8              THE COURT:    Okay.

 9              MR. WATSON:    As it relates to immigration.

10              THE COURT:    All right.      So let's say you're the

11   field representative for Wisconsin, and I'm -- you're the

12   field representative that there was cause for school officials

13   to contact, you and I have a good working relationship.              I'm

14   the school official in Wisconsin.        I get a notice, a flag that

15   Mr. Patel has been terminated on SEVIS.          I call you and I say

16   what's this flag about?     I've looked at his transcript I've

17   talked to his professors, he's in compliance with all our

18   obligations.   Either I know or you tell me that he had been

19   arrested or pulled over for reckless -- for driving too fast

20   in Texas, but the charges were dismissed.           And so then you --

21   so I say, okay, so now you field representative say what to

22   me?

23              MR. WATSON:    The field representative in that

24   instance can say, well, based on this matter, as it relates to

25   the arrest, the question then becomes is there shall I say a




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 1   continuing requirement or a situation where this can or should

 2   be revisited.    So what's interesting to note --

 3               THE COURT:    I'm sorry, if what can be revisited?

 4   His termination on SEVIS or his --

 5               MR. WATSON:    That's correct.

 6               THE COURT:    Okay.   All right.

 7               MR. WATSON:    Yes, that's correct.       His termination

 8   in SEVIS.   So the question then becomes by what means would

 9   this person seek to do so, because what's interesting to note

10   about SEVIS is that there's also an ability for, if I'm

11   correct, CIS, Citizenship and Immigration Services to also do

12   the same as well too.

13               So this is a novelty, I'd like to note, in this

14   instance, where it was turned off pursuant to, I think what's

15   in the declaration, collaboration with State as to criminality

16   of nonimmigrant student studying in the United States.              So

17   pursuant to --

18               THE COURT:    Well, to be clear -- to be clear,

19   though, Mr. Watson, he's not a criminal.          He hasn't been

20   charged of anything, much less found guilty of anything, but I

21   understand your point.

22               But so let -- so let me ask you this, right now as

23   of this moment, is Mr. Patel legally in the United States?

24               MR. WATSON:    In terms of his status, this action in

25   itself, it doesn't terminate his nonimmigrant status at this




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 1   point.   It doesn't.

 2              THE COURT:     So he's legally in the U.S.        So the

 3   answer to my question is yes, he's legally in the United

 4   States, as of this moment?

 5              MR. WATSON:     I can't say that he's legally in the

 6   United States.

 7              THE COURT:     Who can tell me if he's legally in the

 8   United States?

 9              MR. WATSON:     So I would say right now the Department

10   of State by way of a nonimmigrant visa being issued would be

11   the starting point.      Now, if the visa has been revoked or it

12   has expired, then the question becomes whether or not duration

13   of status would apply.

14              THE COURT:     Okay.   But let me -- well, I'm happy to

15   get someone from State on the phone with us, but before I do

16   that, I have your declaration -- I imagine you filed a lot of

17   these declarations recently, right, because apparently somehow

18   all this has happened, like a lot of dozens of people have

19   been terminated from SEVIS, this isn't the only declaration

20   you've filed; right?

21              MR. WATSON:     Yes, ma'am.

22              THE COURT:     Okay.   All right.    Well, for this one in

23   particular, I don't know if you have it in front of you, but

24   in paragraph 8, and this is for Akshar Patel, if I go to

25   paragraph 8 it says, on April 2nd, 2025, CTLD received




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 1   communications from the Department of State indicating that

 2   Patel did not have a valid visa and requesting that the SEVIS

 3   record be terminated.     Was that -- I didn't -- are plaintiff's

 4   counsel aware that his -- that State apparently terminated his

 5   visa?

 6              MR. BROWN:    Your Honor, I don't believe his visa is

 7   the issue we're challenging, because he had a B visa and then

 8   changed his status to F-1.       So he is not on that B visa.         I

 9   can double -- I'm going to double check right now.

10              THE COURT:    But he's on a valid F-1 visa.

11              MR. BROWN:    He has valid F-1 status until this

12   happened, Your Honor.

13              MR. CARILLI:    Your Honor, if I may?

14              THE COURT:    Yeah, sure, please.

15              MR. CARILLI:    Yes, Your Honor.      Plaintiff initially,

16   as I understand from the Department of State, plaintiff

17   initially was issued an H-4 visa based on his -- based on his

18   mother coming in on an H -- I believe an H-1B.

19              THE COURT:    Okay.

20              MR. CARILLI:    And he was admitted into the country

21   on that H-4 visa in an H-4 status.       He then sought an I

22   believe adjusted status to that of an F status, and then is in

23   the country on an F status.

24              THE COURT:    Okay.    So then Mr. -- I'm sorry, sir.

25              MR. CARILLI:    And the H-4 visa validity period has




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 1   expired, which routinely happens for -- depending on how

 2   individuals come into the country with a nonimmigrant

 3   category, their visa validity period will be different than

 4   the stamp that is provided on their I-94, which is their entry

 5   document, which the periods may be different or in a lot of

 6   cases individuals will be admitted into the United States in a

 7   duration of status.

 8              So, for example, Your Honor, if you've seen H-1B

 9   case where is an individual says they've been in the United

10   States, they've been working but they had to leave for a

11   family issue or they have to leave and depart the United

12   States to get a new visa so that they can come and go from the

13   United States on that H-1B, that's why there's a different

14   between those two things.      And again the visa is just an

15   admission document, but also I would note that visa

16   revocations can form some basis for deportability under 327.

17              THE COURT:    Okay.   Thank you, sir.

18              So this April 2nd, 2025, communication that you

19   received from the State Department, Mr. Watson, do you have it

20   available to you?    I mean, was that a mistake by the State

21   Department that he was on an H-1 visa and he shouldn't be

22   terminated, but State just didn't pick up he was here validly

23   as a student.   I'm trying to figure out why State communicated

24   with you to have this record terminated?

25              MR. WATSON:    So, Your Honor, I don't have that




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 1   record in front of me.     And we are actually rescrubbing these

 2   lists, because to the point that the gentleman that just spoke

 3   pointed out, there are some of those nuances that have come

 4   about.   So I don't have the information in front of me.            And I

 5   believe State is re-examining various cases in a quality

 6   control measure as well.

 7              THE COURT:    Okay.   So let me put it to you this way.

 8   So far as I can understand this kid has done everything that

 9   he's supposed to have done.      And it seems like there's been

10   some miscommunication or something has happened.            And I'm

11   happy for State to do quality control.         I'm happy for you to

12   follow up on this and other individuals.         But what I want

13   coming out of this hearing is to at least either order

14   either -- I want this student to be able to go to class and

15   not get picked up by ICE.

16              Now, we can do that by, Mr. Watson, you agreeing to

17   that, or someone agreeing to that, and the plaintiffs going

18   and talking to Wisconsin people and saying he can go to

19   classes.   And if the Wisconsin person wants to talk to the

20   field representative, that's fine.       And if I need to put this

21   in an order, I will.     And I want him not to be picked up by

22   ICE.

23              Now, we can do this one of two ways.           One, we can

24   all agree that this is what's going to happen and Mr. Patel,

25   his lawyers can tell him legitimately that he can go to class,




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 1   or I can enter a temporary restraining order saying that he

 2   can go to class and that he can't be deported.              And since

 3   everything I've heard from you all is that that seems not

 4   inconsistent with what you all know as of this moment, not

 5   something that you all would challenge.

 6                So Mr. Carilli, how should we proceed here?

 7                MR. CARILLI:   Your Honor, I would comment that under

 8   8 U.S.C. 1252(g), which addresses the jurisdiction of courts

 9   to be able to over the decision by the Department of Homeland

10   Security to initiate removal proceedings and stripped that

11   jurisdiction from district courts.         And so for any matters

12   arising from a decision as to whether or not to place an

13   individual in removal proceedings, the Congress has said that

14   there's no jurisdiction for district courts in those

15   decisions.

16                THE COURT:   All right.      Well, let's take the classes

17   first.   We can all agree that I can order him to be allowed to

18   go to class as a TRO for now; right?          Mr. Carilli?

19                MR. CARILLI:   Your Honor, if you just give me a

20   moment to look through the relief that has been sought in the

21   TRO, I just need -- I need a moment to ensure that I -- and I

22   also, I mean, that's a -- you're asking me for potentially

23   something that is beyond the scope of my authority.

24                THE COURT:   Okay.   Here's what we're going to do,

25   Mr. Carilli, because I understand you guys are in a tough




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 1   spot, because you have a bunch of these cases and you don't

 2   want a bunch of bad case law.      I get it.      One way or the other

 3   this kid is going back to school today if he has classes,

 4   tomorrow if he has classes tomorrow.         And if ICE touches this

 5   guy there's going to be repercussions.

 6              So now we can do this with you all agreeing that

 7   amongst yourselves, and if anything happens you all bring it

 8   to my attention, or we can do it through a subsequent hearing

 9   this afternoon where I enter a TRO order.           I would rather the

10   former.   And I assume you guys are fine with both of those, at

11   least agreeing with plaintiffs to those because -- or just

12   some agreement that if ICE is going to pick up the guy that,

13   you know, they have 24 hours notice so that they can seek

14   emergency relief, I mean, we can just do that, right.              He can

15   go to class.    And if ICE is going to do anything with him,

16   which I don't suspect they are going to, the plaintiffs get 24

17   hours notice.   All right.

18              You guys come to that agreement, make life easy for

19   everyone, or you can continue to deal with me, Mr. Carilli.

20   And I will not stop with you or Mr. Everly or Mr. Watson,

21   we're going to continue down the road.          All right?

22              MR. CARILLI:    Yes, Your Honor.

23              THE COURT:    All right.      So I'm going to set another

24   hearing for 4:30, but you guys tell me that we don't need it.

25              Mr. Watson, do you have any idea how long State is




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 1   going to take with this quality review?

 2              MR. WATSON:    Ma'am, I can tell you that they are

 3   proceeding in earnest to do so, with the level of effort

 4   they've made great strides in progress in coordination with my

 5   team.

 6              THE COURT:    Okay.

 7              MR. WATSON:    So ma'am, I can emphasize to you that

 8   sooner than better is occurring, ma'am.

 9              THE COURT:    Perfect.    All right.     So it seems like,

10   Mr. Carilli, since my hope -- my strong hope is that State is

11   going to realize that this guy was on an F-1 visa and should

12   not have been terminated from SEVIS, my strong hope is that

13   that happens, that this was all an unfortunate mix up, that I

14   don't have to enter a TRO.       So I'm hopeful Mr. Carilli that

15   you and plaintiffs can figure something out amongst

16   yourselves.   Knowing, of course, that if anything happens,

17   plaintiff's lawyers, you can always seek relief from me.

18              Plaintiff's lawyers, do not make Mr. Carilli's life

19   miserable here.    Let's just practically try to get this guy

20   back to class and at least settled in the U.S. until we have

21   final determination of something.        Okay?

22              So I'm setting a hearing for 4:30 tentatively.

23   Hopefully, you all will tell me that we don't need it.

24              Mr. Watson, I understand that you're incredibly

25   busy.   And the last thing that you ever want to hear is




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 1   lawyers saying I need you on the phone right now with the

 2   Court.   So I appreciate you getting on the phone.             And I

 3   appreciate you giving me this information.            Thank you,

 4   everybody.

 5                MR. WATSON:    Thank you, ma'am.

 6                MR. BROWN:    Thank you, Your Honor.

 7                (The proceedings were concluded.)

 8
               I, Christine Asif, RPR, FCRR, do hereby certify that
 9   the foregoing is a correct transcript from the stenographic
     record of proceedings in the above-entitled matter.
10
                          _________/s/______________
11                             Christine T. Asif
                           Official Court Reporter
12

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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 AKSHAR PATEL,
             Plaintiff,
        v.
                                                      Civil Action No. 25-cv-01096 (ACR)

 TODD M. LYONS,
             Defendant.


                                            ORDER

       For the reasons stated on the record at the April 16, 2025 hearing, and based on

Defendant                            returned

Visitor Information System (SEVIS) to the active status, the Court GRANTS Plaintiff s

Application for Temporary Restraining Order, Dkt. 2, insofar as the Court:

       ORDERS

SEVIS solely on the basis of his arrest in November 2018 for a violation of Reckless Driving and

subsequent dismissal of charge on February 21, 2019, by the Montgomery County Court. The

Court further

       ORDERS that Plaintiff file a renewed Application for Preliminary Injunction by April

21, 2025, and that Defendant file its Opposition by April 29, 2025. The Court will hold an

evidentiary hearing on Plaintiff s renewed Application on April 29, 2025.




                                                1
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       This Order will remain in effect until further order from the Court or within 14 days of

this Order, whichever comes first.

       SO ORDERED.



Date: April 17, 2025                         _____________________________
                                             ANA C. REYES
                                             United States District Court Judge




                                                2
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1                         IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
2                                   EASTERN DIVISION

3        VISHNU VARDHAN NALI,                       )   Case No. 25 C 3969
                                                    )
4                           Plaintiff,              )
                                                    )
5                    v.                             )
                                                    )
6        KRISTI NOEM, Secretary,                    )
         Department of Homeland Security;           )
7        TODD LYONS, Acting Director of             )
         the Immigration and Customs                )
8        Enforcement, each in their                 )
         official capacity and not                  )
9        individually; and UNITED STATES            )
         DEPARTMENT OF HOMELAND SECURITY,           )   Chicago, Illinois
10                                                  )   April 18, 2025
                            Defendant.              )   10:48 a.m.
11

12                         TRANSCRIPT OF PROCEEDINGS - MOTION
                          BEFORE THE HONORABLE MARY M. ROWLAND
13

14       APPEARANCES:

15
         For the Plaintiff:        JEFFREY GRANT BROWN PC
16                                 BY: MR. JEFFREY G. BROWN
                                   65 W. Jackson Boulevard, Suite 107
17                                 Chicago, Illinois 60604

18
                                   LAW OFFICES OF SUSAN FORTINO-BROWN
19                                 BY: MS. SUSAN R. FORTINO-BROWN
                                   53 W. Jackson Boulevard, Suite 1160
20                                 Chicago, Illinois 60604

21
         For the Defendants:       MR. ANDREW S. BOUTROS
22                                 INTERIM UNITED STATES ATTORNEY
                                   BY: MR. CRAIG A. OSWALD
23                                 Assistant United States Attorney
                                   219 S. Dearborn Street, 5th Floor
24                                 Chicago, Illinois 60604

25
     Case:
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1        APPEARANCES (Cont'd):

2
         Also Present:             MR. STEPHEN NAVARRE
3

4        Court Reporter:           LAURA RENKE, CSR, RDR, CRR
                                   Official Court Reporter
5                                  219 S. Dearborn Street, Room 1224
                                   Chicago, Illinois 60604
6                                  312.435.6053
                                   laura_renke@ilnd.uscourts.gov
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24                                   * * * * *
                        PROCEEDINGS REPORTED BY STENOTYPE
25            TRANSCRIPT PRODUCED USING COMPUTER-AIDED TRANSCRIPTION
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1             (Proceedings heard in open court:)

2                   LAW CLERK:     All rise.     This court is now in session.

3             (Call to order.)

4                   LAW CLERK:     Calling Case 25 CV 3969, Nali v. Noem.

5                   You may be seated.

6                   THE COURT:     Good morning.

7                   MR. BROWN:     Good morning, Judge.        I am Jeff Brown on

8        behalf of plaintiff, Vishnu Nali.

9                   And with me is Susan Fortino-Brown.            She is Mr. Nali's

10       immigration counsel.

11                  In the way of full disclosure, she is also my spouse.

12       And --

13                  THE COURT:     I won't hold that against her.

14                  MR. BROWN:     And she picked out my tie this morning,

15       Judge.

16                  THE COURT:     Okay.    Well, I won't hold that against her

17       either.

18                  MR. BROWN:     Also present is Mr. Steve Navarre, who we

19       would like to call as an expert witness in the matter.                 He is

20       an immigration practitioner.

21                  THE COURT:     Okay.

22                  Can I get your name, though, again?

23                  MS. FORTINO-BROWN:       Sure.    Susan Fortino,

24       F-O-R-T-I-N-O, hyphen, Brown, B-R-O-W-N.

25                  THE COURT:     Okay.
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1                   MR. OSWALD:      Good morning, your Honor.         Craig Oswald

2        on behalf of the United States.

3                   THE COURT:     Good morning.

4                   Okay.    So I wasn't expecting briefing so quickly.             I

5        was going to talk to you about briefing today.               But I

6        appreciate the briefing.         I know I got a response sometime last

7        evening, or maybe it came in yesterday, and then I appreciate

8        your reply.

9                   So I have read it this morning.

10                  There's a lot of information here.            Whenever people

11       start talking to me about the CFR, I -- I know I'm --

12                  MR. BROWN:     It can make one sleepy.

13                  THE COURT:     Well, I know I have to pay attention.

14       I'll say that.      I don't know the CFRs, I'm sure, as well as

15       Mr. Oswald does in this particular area.

16                  MR. OSWALD:      Thank you, your Honor.        But it's

17       misplaced.

18                  THE COURT:     Yeah.

19                  Okay.    So where should we begin?

20                  MR. OSWALD:      Your Honor, I just had one other thing

21       that we received this morning, which is, you know, I think

22       counsel submitted last night or this morning four cases that

23       went on their side.       This is a case that we just received this

24       morning -- and I gave counsel a copy --

25                  THE COURT:     Okay.
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1                   MR. OSWALD:      -- from the -- from Detroit, the Southern

2        District of Michigan.        And this is denying the TRO --

3                   THE COURT:     Okay.

4                   MR. OSWALD:      -- in a similar situation.         So I wanted

5        to present it.      And if I could do so.

6                   THE COURT:     Yeah.

7                   MR. OSWALD:      I've given counsel a copy.

8                   THE COURT:     Okay.

9             (Tendered.)

10                  THE COURT:     So I knew there was a case pending in

11       Michigan.

12                  So you have a witness here, which is interesting.

13                  Do you intend to call any witnesses?

14                  MR. OSWALD:      No, your Honor.

15                  THE COURT:     Even if I set this over for a preliminary

16       injunction hearing?

17                  MR. OSWALD:      I'm not sure about that, your Honor.           But

18       I'm not ready with any witnesses this morning.

19                  THE COURT:     Uh-huh.     Okay.    Well, no.     That's fair.

20                  MR. OSWALD:      Mr. Press, who filed the brief, he's in

21       Atlanta.    His father passed away, and he's down there --

22                  THE COURT:     Sorry to hear that.

23                  MR. OSWALD:      -- resolving matters for that.          So I --

24       we don't have any witnesses here this morning.

25                  THE COURT:     Because -- so, you know, when I think
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1        about the irreparable injury prong, I guess my questions

2        arise -- and I'm not an immigration expert by any stretch of

3        the imagination.      But I'm -- the government's brief leaves me

4        confused.     And I -- you know, I need a lot of education in the

5        immigration area.

6                   But what I'm understanding is that Mr. Nali -- am I

7        saying that correctly?

8                   MR. BROWN:     Yes, your Honor.

9                   MS. FORTINO-BROWN:       Yes.

10                  THE COURT:     Mr. Nali was terminated -- I'm just going

11       to pull the e-mail here so I have the language correctly.

12                  He was terminated in SEVIS.          Now, SEVIS is just a --

13       it's a kind of a collect -- it's a database, basically, so

14       universities and the government can speak to each other.                   I can

15       get my head around that.

16                  So he was terminated in SEVIS.           And that's basically

17       DHS saying, "We're terminating you."

18                  They didn't tell him why.         Okay?    I want to be clear.

19       The government brief says he was terminated because of the

20       criminal records check.        But that's not accurate.         The e-mail

21       says he was terminated, quote, "OTHER - Individual identified

22       in criminal records check and/or has had their VISA revoked."

23       So he wasn't told why.        He was left to wonder.

24                  In fact, based on the government brief, his visa was

25       not revoked for another week because the e-mail was sent on
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1        April 8th, and the visa was revoked I think -- I don't know --

2        I'm going to say April 15th.          I could have that date wrong, but

3        at some point.

4                   And, of course, that goes to the State Department, so

5        that would be a different set of defendants.              Okay.    I'm not

6        inviting that.

7                   So he gets told that his SEVIS is terminated.               He's --

8        he doesn't know whether or not his visa is revoked.                Since then

9        his visa has been revoked.         I don't know that he's been told

10       about that, although he knows that through his litigation.                 I

11       don't know that he's gotten any formal notification of that.

12                  MR. BROWN:     He has not, Judge.        He has not received

13       any communication from the government.

14                  THE COURT:     Okay.    So he's wandering around the

15       streets of Chicago without SEVIS, or at least in SEVIS he no

16       longers exists.

17                  But what the government is telling me, what I don't

18       understand, is he still has F-1 status.             And so I feel like

19       this goes to irreparable injury mostly because, you know, what

20       you're arguing is, well, he has F-1 status, so he can work and

21       he still exists.      He still is here.        And he -- so there's no

22       irreparable injury.

23                  But the thing is DePaul tells him, "You can't work.

24       We're not going to hire you.          We're not going to pay you."         God

25       knows a university in this day and age is not going to do
     Case:
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1        anything to violate any kind of government regulation, and I

2        certainly can't blame them for that.

3                   Can you, Mr. Oswald?

4                   MR. OSWALD:      I can't blame them for that.

5                   THE COURT:     I'm sure they have a lot of regulations

6        relative to their participation in SEVIS, that if somebody is

7        terminated from SEVIS, they better not have a student enrolled

8        for class credits, they better not give them a diploma, and

9        they better not employ them.

10                  MR. OSWALD:      As I under --

11                  THE COURT:     I don't know what all the SEVIS

12       regulations are, but --

13                  MR. OSWALD:      I understand the SEVIS system -- which

14       I'm new to this too -- is that it's a system that was set up --

15       as, you know, some of the briefs show --

16                  THE COURT:     Yeah.

17                  MR. OSWALD:      -- after 2001 when we had students where

18       we didn't know where they were from and what was going on.

19                  THE COURT:     Sure.

20                  MR. OSWALD:      So ICE set up the system.

21                  THE COURT:     Sure.

22                  MR. OSWALD:      So ICE doesn't control, like, work

23       authorization.      They don't control a lot of the stuff with the

24       student stuff.      They're monitoring this, and this is their

25       database.     And the university inputs the stuff.            The e-mail
     Case:
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1        you're referring to is issued by the university based upon

2        their reading of it.

3                   And as I understand it from the affidavit that we

4        obtained and talking to people --

5                   THE COURT:     Yes.

6                   MR. OSWALD:      -- they use the term "prudentially

7        revoked" to say that that doesn't -- that that doesn't take --

8        that it doesn't deal with the F-1 status, that he's still

9        technically in status.

10                  As I understand it, he's going to graduate in June.

11       There's nothing that precludes him from graduating in June.

12       He's not been placed in removal proceedings.              He's not --

13       there's nothing there.

14                  I think that if he went out of the country and tried

15       to come back in, then he would have an issue with the SEVIS and

16       the revocation of the visa.         But as long as he stays in status,

17       he's -- he's fine to be here.

18                  And if he seeks employment authorization -- I think he

19       might have employment authorization already if he's working on

20       some kind of training.        He can seek that from CIS, USCIS,

21       Citizenship and Immigration Services.            They're the ones that

22       would adjudicate that.        So that --

23                  THE COURT:     Well, that's not my understanding, so

24       maybe --

25                  MR. OSWALD:      But that's --
     Case:
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1                    THE COURT:      -- I'm wrong.

2                    MR. OSWALD:      Right.    But that's -- as I understand it,

3        that's my client's position is that they -- that he's still in

4        status technically, and he -- if he graduates in June, there's

5        nothing that precludes that from happening and that he's not --

6        he is not -- as the affidavit says, he's not -- they haven't

7        challenged his F-1 status now --

8                    THE COURT:      I understand that.

9                    MR. OSWALD:      -- that he's a student and that he's --

10       and that this is something that they would -- if they wanted to

11       remove him and say he was out of status, they would have to

12       issue a notice of intent to -- a notice to appear and place him

13       in immigration proceedings.

14                   THE COURT:      Oh, well, that's good to hear.           I'm glad

15       to hear that.

16                   But here's my problem.         What I understand is he still

17       has F-1 status, but because he's been terminated in SEVIS, he

18       can't work.      And maybe I'm wrong about this.            And this is why I

19       think maybe we need a hearing.            And I understand we have an

20       immigration expert here, who I assume is an immigration lawyer.

21       And I don't know if you want to present a witness or if you

22       just want to rely on this witness.

23                   He can't work.       And I would be hard-pressed to think

24       that DePaul would give him a diploma or let him finish his

25       coursework while he is out of SEVIS because if I were the
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1        president of DePaul -- and I'm not, I'm grateful -- I would be

2        very concerned about doing anything that would be in violation

3        of any of the SEVIS regulations.             But I don't know what the

4        SEVIS regulations are.          I'm happy to dig in and find out what

5        those are, but I sure don't know them as I sit here today.

6                    So I'm looking at the irreparable injury prong, which

7        is what I'm required to do.           And I'm looking at lots of other

8        courts have been concerned about the irreparable injury.                      And

9        I'm -- what I understand the government's position in the brief

10       to be -- and I hear you articulating it -- is because he's

11       still here and he has F-1 status, he doesn't have injury.                     And

12       I'm disagreeing with you only because to me, it's a little bit

13       of a bogeyman, right?         Like, he has F-1 status, but if you

14       can't -- if you're not in this SEVIS system, you can't be at

15       your university and you can't work.

16                   And, in fact, if you're not at the university and

17       working the way that you're -- that you came here to do, you're

18       in trouble because when you come here with your student visa,

19       you better be doing what you came here to do.                 I mean, if you

20       come here on a student visa and you just start working as a --

21       I don't know -- as a fry cook, well, you're not in compliance

22       with your student visa --

23                   MR. OSWALD:      Right, because we --

24                   THE COURT:      -- of course, and we don't want people

25       doing that.
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1                    MR. OSWALD:      Right.    And that's the qualifications for

2        the student visa are you're supposed to be able --

3                    THE COURT:      Right.

4                    MR. OSWALD:      -- to support yourself.          You're supposed

5        to have -- it isn't -- it doesn't --

6                    THE COURT:      Fair enough.

7                    MR. OSWALD:      It doesn't require employment for you to

8        continue on with that, which is --

9                    THE COURT:      Fair enough.      So we don't want him going

10       out and getting a job as a fry cook.

11                   So my concern is what does the F-1 status really get

12       him.    So while I need to figure all that out and unwrap all

13       that, I'm wondering what to do.

14                   Now, your brief has always -- has also raised a number

15       of issues about -- I don't know -- whether I have authority and

16       what the Seventh Circuit says as compared to what the Third

17       Circuit says and likelihood of success.               This is the likelihood

18       of success prong, and there's the APA claim, and then there's

19       the notice and due process claim.

20                   And I need a little bit of time on -- to figure all

21       that out.      I mean, it might be news to you, but you're not my

22       only case.      And, in fact, you're not even my only emergency

23       case.

24                   So how would you like to proceed?             I mean, I'm going

25       to -- my inclination is that he has some irreparable injury
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1        here for a temporary -- some kind of temporary relief, and then

2        we would have a more fulsome hearing that I would definitely do

3        before the end of the month.

4                    But if you want to have a hearing today -- just you

5        don't have a witness.         I'm happy to hear from your witness if

6        you'd like to.       That might give me all the information I need.

7        I'm just -- I'm very confused as to how you can be terminated

8        in SEVIS and still have F-1 status.             I just don't understand

9        that.    So I can --

10                   MR. BROWN:      And, Judge, that was really the point of

11       this expert witness is to walk your Honor through that --

12                   THE COURT:      Okay.

13                   MR. BROWN:      -- for the benefit of the Court, the

14       connection between those things.

15                   THE COURT:      Okay.    Would you like to proceed?

16                   MR. BROWN:      And we're happy to put it on later, and we

17       would prefer to put it on now, Judge.

18                   THE COURT:      Would you like to proceed with that?              That

19       might help me a lot, but you might want to also have somebody.

20       I don't know.       I don't expect this person who signed this

21       affidavit -- I'm sure they're giving this affidavit all over

22       the country.       I don't expect them to magically appear in every

23       courtroom, you know, but you could have somebody else from ICE.

24                   But I am confused as to how a person in F-1 status can

25       be terminated in SEVIS and still -- what do they do?                   If that
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1        was me and I woke up this morning, what would I do?

2                    MR. OSWALD:      I think that the answer is that -- from

3        our client is that he's still -- he's still in F-1 status.                     And

4        if he graduates, he can graduate and receive his degree.                      And I

5        don't think there's any impediment to that.

6                    And if he goes out of the United States and would try

7        to come back in with that student visa, that's a separate

8        situation --

9                    THE COURT:      Okay.

10                   MR. OSWALD:      -- than what this is.

11                   And I understand.        And I am familiar with -- with the

12       witness and counsel.

13                   THE COURT:      Oh, okay.

14                   MR. OSWALD:      And they're all very knowledgeable

15       immigration practitioners.           This is basically -- it's -- I

16       mean, he -- counsel is a witness, but he's an immigration

17       practitioner.

18                   THE COURT:      Sure.

19                   MR. OSWALD:      And he's -- I mean, he's -- he knows more

20       about it, certainly, than I do.

21                   THE COURT:      Okay.

22                   MR. OSWALD:      But I'm not -- I'm not in a -- you know,

23       I don't have a witness here today.             I mean, we might be able to

24       offer someone.       But that would be something that we would need

25       a few days.      I mean, this isn't, obviously, our only case to do
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1        with it.     We have -- I have two hearings on Monday on similar

2        cases.     So --

3                    THE COURT:      Sure.

4                    MR. OSWALD:      -- I'm not in a -- in a -- at this point,

5        you know, we would -- I don't think that they're interested --

6        my client's not interested in reinstating -- agreeing to

7        reinstate the case without, you know -- on our own.

8                    THE COURT:      You mean the SEVIS status.

9                    MR. OSWALD:      The SEVIS status.

10                   THE COURT:      Yeah.

11                   MR. OSWALD:      Reinstate the SEVIS status.

12                   And I think that at this point we don't believe that

13       there is irreparable harm because he does -- as the affidavit

14       from -- from -- that we attached to our response says, it was

15       prudentially revoked.         We haven't revoked his status as a

16       student, you know.

17                   THE COURT:      So can he work?

18                   MR. OSWALD:      I don't believe that he could work right

19       now.

20                   THE COURT:      Okay.

21                   MR. OSWALD:      But he can apply for employment

22       authorization.

23                   MS. FORTINO-BROWN:        Your Honor, I'm going to --

24                   MR. OSWALD:      Although he may have employment

25       authorization.       I go to counsel on that --
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1                    THE COURT:      Okay.    Okay.

2                    MR. OSWALD:      -- because he may have employment

3        authorization.

4                    THE COURT:      And can he get a -- can he finish his

5        coursework?      Given his status, his F-1 status but visa revoked,

6        out of SEVIS, terminated from SEVIS, can he continue his

7        coursework?

8                    MR. OSWALD:      I think he can -- if he's got until --

9        between now and June, he can continue that and graduate.

10                   THE COURT:      And he can get a diploma.

11                   MR. OSWALD:      I believe so, your Honor.

12                   THE COURT:      And there would be no retaliation against

13       DePaul for giving him a diploma.

14                   MR. OSWALD:      I do not believe that there's any

15       retaliation.       I don't think this is against DePaul in any way,

16       shape, or form.

17                   THE COURT:      Well, I'm asking if they gave a diploma to

18       a student who was terminated in SEVIS and had no visa but was

19       in F-1 status, would the administration guarantee that they

20       wouldn't take any retaliatory action against DePaul?

21                   MR. OSWALD:      I would -- I would like to check with my

22       client and confirm that, your Honor.

23                   THE COURT:      That would be good.        We'd need that in

24       writing.

25                   MR. OSWALD:      Yeah.
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1                    MS. FORTINO-BROWN:        Your Honor, on the issue of

2        irreparable harm, the F-1 student experience carries with it a

3        whole program through which the F-1 student is entitled to

4        secure on-campus employment, which is what he has done.                       And he

5        has been told that he can no longer work on campus because of

6        the SEVIS termination.

7                    Separately, he is entitled, as long as he maintains

8        active SEVIS -- or active status in SEVIS, he is entitled to

9        pursue employment authorization under Optional Practical

10       Training.      And there is a very brief window in which he must

11       apply for that.       And that is with -- and we are close to that

12       window.     It is within a 30-day period of his -- of his

13       graduation.

14                   And so if he doesn't have an active SEVIS, Mr. Nali

15       will not be eligible to take advantage of the USCIS-issued

16       employment authorization, which is valid for a year.                   And then,

17       because he's in a STEM field, he's entitled to an additional

18       two years beyond that.          So three full years of Optional

19       Practical Training that is available to him only by virtue of

20       the fact that his SEVIS remains active.

21                   MR. BROWN:      And, Judge, that's a separate employment

22       authorization from the employment authorization that he had

23       been working under as a student at DePaul.

24                   THE COURT:      Okay.    So he can only get that -- so

25       that's part of your irreparable injury argument.
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1                    MR. BROWN:      Yes.

2                    MS. FORTINO-BROWN:        Correct.

3                    THE COURT:      But he can -- that's part of F-1, which he

4        still is F-1, but you have to be active in SEVIS in order to

5        qualify for those benefits.

6                    MS. FORTINO-BROWN:        Your Honor, correct.         And there's

7        a specific citation to this fact in the USCIS Policy Manual at

8        Chapter 5, Section C. -- I've got it up on my computer, your

9        Honor -- C.2.       Eligibility for employment authorization under

10       Optional Practical Training is available only for someone with

11       an active SEVIS registration.

12                   THE COURT:      Okay.    Does that come as news to you?            I

13       mean, I wouldn't expect you to know all that.

14                   MR. OSWALD:      I would say SEVIS is a system that's

15       maintained by Immigration and Customs Enforcement, a different

16       agency than USCIS.        Even in their response, counsel says they

17       could -- they can apply for employment authorization.                   It's a

18       short time window.        I would say they should apply when he is

19       eligible and that that would be a remedy that they could

20       pursue.     And if they don't have that, they can come back and

21       say, "We didn't get it in time" --

22                   MS. FORTINO-BROWN:        If it's not --

23                   MR. OSWALD:      -- or whatever.

24                   MS. FORTINO-BROWN:        I'm sorry, your Honor.

25                   MR. OSWALD:      But that's something that is not -- it's
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1        not -- I understand what counsel is saying about SEVIS and that

2        some of this is automatic.           But there is a remedy that's

3        available to them at this point.             And my client's view is that

4        they should be pursuing that.

5                    MS. FORTINO-BROWN:        That's what Mr. Navarre is

6        eligible -- is able to enlighten you on, your Honor, and to

7        give details about exactly --

8                    THE COURT:      Okay.

9                    MS. FORTINO-BROWN:        -- what's next --

10                   THE COURT:      Okay.

11                   MS. FORTINO-BROWN:        -- for this client.

12                   THE COURT:      Okay.    So we'll proceed -- if it's okay,

13       we'll proceed with the witness and -- if you're prepared to do

14       that today.

15                   MR. OSWALD:      I'm -- I'm really not prepared to handle

16       anything on a witness at this point, your Honor.                 But, you

17       know, I'll proceed as the Court wishes to do.

18                   THE COURT:      Okay.    Well, I'm offering -- my idea was

19       to enter some kind of temporary relief so that you could be

20       prepared for a hearing.

21                   You filed a brief.        I didn't ask for that.

22                   MR. OSWALD:      Right.

23                   THE COURT:      And I would set this over for probably

24       late next week or early -- but certainly before the end of the

25       month.     But if your client wants to proceed more expeditiously,
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1        then we're going to proceed this morning.

2                    So I'm trying to accommodate the parties.               I

3        understand there's litigation all over.               This whole thing,

4        which is now on 12, 15 federal judges' dockets, could have been

5        handled differently.         But now there's 15 of us involved in

6        this.    So I would be willing to handle this differently, but

7        there would have to be some kind of interim relief.

8                    If you want to work that out with me, I'm always

9        working things out with lawyers, always.               If you want to

10       proceed this morning, we're going to proceed this morning.

11                   MR. OSWALD:      I -- I'm not prepared to agree to relief,

12       so --

13                   THE COURT:      Call the witness.

14                   MR. BROWN:      Thank you, Judge.

15                   Your Honor, we're calling to the stand Mr. Steve

16       Navarre.

17                   THE COURT:      Okay.

18                   MR. BROWN:      Mr. Navarre, you can have a seat here.

19                   THE COURT:      Watch your step.       Raise your right hand.

20            (Witness sworn.)

21                   THE WITNESS:      I do.

22                   THE COURT:      Okay.    Keep your voice up.        Speak into the

23       microphone so we can hear you.

24                   THE WITNESS:      Okay.

25                   Can I pour some water?
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                                        Navarre - direct

1                    THE COURT:      You can.     But I would -- I'm not sure how

2        old that --

3                    THE WITNESS:      Is it old?

4                    THE COURT:      I'm not sure how old that water is, so I

5        would be cautious about it.

6                    THE WITNESS:      Okay.

7                    THE COURT:      Maybe, Jasmin, if you're hearing me, if

8        you could bring some water into the courtroom for the witness.

9        That would be great.

10                   Okay.

11                    STEPHEN NAVARRE, PLAINTIFF'S WITNESS, SWORN

12                                     DIRECT EXAMINATION

13       BY MR. BROWN:

14       Q.   Could you state your name --

15                   THE COURT:      Some water will probably magically appear.

16       BY MR. BROWN:

17       Q.   -- for the record while you're pouring, Mr. Navarre.

18       A.   Yeah.     My name is Stephen Navarre.

19       Q.   Mr. Navarre, you are licensed as an attorney in Illinois,

20       correct?

21       A.   That's correct, yes.

22       Q.   How long have you been licensed?

23       A.   I was licensed in the fourth quarter of 1997.

24       Q.   And what is your area of practice?

25       A.   I practice exclusively since I became an attorney in
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1        U.S. immigration and nationality law.

2                    Prior to becoming an attorney, I worked at an

3        immigration law firm for seven years.              So I've been working in

4        this field for 34-plus years.

5        Q.   Worked in what capacity prior to being an attorney?

6        A.   As a legal assistant for licensed attorneys.

7        Q.   And you've been practicing in the area then for how long?

8        A.   27-plus years.

9        Q.   And what -- do you have a particular focus area within

10       immigration law?

11       A.   I and my firm work on employment-based nonimmigrant visas,

12       and I work with international students primarily who want to

13       stay in the U.S. beyond school but also counsel them on

14       maintaining status in school.

15                   I also work with DSOs -- these are designated school

16       officials -- to -- who manage international students.

17       Q.   Do you have familiarity with the SEVIS system that we've

18       been talking about this morning?

19       A.   Yes, I do.

20       Q.   And how do you have that familiarity?              Describe that, if

21       you could, for the Court.

22       A.   My experience with the SEVIS system is in working with

23       questions from DSOs as to their responsibilities, the school

24       officials who have to work in the SEVIS system, and also

25       counseling international students in their obligations.
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1        Q.   Do you do that on a regular basis?

2        A.   I do that on a regular basis.

3                    I also -- every semester, I do seminars for

4        international students at Columbia College.                I've been doing

5        that for 20 years.

6                    I actually did one earlier this week.              And the primary

7        topic that international students wanted to talk about at

8        Columbia College was termination of SEVIS records that they

9        have been hearing about.

10       Q.   Do you also have any representation of institutions,

11       universities, colleges?

12       A.   Over the years, I've helped a lot of colleges and

13       universities in various applications to USCIS, work visa

14       applications.

15       Q.   Now, in the course of your practice as an immigration

16       practitioner, tell the Court what your approach to learning and

17       ascertaining applicable immigration law is.                What sources do

18       you look for -- look at in order to counsel clients?

19       A.   Right.     So the primary source of immigration law is known

20       as the Immigration and Nationality Act.               That's a statutory

21       authority that's amended over the time.               It was originally

22       created in 1952 and amended a million times since then.

23                   Below that is the Code of Federal Regulations.                    That's

24       DHS regulations at 8 CFR, Department of State regulations at

25       22 CFR, and Department of Labor regulations at 20 CFR.
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                                        Navarre - direct

1        Q.   And is that reliance typical for immigration practitioners,

2        your colleagues, in your experience?

3        A.   That's very typical.

4                    And then also just to mention sort of below the

5        regulatory level then is government agency guidance, some of

6        which is particularly important because it's binding on

7        government employees.

8                    So the Department of State has a foreign affairs

9        manual that their consular officers must abide by.                  That is a

10       public document mostly.          Some parts are redacted.

11                   The USCIS has a policy manual.            Immigration and

12       Customs Enforcement has various memos that they issue from time

13       to time.

14       Q.   Do you have --

15                   MR. BROWN:      I'm sorry.

16                   MS. FORTINO-BROWN:        May I ask questions of the witness

17       as well, your Honor?         Or would you rather not?

18                   THE COURT:      Do you object to there being a

19       double-headed examination?

20                   MR. OSWALD:      When they're married, no, your Honor.

21                   THE COURT:      Okay.    Is that a marriage exception?            I've

22       not heard of that.

23                   MR. BROWN:      Thank you, Judge.

24                   THE COURT:      Go ahead.

25       BY MS. FORTINO-BROWN:
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                                        Navarre - direct

1        Q.   Mr. Navarre, are you familiar with the facts of the Nali

2        case?

3        A.   Yes.

4        Q.   And have you reviewed the documentation that Mr. Nali

5        received from DePaul University alerting him that his SEVIS

6        status had been terminated?

7        A.   Yes, I've seen that.

8        Q.   What conclusion did you draw after you saw that?

9        A.   Well, I guess the first conclusion is very clear that

10       DePaul University has a different interpretation of the

11       significance of termination in the SEVIS system than the

12       affidavit produced by the official within Department of

13       Homeland Security that the government produced as part of its

14       case.

15       Q.   And how are they different?

16       A.   DePaul University takes a position that, whether

17       termination in the SEVIS system precisely legally terminates

18       one's nonimmigrant visa status and authorization to physically

19       remain in the U.S., that it de facto terminates an

20       international student's participation in that program.

21                   Can I continue?

22       Q.   Please.

23                   MR. BROWN:      Please.

24                   THE COURT:      Could you say that again.

25                   THE WITNESS:      Yes.    Whether termination in SEVIS
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                                        Navarre - direct

1        precisely legally terminates an F-1 student's ability to

2        physically remain in the U.S., which I think is in dispute, and

3        the government claims it does not, it -- in DePaul University's

4        position and a position I agree with, that it in effect

5        terminates an international student's ability to continue to

6        participate fully in that program.

7                    And if I can explain what I mean by that, your Honor.

8                    THE COURT:      Yes.

9                    THE WITNESS:      Okay.    I'd like to start off with when

10       someone comes to -- wishes to come to the U.S. to study at a

11       college or university, their first step is to apply to a

12       college or university and be accepted.

13                   They then must apply at a U.S. consulate, to the

14       Department of State, for an F-1 visa and their passport.                      In

15       order to do that, the school must issue a form called an I-20

16       form.    This is a U.S. government form.            It's been around in

17       various iterations forever.

18                   When I first got into this business, the international

19       student offices at schools would pull up a typewriter and grab

20       a blank I-20 form and type it up and fill it out.

21                   Ever since SEVIS was created, there is only one way to

22       produce an I-20 form, and that is in the SEVIS system.                   The

23       designated school official at the university or college has to

24       create a record, open a record in the SEVIS system for the

25       student and within that system produce an I-20 form.                   That form
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                                        Navarre - direct

1        is bar-coded and can only be produced technically in that

2        system.

3                    The student must have that form when they go to apply

4        for a visa at a U.S. consulate or embassy, and the

5        U.S. Department of State's Foreign Affairs Manual confirms

6        that.    It's absolutely essential.           They will not get a visa.

7                    And the Department of State also has access and the

8        ability to check that SEVIS system to make sure that that

9        document is not fraudulent and they really are in that system.

10                   The system was created to track student status and to

11       detect violations by the student of that status.                 But it's --

12       it's become -- it's become larger than itself.

13                   When a student comes to the U.S., based on that

14       program, they can go to school and attend school.                  And as long

15       as they continue to go to class and they don't violate their

16       status, they can remain in the U.S.

17                   But there's other benefits that international students

18       are accorded in this program.            Counsel mentioned earlier

19       various work authorization programs.              Those work authorization

20       programs require the generation by the school of an updated

21       I-20 form.      And that, again, can only be done in that SEVIS

22       system.

23                   In the case of Mr. Nali, assuming for the moment that

24       he can stay in school and graduate in his current status, if he

25       wants to work on Optional Practical Training work
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                                        Navarre - direct

1        authorization, this program that is accorded to all

2        international students that grants him up to three years of

3        work authorization in the United States in his field --

4        BY MR. BROWN:

5        Q.   Following his graduation.

6        A.   -- following graduation, the school must generate an I-20

7        form that authorizes that.           And they can only do that if he has

8        an active SEVIS record.

9        Q.   So notwithstanding the government's contention that

10       Mr. Nali is presently in --

11       A.   Government counsel mentioned that Mr. Nali could always

12       apply to USCIS and make his case to USCIS.                That in practice is

13       not true.

14                   USCIS will automatically deny any application for a

15       work authorization if it's not accompanied by an I-20 form

16       endorsed by the school authorizing this practical training.

17       And that form can only be done within the SEVIS system with a

18       valid, open student record.           A terminated record prohibits

19       that.

20       Q.   So it's your understanding --

21       A.   And so when -- I'm sorry.           And when -- and I'm sorry.           I

22       apologize.      I don't remember the name of the gentleman from DHS

23       who issued the affidavit.

24                   MS. FORTINO-BROWN:        Watson, Watson.

25                   THE WITNESS:      Mr. Watson.      This is where Mr. Watson
     Case:
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1        glides over the practical issues here because they are saying

2        that there's no -- that the termination in SEVIS has no effect

3        on this individual's status and ability to participate in the

4        F-1 student program.         And that's simply not true.

5        BY MS. FORTINO-BROWN:

6        Q.   I have a -- can you explain about this -- why we are here

7        today, what this -- what harm is this applicant -- this client

8        going to be suffering, and what is the window in which he's

9        going to have to make that application to DHS for his

10       employment authorization?

11       A.   The application for -- for post-graduation OPT work

12       authorization must be filed within a window.                I believe the end

13       date on that window is 30 days following graduation.

14       BY MR. BROWN:

15       Q.   And that assumes that Mr. Nali indeed could graduate in his

16       current status.

17       A.   That assumes that DePaul issue -- graduate -- that assumes

18       that he graduates from DePaul University.

19       Q.   Do you have an understanding one way or the other as to

20       whether DePaul would actually permit that given the current

21       status that it has explained Mr. Nali has?

22       A.   The letter from DePaul suggests that they're very nervous

23       about this.      And so I can't -- I'm not confident that DePaul is

24       willing to allow him to graduate.             I don't know.      I can't speak

25       for DePaul.
     Case:
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                                        Navarre - direct

1                    THE COURT:      Well, is there a letter from DePaul that

2        I'm unaware of?

3                    MR. BROWN:      No, Judge.     I'm referring to the exhibit

4        to the complaint, which is the e-mail from DePaul to Mr. Nali.

5                    THE COURT:      Okay.

6        BY MS. FORTINO-BROWN:

7        Q.   Any idea -- so just going again to the irreparable harm.

8        Mr. Nali is going to be -- if he's reinstated in SEVIS, he will

9        have potentially three years of employment authorization ahead

10       of him if we can reinstate him.

11       A.   Correct.

12       Q.   He has a degree -- he would have gotten a degree in a month

13       in -- a master's degree in business analytics.                 Do you -- I

14       understand that you practice in this field.                You probably see

15       wages.     I don't -- can you give the judge any idea of what sort

16       of salary he might be looking at annually with a master's

17       degree in business analytics?

18       A.   My estimate would be initially starting out somewhere in

19       the 80 to $90,000 range.          I'm not a recruiter, but I do a lot

20       of these types of cases for employers for work visas.

21       BY MR. BROWN:

22       Q.   And in the course of that, you actually look at

23       governmental published sources that refer to ranges of salaries

24       for --

25       A.   Yes.    So it's very common for international students once
     Case:
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1        they get this work authorization to find employment with

2        companies who then sponsor them for work visas to stay on in

3        the U.S. and continue their careers beyond that.

4                    Those work visas typically have prevailing wage

5        requirements, Department of Labor oversight requirements.                     So

6        part of those work visa applications is we have to research and

7        pull information typically from the Department of Labor that

8        includes wage information.           So that's where I'm getting my

9        estimate from.

10       Q.   And right now, is it your understanding that Mr. Nali can

11       or cannot work lawfully?

12       A.   Right now?

13       Q.   Right now.

14       A.   I -- DePaul certainly believes that he cannot.                 And I would

15       defer to them on this because it's their program.                  He's working

16       on campus.

17                   I think that that's -- I think the precise legal

18       question remains to be seen.           I don't think that's known yet.

19       Q.   But you're aware of the fact that DePaul's communicated to

20       Mr. Nali that all employment authorization, on or off campus --

21       A.   Yes.

22       Q.   -- must end immediately.

23       A.   Yes.

24                   It seems to me in reading the pleadings in this case

25       and the affidavit that the government's position is that
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1        termination in SEVIS is just nothing -- it doesn't really hurt

2        him at all -- and which I guess raises the question as to why

3        it was even done.

4                    But that aside, I think it's important to understand

5        how technology has become so integral into -- into what we do.

6                    And I guess the best analogy I can give you is that,

7        Judge, if you had a car 40 years ago, you could push-start that

8        car to start it if you had to.            Cars today -- think of the

9        government coming and disconnecting your electronics remotely

10       to your car and then telling you, "We didn't steal your car."

11                   The fact that the government didn't steal your car is

12       irrelevant.      This is what the government is saying when they're

13       saying, "Well, he's got valid status.              He's just terminated in

14       SEVIS."

15                   You cannot run your car without the electronics.                  You

16       cannot participate in this F-1 student program fully without an

17       active SEVIS record.

18       Q.   And DePaul cannot grant Mr. Nali work authorization without

19       the SEVIS system showing him --

20       A.   Correct.

21       Q.   -- in a valid --

22       A.   And DePaul --

23       Q.   -- status.

24       A.   -- cannot independently resurrect that SEVIS record.                     It's

25       been terminated by the government.             Only the government can
     Case:
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                                         Navarre - cross

1        reactivate that.

2                    MR. BROWN:      Thank you, Mr. Navarre.         That's all I

3        have.

4                    Counsel?

5                                      CROSS-EXAMINATION

6        BY MR. OSWALD:

7        Q.   Good morning, Mr. Navarre.

8        A.   Good morning, Counsel.

9        Q.   So good to see you again.

10                   Can we -- so you started practicing in 1997.

11       A.   1997.

12       Q.   Just a baby in the field.

13                   So when I started in '84, that was the Immigration and

14       Naturalization Service.

15                   Can you explain to the judge how the -- that ended and

16       the various component entities that now comprise what INS used

17       to be.

18                   And now there's three entities, right?              Can you

19       just --

20       A.   Correct.

21       Q.   -- briefly explain to give an overview of kind of the

22       responsibilities of each of these entities.

23       A.   Absolutely.      So following 9/11, Congress eventually passed

24       the Homeland Security Act, which -- which broke up old INS into

25       predominant -- primarily three entities:
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1                    USCBP, Customs and Border Protection, which is Border

2        Patrol and admission at airports and land -- inland borders;

3        Immigration and Customs Enforcement, whose primary job is to

4        investigate and initiate removal proceedings against people who

5        should not be in the United States; and USCIS, whose primary

6        job is to adjudicate and approve immigration benefits.

7        Q.   And in terms of immigration benefit issues, students would

8        a lot of times come in contact with USCIS -- correct? -- I

9        mean, because that's who's -- this is considered a benefit.

10       They typically are dealing with things in terms of student

11       status, right?

12       A.   Correct.      So I would say that international -- USCIS has

13       very little to do with the process of international students

14       coming to the U.S. and also maintain -- you know, pursuing

15       their course of study.

16       Q.   Right.     And who -- so we're talking about the three

17       component agencies --

18       A.   Right.

19       Q.   -- of DHS.

20                   But there's another department that deals with them

21       coming in to begin with, and that's the State Department,

22       right?

23       A.   State Department, correct.

24       Q.   And what's their role in that?

25       A.   State Department's role is to issue visas.                And a visa,
     Case:
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                                        Navarre - cross

1        remember, is a document in the passport that allows someone to

2        seek admission to the U.S.          And so that's the State

3        Department's role is to issue visas.

4        Q.   So they would issue visas and they can revoke visas too,

5        right?

6        A.   Yes, they can.

7        Q.   State Department.

8                    And in this case, they apparently at some point

9        prudentially revoked, whatever that means, his student visa.

10                   MR. BROWN:     Your Honor, just for the record, I would

11       object to the characterization as prudentially revoked.

12                   Go ahead, Counsel.

13                   THE COURT:     But that's a term of art, isn't it?

14                   MR. OSWALD:     It's a term of art, and it's referred to

15       in the declaration.

16                   THE COURT:     Overruled.

17                   MR. OSWALD:     And, frankly, your Honor, I didn't

18       understand it until I was going through this.

19                   THE COURT:     I agree.

20                   THE WITNESS:     And prior to recent events, we have seen

21       that the Department of State would occasionally revoke people's

22       visas for conduct that they deemed was in violation of their

23       status.

24                   And that decision by the State Department was simply

25       canceling the visa and their passport.             It had no effect -- the
     Case:
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1        State Department's action had no effect on someone's status in

2        the U.S.     It was only if they left the U.S., they no longer had

3        a valid visa to return to the U.S.

4        BY MR. OSWALD:

5        Q.   Right.    So if it's revoked, he can't -- this -- Mr. Nali

6        can't go out of the United States and come back in using a

7        revoked visa, right?

8        A.   Correct.     He would have to apply for a new visa.

9        Q.   And that's a State Department decision.

10       A.   Correct.

11       Q.   And the decision as to whether he's in status or not, which

12       of these component agencies would make that determination?

13       A.   Well, I -- in my opinion, both U.S. Immigration and Customs

14       Enforcement and USCIS have the ability to make a determination

15       as to whether someone is in or out of status.               How that would

16       come to their attention would vary.

17       Q.   Does Immigration and Customs Enforcement -- do they grant

18       people work authorization?

19       A.   No, they don't.

20       Q.   And who does that?

21       A.   USCIS.

22       Q.   And the system that we're talking about, the SEVIS system,

23       is run by what component?

24       A.   Immigration and Customs Enforcement.

25       Q.   Does USCIS have any -- are they running this database at
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                                        Navarre - cross

1        all?

2        A.   They are not -- to my knowledge, they are not running it.

3        They have access to it.

4        Q.   Right.    And so do the universities, right?

5        A.   Correct.

6        Q.   And so when you were talking about the e-mail that counsel

7        was referring to, that comes from the university --

8        A.   Correct.

9        Q.   -- right?

10                   And that's the university's interpretation of the

11       status, right?

12       A.   Correct.

13       Q.   And they may be right, and they may not be right.

14       A.   Correct.

15       Q.   And in terms of -- in terms of work authorization in this

16       case, I think, you know, the filings are that this would be --

17       that there still would be the opportunity -- it's not automatic

18       under the SEVIS system -- but that he could apply to

19       immigration, USCIS, to get work authorization.               Is that

20       correct?

21       A.   Well, I -- so we have to be careful what we're talking

22       about.

23                   So anyone can file an application with USCIS for

24       anything, right?       I can be single and file an application on

25       behalf of my fiancée if I want.           But whether or not -- you
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1        know, whether or not I qualify for that is a whole another

2        question.

3                    Now, to file an application for work authorization as

4        an international student, an absolute requirement is the form I

5        had mentioned before issued by the school that must be done

6        within the SEVIS system.

7        Q.   And how do you know that that's an absolute requirement?

8        A.   I'm basing this on my experience doing these applications

9        since before the SEVIS system existed and my experience working

10       with USCIS.

11                   It's also on the USCIS website as a requirement.

12       Q.   And the affidavit says that in terms of this being -- that

13       this did not affect his F-1 status.

14                   And do you agree with that, or do you disagree with

15       that?

16       A.   I disagree that this action terminating Mr. Nali's record

17       in the SEVIS system does not affect his F-1 status.

18                   There's two things going on here.           What I believe the

19       affidavit is saying is a very precise argument that says

20       termination in the SEVIS system does not officially legally

21       terminate one's visa status in the U.S. in the sense that they

22       are immediately removable for being, quote, out of status.

23       Q.   Do you agree with that?

24       A.   That may technically be true.           I think -- I think there are

25       differing opinions on that.
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1                    But what's more -- what I also feel is that it's

2        irrelevant because the important question is whether this

3        affects his ability to be an F-1 student and get the benefits

4        of an F-1 student, and this clearly negatively affects that in

5        a permanent way.

6                    Mr. Nali will not -- and I can say this is not an

7        opinion; this is a fact.         If Mr. Nali's SEVIS system status

8        remains terminated, he is positively, absolutely ineligible to

9        be accorded work authorization by USCIS under the OPT program.

10       And that is not my opinion; that is a fact.

11       Q.   And what is that based upon?          Where does that exist?

12       A.   USCIS rules.

13       Q.   And where are those rules?

14       A.   In the USCIS Policy Manual, in the instructions to the

15       USCIS application, which have force of regulation.

16       Q.   And the -- but there is -- or there would be a remedy for

17       employment authorization, right?           I mean, he could apply for

18       that, and he could be -- it talks about in the filing that

19       there is a 30-day window for him to -- with him to apply for

20       that for employment authorization.

21       A.   But only if his SEVIS record is reinstated by the

22       government.

23       Q.   And where does that exist within the -- I don't -- I'm not

24       following where that -- where the SEVIS requirement has

25       anything to do with that -- with the work authorization.
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1        A.   I understand.      And it goes back to the requirements for

2        issuing the work authorization.           He is not eligible to be

3        granted OPT work authorization unless the OPT work

4        authorization is recommended by the school on Form I-20.

5                    And it's on page 2 of Form I-20, and the school puts

6        in there, "Recommended and authorized for OPT postgraduation

7        work authorization for one year."            It's signed by the

8        designated student officer, and it's generated in the SEVIS

9        system.

10                   As I said before, they cannot pull out a typewriter

11       and type up this form.         It has to be generated in the system.

12       The form is bar-coded by the system, and it's the only

13       authorized form.       And that form is absolutely required by USCIS

14       as evidence of that application.           And without it, it will not

15       be approved.

16                   And I would tell any international student, "You

17       cannot get this.       If you file this application, you're wasting

18       your money.      It will absolutely 100 percent be denied."

19       Q.   What is the term that you use for the training program?                     Is

20       it CPT?     What is the --

21       A.   OPT.

22       Q.   OPT?

23       A.   OPT is the postgraduation --

24       Q.   Okay.

25       A.   -- work authorization.
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                                        Navarre - cross

1        Q.   Right.

2        A.   It's Optional Practical Training, optional to the student

3        to take or not take if they want.

4                    CPT is another training program for -- while students

5        are in school.

6        Q.   But he would want to be an OPT.           Is that correct?

7        A.   Correct, correct.

8        Q.   And does he have an OPT opportunity available already to

9        him that he's going -- that he will miss out on that he's

10       already lined up, as far as you're aware?

11       A.   Assuming that he grad -- oh, you mean a job?               An actual job

12       offering?

13       Q.   Right.

14       A.   I'm not aware.       I don't know.

15       Q.   And at this point he doesn't -- you're not aware that he

16       has any specific job training program set up that he would be

17       denied as a result of this.

18       A.   No, but I'm also not aware that he doesn't.

19       Q.   Right.    But you're assuming that he would -- that this all

20       would follow as a matter of course.            Is that correct?

21       A.   He would -- he -- well, under the program, he would need to

22       find an employer and get work, yes.

23                   THE COURT:     Can I just ask as an aside --

24                   MR. OSWALD:     Yes.

25                   THE COURT:     -- because I'm following your questions.
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                                        Navarre - cross

1                    These OPTs, are they always on the campus, these

2        Optional --

3                    THE WITNESS:     No.

4                    THE COURT:     -- Practical Trainings?

5                    THE WITNESS:     No.    These --

6                    THE COURT:     Because the university signs off on them.

7                    THE WITNESS:     The university signs off on it and

8        authorizes the employee to get the work authorization.                 But

9        then the work authorization is open work authorization with any

10       employer as long as the student is working in a job that's

11       connected to their field of study.

12                   THE COURT:     Right.    But you could go and work for some

13       private company.

14                   THE WITNESS:     Correct.

15                   THE COURT:     But does the university then have to

16       verify that you actually have that job?

17                   THE WITNESS:     The student goes into the SEVIS system

18       and enters the job information.

19                   THE COURT:     I see.

20                   THE WITNESS:     Okay?    And that's visible to the school

21       as well.

22                   There is also an automatic termination of that work

23       authorization if the student does not get employment.                 So if a

24       student gets work authorization and does not work for a period

25       of 90 days, then that work authorization and their record in
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1        SEVIS is automatically terminated.            So you have to use it or

2        you will lose it.

3                    THE COURT:     I'm sorry to interrupt.

4                    MR. OSWALD:     Oh, fine, your Honor.

5        BY MR. OSWALD:

6        Q.   The -- there's -- I understand, you know, you're an expert

7        witness.     You're a legal expert, so this is --

8                    But there are -- there have been a number of courts

9        that have talked about the SEVIS system, that there's no --

10       that there's no protected interest in a student having SEVIS,

11       being in the SEVIS system and having SEVIS records.

12                   Is that -- are you aware of those cases?

13       A.   Can you explain what you mean by protected?

14       Q.   A liberty interest or some other interest that they are

15       entitled to say -- I mean, you have student status, right?                   And

16       he's got a visa that gives him student status.

17                   And then there's this database that you claim is

18       essential within this to fully enjoy all the benefits of F-1

19       status.

20       A.   Correct.

21       Q.   The interest -- I mean, there have been a number of courts

22       that we've cited that say you don't have a protected -- that

23       the student doesn't have a protected interest in the SEVIS

24       records per se.

25                   Are you aware of those cases?
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1        A.   Well, I'm not specifically aware of those cases.

2                    And I think the question of whether -- so I've -- I've

3        described what, in my opinion, Mr. Nali would be missing out on

4        if this decision were not reversed.            I think it's a question

5        for all of you to argue and for you to decide, Judge, as to

6        whether that opportunity is -- is something that he deserves

7        protection for.       I think that's out of what I'm speaking here

8        today.    I don't think I can speak to that.

9                    I can tell you that from a practical level, this

10       employment connection with the higher education that

11       international students come and participate in, on a practical

12       level, is a big part of what makes this country desirable for

13       international students to come to.

14                   I think there would be a significant number -- I can't

15       put a percentage on it -- but I think a significant number of

16       students might go somewhere else to school if they did not have

17       this entry into the workforce and ability to work in their

18       field following graduation that they are all certainly aware of

19       when they come to the U.S. and go to school here.

20       Q.   Understood.

21                   But in terms of employment, when you get a student

22       visa, you are supposed to be self-sufficient economically,

23       right?

24       A.   Yes.    You have to show that you are able to support

25       yourself, correct.
     Case:
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                                        Navarre - cross

1        Q.   And so when we're talking about references to the poverty

2        line or, you know, that we're working at the poverty line or

3        whatever in terms of this gentleman, Mr. Nali, he's supposed to

4        have resources available to be able to pay for his tuition and

5        his support -- right? -- when he comes in to meet the visa

6        requirements.

7        A.   Are we talking -- I don't know anything about a discussion

8        on the poverty line.

9        Q.   Well, there was a reference in the filings that we're

10       talking about that this is going to deny him the ability to

11       work, deny him the ability to support himself.

12                   That's really not an issue in terms of being able to

13       support yourself.       You're supposed to be -- when you come from

14       a foreign country and you're a student, you're not supposed to

15       have to work in order to support yourself as a student to stay

16       in status, right?

17       A.   Correct, while one is in school.

18                   But when one graduates -- when an international

19       student graduates, typically then they need to work.                 If

20       they're going to stay in the U.S., they need to work and

21       support themselves.

22       Q.   Yeah, I understand that point.

23       A.   Okay.

24       Q.   But I'm talking about the actual student status.

25       A.   Correct.
     Case:
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                                      Navarre - redirect

1                    THE COURT:     Okay.    Thank you.

2                    MR. OSWALD:     Thank you, your Honor.

3                    THE COURT:     So when they're students, they're not

4        doing work-study?       That's not part of being --

5                    THE WITNESS:     They can do work-study, absolutely.

6                    But part of the eligibility for an F-1 when someone

7        initially comes to go to school is that they do have to show

8        that they have the ability to, you know, pay tuition and living

9        expenses.     They have to show that, that there's financial

10       support there as a student.

11                   But they absolutely can participate in work-study if

12       it's approved under what's called the Curricular Practical

13       Training, or CPT work authorization, which also has to be

14       approved in SEVIS.

15                   MR. BROWN:     Judge, if we could, just to follow up.

16                   THE COURT:     Yeah.

17                                  REDIRECT EXAMINATION

18       BY MS. FORTINO-BROWN:

19       Q.   Mr. Navarre, there's a little bit of confusion, just so

20       that we can state the record, and I'm going to advise the Court

21       of this.

22                   Mr. Nali has been working part time on campus under

23       what's called Curricular Practical Training, which is available

24       to students while they're in school, and so he has been

25       supporting himself through that.
     Case:
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                                      Navarre - redirect

1                    And to your knowledge, is he -- you mentioned earlier

2        that you don't believe he's working.            Could he go back and work

3        tomorrow under this Curricular Practical Training?

4        A.   Well, I -- I don't think there's a definite answer to that.

5        I think DePaul has made it clear that he cannot.

6                    The Curricular Practical Training is also approved on

7        a SEVIS-generated I-20 form.          Now, if he's terminated in SEVIS,

8        is that SEVIS-generated I-20 form also out of date as well?                      I

9        don't think the government in their affidavit has gone into

10       that detail of the significance of the termination of SEVIS.

11       But a form generated in SEVIS is probably also defunct since

12       the system is.

13                   MS. FORTINO-BROWN:       Your Honor, just, once again, I

14       would refer to the USCIS Policy Manual section that outlines

15       exactly the requirement.         We're talking after graduation and

16       then to apply for postgraduation OPT, which is called Optional

17       Practical Training.        That is in this section.

18                   And SEVIS is clearly delineated there as a requirement

19       for the entire F-1 experience, including an application for

20       Optional Practical Training.

21                   THE COURT:     Yeah.    And those -- those regulations that

22       you're citing to and that the witness cited to and even the

23       USCIS website, is that what's attached to your reply?

24                   MS. FORTINO-BROWN:       No.   This is something new that we

25       just have pulled up, your Honor.
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1                    MR. BROWN:     We can submit a copy of this to your Honor

2        for the record.

3                    MS. FORTINO-BROWN:       Oh, you have a copy, Jeff.

4                    MR. BROWN:     Yeah, we have it printed out here.

5                    But I can refer you to the citation for the record,

6        Judge.

7                    THE COURT:     Okay.    Why don't you do that.

8                    MS. FORTINO-BROWN:       It is the U.S. Citizenship and

9        Immigration Service's Policy Manual, Chapter 5, Practical

10       Training.

11                   And then the sections that we're referring to are B.

12       for Curricular Practical Training, which is granted while the

13       student remains in school -- and that's what Mr. Nali has --

14       had, I should say.

15                   And then Section C. is for student Optional Practical

16       Training.     And within that section, you would go to Section 1,

17       Pre-Completion OPT, for the full outline.              And it refers

18       repeatedly to the SEVIS registration as a required element.

19                   THE WITNESS:     Excuse me, Counsel.        This is from

20       memory, so it might not be correct.            But above Chapter 5 in

21       that policy manual, I believe there's a volume number.                 And the

22       volume -- I don't remember the number, but it's -- it should be

23       Nonimmigrants.

24                   THE COURT:     Mm-hmm.

25                   THE WITNESS:     Just if -- for people searching for
     Case:
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1        this.    I think there's another level above it.

2                    MR. BROWN:     And, Judge, we can submit a copy of this

3        and file it on the record.

4                    THE COURT:     Okay.

5                    MR. BROWN:     Or deliver it to your Honor.

6                    THE COURT:     Okay.    So are you through with your

7        questions?

8                    MS. FORTINO-BROWN:       I am.    We are.

9                    THE COURT:     Okay.    All right.     So I have some

10       questions because I'm confused about some other things.

11                                        EXAMINATION

12       BY THE COURT:

13       Q.   This terminating based on arrest versus conviction, I don't

14       know if we're terminating -- let me get my e-mail again.

15                   Where is that?      How do I look up the authority to do

16       that?

17       A.   I think that's a good question, your Honor, because I don't

18       have an answer for that.         Until 2 --

19       Q.   I've seen some language, I think, in the 8 -- in maybe

20       8 CFR about terminating for, you know, a crime of violence or a

21       conviction or over a -- so it's a felony, something,

22       conviction --

23       A.   Right.    My --

24       Q.   -- that carries a sentence.

25       A.   Until recent -- until the last few weeks, I have only heard
     Case:
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1        of termination in SEVIS as something done by Immigration and

2        Customs Enforcement as part of an overall removal proceeding

3        for someone who has committed acts that render them removable

4        from the United States.

5                    So a conviction for a violent crime or something like

6        that would -- would typically lead the government to initiate

7        removal proceedings and terminate -- and if they're in F-1 visa

8        status, termination in SEVIS would be part of that process.

9                    MR. BROWN:     And, Judge, if I could --

10                   THE COURT:     Because I'm going -- I think we've talked

11       a lot about irreparable injury, Counsel, and I'm wondering

12       about likelihood of success on the merits, right?                So it's a

13       different inquiry.

14                   MR. BROWN:     Right.

15                   THE COURT:     And, of course, we have the APA and we

16       have due process, and I think you've raised in your brief some

17       challenging concepts about the Due Process clause.                But I'm

18       wondering about the APA, and I'm wondering about arbitrary and

19       capricious.

20                   And I don't know anything about canceling -- well, I

21       guess we're not worried about canceling a visa here because

22       that's the State Department.

23                   And so I'm trying to figure out about terminating in

24       SEVIS.    And, you know, I don't know how often this happens.

25       I'm not going to see much case law on this except this recent
     Case:
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1        stuff, and everybody is rushing on these decisions, which I

2        don't think is the best way to make these decisions,

3        particularly when there are complex administrative rules and

4        regulations underlying them, which frustrates me.

5                    So is any -- how do you -- are you -- can the

6        administrative agencies, whether we're talking about ICE or

7        USCIS, terminate you in SEVIS because of an arrest for a

8        misdemeanor?      That is my question.

9                    MR. BROWN:     Judge --

10                   THE COURT:     If somebody could just tell me the answer

11       to that.

12                   MR. BROWN:     If I can just respond briefly.

13                   We allege in the -- actually, in the complaint -- it's

14       paragraph 3 -- the -- that Mr. Nali is not guilty of the,

15       quote, "commission of any crime of violence for which a

16       sentence of more than one year imprisonment may be imposed."

17                   And that is a quote from the Code of Federal

18       Regulations.      The citation is 8 CFR 214.1(g).

19                   THE COURT:     Right.

20                   MR. BROWN:     That section sets forth the regulatory

21       grounds for conditions of a student nonimmigrant's admission

22       and continued stay.

23                   And, again, we're talking about crimes of violence.

24                   THE COURT:     No, no.    I know the difference between a

25       misdemeanor and a felony, and I understand the difference
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1        between an arrest and a conviction.

2        BY THE COURT:

3        Q.   So given that I have a misdemeanor arrest, no conviction --

4        so I have a presumption of innocence, which I think applies to

5        people who are noncitizens -- what -- what am I supposed to

6        look at in terms of the ability of -- maybe you're not the

7        expert on this.       I don't know.      But you're sitting here, and

8        you're under oath.

9        A.   Well --

10       Q.   So my question is, what do I look at -- because I have to

11       look at likelihood of success for an APA action, which is, is

12       there arbitrary and capricious action here.              And the government

13       doesn't even think I have the authority, probably, to look at

14       that.

15                   But if I were to spend my weekend looking at it, what

16       is the authority of USCIS to terminate --

17       A.   Or Immigration and Customs Enforcement to terminate.

18       Q.   Okay.    There you go.

19       A.   In the SEVIS record.

20       Q.   Okay.    So that's -- okay.        So you're correcting me on the

21       agency.     Okay.

22                   So to terminate in SEVIS.

23       A.   I don't know of any -- I don't know of any authority.                  This

24       is unprecedented, in my opinion.           I have never seen it before.

25                   MS. FORTINO-BROWN:       Your Honor, if I could also
     Case:
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                                    Navarre - examination

1        interrupt.

2                    It is a ministerial act.         There is no discretion

3        involved in whether or not this individual should be maintained

4        in SEVIS.     He has not been convicted of or engaged in any

5        conduct that would render him in violation of his F-1

6        nonimmigrant status.

7                    THE COURT:     Well, let me ask the expert, if you don't

8        mind, because this is testimony.

9        BY THE COURT:

10       Q.   Is it ministerial?        I mean, that doesn't make sense to me.

11       I mean, you must have some discretion that if you -- let's say

12       you're charged with an egregious act and you're not -- you

13       know, you murder the head of a big -- a big --

14       UnitedHealthcare -- right? -- and you're here on an F-1 visa

15       and there is a -- there's going to be a criminal trial, so it's

16       going to go on for a while and you're in custody but you're not

17       convicted because there's, you know, two-year trial schedule or

18       whatever.     I mean, would it be ministerial?

19                   I mean, wouldn't the -- ICE have the -- if that's the

20       correct agency.       Wouldn't they have the ability at that point

21       to start removal proceedings?           Or -- I mean, I don't understand

22       that it would be ministerial.

23       A.   Well, I mean, they could -- they could start removal

24       proceedings.      The question of whether or not he's removable

25       would go to the section of the law regarding removal.
     Case:
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                                    Navarre - examination

1                    But this is -- this is completely outside that.

2        The -- the -- an arrest is never a grounds for removability.

3        Q.   Well, what about for canceling --

4        A.   And your example, you know --

5        Q.   Yeah.    Well, I'm just trying to come up with something

6        egregious.

7        A.   I know.

8        Q.   But what about for canceling you in SEVIS, for terminating

9        you in SEVIS?

10       A.   There's -- there's no regulatory authority for ICE to

11       cancel someone in SEVIS that I'm aware of other than their

12       claimed broad authority to -- granted by Congress to keep

13       America safe.      But that -- but that's -- there's nothing in --

14       there's nothing, to my knowledge, in the regulations governing

15       immigration law that authorizes ICE to terminate someone in

16       SEVIS.

17                   A colleague of mine said in a communication, an e-mail

18       to a group of us, that, you know, the SEVIS system was created

19       to track students maintaining and in some cases violating their

20       status so that the government could see that.

21                   It wasn't created for the government to step in and

22       revoke the students' ability to do this or not.               We have laws

23       for that.     Those laws are called remove -- law is grounds of

24       removability.      And SEVIS has the authority to remove someone if

25       they commit and are convicted of a criminal act that makes them
     Case:
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                                    Navarre - examination

1        removable.

2        Q.   Well, how would they do that?           Why not just remove them

3        from SEVIS?      You mean they'd go through a removal proceeding?

4        A.   They often go through removal.           It's done every day for

5        people who are removable.

6        Q.   If they're here on an F-1 visa and they're in the SEVIS

7        system.

8        A.   Correct.     If someone in -- if someone in F-1 status commits

9        and is convicted of a removable offense, they will be placed in

10       removal proceedings.

11                   Now, an immigration judge may give them voluntary

12       departure and end that and let that -- you know, let that play

13       out quickly.      But that's the procedure the government has for

14       removing people that they don't want in the United States.

15       Q.   So you'd be in a removal proceeding, and then your SEVIS

16       status would be terminated.

17       A.   Probably at the conclusion of that.            I -- I honestly don't

18       know what the government does with regard -- when that's done.

19       But at some point, yes, their SEVIS record would be terminated

20       or would expire.

21                   I mean, if someone commits a -- your Honor, if someone

22       commits a criminal -- a violent criminal offense and they're

23       convicted, let's assume for the moment that that person is

24       incarcerated for that offense.

25       Q.   But -- and they're a student.
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                                    Navarre - examination

1        A.   Correct.

2        Q.   Yeah.

3        A.   Well, very shortly thereafter at some point, they're no

4        longer going to be a student.           They're going -- they're not

5        going to continue being enrolled in the school.               They're going

6        to be in prison.       And so their SEVIS record will terminate on

7        its own.     That's probably how that usually happens.

8                    ICE stepping in and terminating a SEVIS record without

9        any ground of removability is what is new and unprecedented.

10       And myself and other immigration attorneys do not know where

11       the authority to do that comes from.

12       Q.   So you would -- so it's your opinion or your expert

13       testimony --

14                   THE COURT:     And is there any objection to finding him

15       an expert to testify in this area?

16                   MR. OSWALD:     I have so many reasons to object to him,

17       but I -- not as an expert, your Honor.

18                   THE COURT:     Okay.

19       BY THE COURT:

20       Q.   So it's your testimony as an expert that -- what is your

21       opinion in terms of Mr. Nali being removable with this arrest?

22       A.   He's not removable on the basis of an -- of this arrest.

23       He would first need to be convicted.            And then the conviction

24       would have to be determined to be a crime of moral turpitude.

25       And then it would have to not fit under the petty offense
     Case:
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                                      Navarre - recross

1        exception to that ground of removability.

2                    THE COURT:     Okay.

3                    Do you have any other questions?

4                    MR. BROWN:     Sorry, Judge?

5                    THE COURT:     Do you have any other questions?

6                    MR. BROWN:     No, not for the witness, Judge.

7                    THE COURT:     Okay.    Thank you.

8                    MR. OSWALD:     Your Honor, I have some.

9                    THE COURT:     Sure.    Sure, sure, sure.       Please.    Sorry.

10                                   RECROSS-EXAMINATION

11       BY MR. OSWALD:

12       Q.   Mr. Navarre, we got your -- as I understand your testimony,

13       that our client in the affidavit says SEVIS separate from

14       student status.

15                   So when you're talking about the student status, to

16       revoke the student status, you're reading the student status

17       regulations that apply to that, right?             And it's student status

18       that they would be out of -- out of student status would be

19       reading the F-1 regulations into the SEVIS system.                Is that

20       correct?

21       A.   I'm not sure I understand your question.

22       Q.   Well, in terms of when you're talking about what the

23       steps -- okay.

24                   Looking at it from ICE's point of view, they would say

25       it's separate.      There is -- when the judge is looking for
     Case:
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                                      Navarre - recross

1        guidance on this as to what you can do in SEVIS, there is none.

2        Isn't that really correct?

3        A.   That's correct.

4        Q.   There's not SEVIS regulations.           They're not -- this goes

5        into the -- there's not a regulation that says, "This is what

6        goes in."     We've got policy memoranda, you know.             And what

7        you're talking about is the practical import of how data has

8        kind of taken over and that that data is all part of the same

9        system.

10       A.   Mm-hmm.

11       Q.   But there's no SEVIS regulation that says, "Judge, you

12       know, you'd only take this person" -- "you put this person in

13       the system in this situation.           You take them out in this

14       situation."      There's no restriction on that, SEVIS per se.               Is

15       that accurate?

16       A.   No restriction on what ICE can do in the system?

17       Q.   Right, what ICE could do with the system --

18       A.   Oh, but --

19       Q.   -- or that they would take somebody, to terminate

20       somebody's status and then say, "You may terminate status under

21       this situation."

22       A.   There is no --

23       Q.   In terms of SEVIS.

24       A.   To my knowledge, there is no regulation that authorizes ICE

25       to terminate any status in SEVIS.
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1        Q.   But there's no -- there's no requirement that they do so --

2        that they put things into SEVIS status, is there?                I mean --

3        A.   No.    ICE --

4        Q.   -- is there regulation on SEVIS?

5        A.   No.    My understanding of the SEVIS system as it was created

6        is that ICE's job was to manage it in the sense that keep it up

7        and functioning.       The government was providing a system for

8        schools and students to report what they are doing.

9                    There's no section in SEVIS where ICE reports.                  You

10       see what I mean?       ICE is not a user in the system.

11       Q.   But they're maintaining the system.

12       A.   They're maintaining it.         So, you know, they have to pay the

13       bills and make sure it stays up and running.               But there's no

14       authority in the regulations that ICE can step in and

15       arbitrarily, for whatever reason that they feel is appropriate,

16       to terminate a SEVIS record.

17       Q.   But there's no regulation that requires --

18       A.   I guess you're saying there's no regulation that prohibits

19       them from doing that?

20       Q.   Right, right.

21       A.   Well, but regulations usually describe what a government

22       agency does, not what they're --

23       Q.   Is there a regulation that just deals with SEVIS?

24       A.   There are references to SEVIS in the regulations.                But --

25       in 8 CFR 214.2(f), which is the section on international
     Case:
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                                      Navarre - recross

1        students, it discusses.         But all the regulations discuss what

2        the schools and what the students must do because they are the

3        participants in it.

4        Q.   But the termination of status -- I think it's 214.1 --

5        right? -- (d) or something like that.

6        A.   Right.

7        Q.   And I'm off the top of my head, so I don't have it right

8        here.

9        A.   Right.

10       Q.   But that -- your testimony -- I mean, you're reading in

11       those requirements on what you do to terminate somebody's

12       student status as also regulating what goes in and out of

13       SEVIS?

14       A.   Again, I'm not sure I understand your question.

15       Q.   Well, the argument that ICE makes, this is a separate

16       system from the student status system.

17       A.   Correct.

18       Q.   "We maintain a database.         We have a computer system."

19       Basically, "We can do what we want."

20                   You -- that has nothing to -- and their argument is

21       that that has nothing to do with termination of student status.

22       A.   Right, right.

23       Q.   And if you buy that argument -- that's not your testimony.

24       I'm not trying to put words in your mouth.

25       A.   No, no.     I understand.      I understand.
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1        Q.   And I'm not saying it.         But if you buy that argument that

2        they're separate, there's no SEVIS regulation that really

3        regulates what goes in and out of SEVIS, right?

4        A.   Correct.

5        Q.   There is a regulation on student status, and that's a

6        separate -- well, you would say it's not --

7        A.   But I would say -- but I think the problem with the

8        government's argument is the idea that these are two separate

9        things.

10       Q.   Right.

11       A.   And that -- and I think -- I hope that that has -- that I

12       made clear from my testimony that I -- instead, I see these as

13       completely intertwined and inseparable.

14       Q.   And that's -- I agree that's your testimony.

15       A.   Okay.

16       Q.   And that's fair, and I'm just asking for the distinction

17       here as to what the judge has to determine.

18       A.   Right.

19                   THE COURT:     Right.    And I appreciate your

20       clarification because I think what you're saying, if I can --

21       and you can tell me if I'm wrong -- is it's not like SEVIS has

22       some list that says, "Okay.          This is what" -- for ICE -- "Dear

23       whoever is in charge of ICE.          Here's the reasons you can

24       terminate someone in SEVIS."

25                   MR. OSWALD:     Right.
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1                    THE COURT:     "Here's reasons you can't terminate

2        someone in SEVIS."        I mean, SEVIS is kind of this -- I mean, it

3        is a database.

4                    MR. OSWALD:     Right.

5                    THE COURT:     And ICE has obligations to keep it going.

6                    I would imagine that there's rules when you say

7        regulations in SEVIS, that the universities have obligations or

8        rules about what they have to keep track of or how often they

9        have to update or whatever.          I'm sure there are obligations in

10       that regard and obviously obligations on the students.

11                   But there's not a regulation that says, "ICE can only

12       terminate for this reason."

13                   MR. OSWALD:     That's correct.

14                   THE COURT:     Okay.    Do you know, Counsel, is there

15       any -- so there's no regulations.            There's no -- there's

16       nothing I can look at that says, "Okay.             This is ICE's

17       authority with respect to SEVIS for why they can terminate."

18                   MR. OSWALD:     I -- I know of none.

19                   THE COURT:     Yeah, okay.     And that seems consistent

20       with the testimony.

21                   MR. OSWALD:     We agree, you know, on something.

22                   THE COURT:     Okay.    Anything else?

23                   MR. OSWALD:     I have nothing further.

24                   THE COURT:     Anything else?

25                   Okay.   Well, I appreciate that because I didn't
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1        understand that, so thank you.

2                    Anything else?

3                    MR. BROWN:     Judge, I think we've already moved

4        admission.     Your Honor has accepted Mr. Navarre's testimony as

5        an expert.     But if I've overlooked that detail, I think

6        counsel's indicated no objection.

7                    THE COURT:     Okay.    Yeah, I'll grant that motion.           And

8        I just wanted to clarify that for the record.

9                    Okay.   I think you can be excused.          Thank you.

10                   THE WITNESS:     Thank you.

11                   MR. BROWN:     Thank you.

12                   And, Judge, once again, on this issue of Mr. Nali's

13       participation as an F-1 student, his failure to maintain F-1

14       student status under the SEVIS system happens under the

15       regulations when he fails to maintain a full course of study or

16       engage in unauthorized employment or other violations of this

17       regulation we've been talking about, 8 CFR 214.2(f).

18                   214.1(e) and (g) outlines the specific circumstances

19       where certain conduct by a nonimmigrant visa holder, like being

20       engaged in unauthorized employment or providing false

21       information to DHS or being convicted of a crime of violence

22       with a potential sentence of more than a year, those things

23       constitute a failure to maintain status.

24                   None of those things have transpired here, so none of

25       the grounds under the regulation exist for his termination of
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1        status per se.

2                    THE COURT:     I understand.

3                    MR. BROWN:     You understand.

4                    And then separately this issue of whether his status

5        is his status and whether it is properly reflected in SEVIS may

6        be two different things.         But you've heard the testimony about

7        the impact of the failure to keep his status in SEVIS affects

8        him.

9                    THE COURT:     Right.    So let me get some clarification

10       on that.

11                   So he -- he's lost his employment at DePaul.              I

12       understand that.       I don't think that that's contested.

13                   And I would like some clarification as to whether or

14       not he is going to be able to get a diploma in June, which is

15       two months away -- month and a half away.              Is he going to be

16       able to get a diploma?         Do we know that?      Does he have an

17       answer to that?

18                   MR. BROWN:     I can't say that we have an answer to

19       that, Judge.      We don't have evidence one way or the other.               My

20       read of DePaul's e-mail to him is that he wouldn't.                But I'm

21       reading the same document as the Court is looking at, and

22       that's the only evidence we have on that score.

23                   THE COURT:     Okay.

24                   Can I get more on that?        Or is that -- is he not able

25       to get me any more information on that?
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1                    MR. BROWN:     We can certainly reach out to DePaul and

2        get what their position is, Judge.

3                    THE COURT:     And then there is this application, which

4        would be 30 days after whatever the graduation date is.                     I

5        don't know.

6                    MR. BROWN:     Which is the date in early June, but I

7        don't have it off the top of my head.

8                    THE COURT:     Right.    Well, that's a matter of public

9        record.     But there's that date, and then there's 30 days later,

10       so we're talking early July.

11                   So I think I have my arms wrapped around the

12       irreparable injury piece.

13                   Would anybody like to -- well, first of all, let me

14       ask you, Mr. Oswald.        Given the testimony, would you like an

15       opportunity to present a witness?            Because I had a lot of

16       confusion about that whole thing.            I feel some clarity.

17                   I think it's different than what your affidavit said,

18       or at least it clarified for me this sort of being in F-1

19       status versus having a visa versus being in the SEVIS database

20       and the impact of not being in the SEVIS database, which I

21       think there's a big impact to that.            Maybe you disagree.

22                   Do you want me to have a hearing next week?              Totally

23       up to you.

24                   MR. OSWALD:     Yeah.    I would like to at least talk to

25       my client as to the testimony that's been here this morning --
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1                    THE COURT:     Okay.

2                    MR. OSWALD:     -- and see what they -- how they would

3        like to handle that.

4                    THE COURT:     Any objection to that?

5                    MR. BROWN:     No objection, Judge, though I don't think

6        it interferes with your ability to enter an order preliminarily

7        and immediately.

8                    THE COURT:     Okay.    And then my second question -- so

9        I'm going to get a status report about whether or not we need

10       another hearing.

11                   And then my second question -- because you guys did

12       very rushed briefing, which I appreciate, and I imagine that's

13       because there's lots happening in other courts.

14                   But is -- would anybody like to address, aside from

15       the briefing -- and I can read the briefing, so you don't need

16       to repeat -- the idea of likelihood of success on the merits?

17       Because you gave me the Third Circuit case.              I've read the

18       Third Circuit case because I had it.

19                   The defendant responded with some Seventh Circuit case

20       law.    I read the brief about the Seventh Circuit case law, but

21       I haven't actually read the Seventh Circuit cases because I

22       just read it this morning, so I haven't had a chance.                 I will

23       pull those cases, of course, and look at them.               So I --

24       obviously, Seventh Circuit's in the building, so I've got to

25       pay attention to what they say, so I've got to read those and
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1        digest those.

2                    I don't know if -- I read your reply very quickly.                   I

3        don't know if you responded to the Seventh Circuit cases.                   I

4        can't recall.

5                    MR. BROWN:     I did not, your Honor.        And we'd like an

6        opportunity to supplement it.

7                    THE COURT:     So I don't know if -- but do you want to

8        say anything about likelihood of success, or do you want to

9        just let me read stuff?

10                   MR. OSWALD:     Well, we -- if you give us, both sides,

11       the opportunity --

12                   COURT REPORTER:      Speak in your microphone, please,

13       Mr. Oswald.

14                   MR. OSWALD:     If you give us, both sides, the

15       opportunity to file something in writing, you know, a short

16       period of time on the issue of likelihood of success, I think

17       we would take advantage of that opportunity.

18                   THE COURT:     Okay.    Why don't I do that.

19                   Okay.   So I understand that some judges are entering

20       orders that say things like don't deport him.               Don't arrest him

21       for immigration matters.         Don't remove him from the country,

22       things like that.       I'm going to enter something like that.              I

23       don't expect anything like that to happen to Mr. Nali.

24                   I want to really look at this SEVIS thing.             I've heard

25       a lot of testimony.        I understand that there's now a case out
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1        of Indiana and a case out of Michigan that are struggling.

2        I've seen the thir -- 20 cases that all entered TROs right

3        away.    And those cases didn't have hearings, which I really

4        appreciate that I got to hear from a witness because I love

5        lawyers, but I feel like witnesses are helpful.

6                    And I'm just going to do this as a preliminary

7        injunction and not as a -- not that I'm going to grant a

8        preliminary injunction, but I'm just going to do it and not --

9        all these other judges were, like, doing TROs and then

10       hearings, you know, a week later, which is double -- double the

11       fun, double the work.

12                   So I'm going to just do it, either grant the

13       preliminary or not grant it.          And we can go from there.

14                   So do you have any objection to -- I know Judge

15       Coleman granted some kind of TRO that said keep your hands off

16       him.

17                   MR. OSWALD:     I -- I'm not really in the position -- I

18       mean, I don't think that there's any threat to his removal.

19       I -- I can't really agree to anything, but I don't think that

20       that would be -- you know, that's not going to be -- I don't

21       think that is going to be an issue here.

22                   MS. FORTINO-BROWN:       On behalf of our client, your

23       Honor, he is really quite concerned.            He's afraid to even --

24                   THE COURT:     Oh, I'm sure.

25                   MS. FORTINO-BROWN:       -- walk the streets.
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1                    THE COURT:     I'm sure he is.

2                    MS. FORTINO-BROWN:       So we would ask that your Honor

3        would enter something to protect him.

4                    THE COURT:     I'm sure he is.

5                    So I know that's not what you're seeking.

6                    MS. FORTINO-BROWN:       Exactly.

7                    THE COURT:     I mean, I understand you're seeking

8        something much more fulsome.          And I understand he's not

9        working, and I understand the implications of that.                And I

10       don't want to encourage anyone to engage in improper conduct in

11       order to eat.      So that's not a good thing.

12                   So I'm going to enter a TRO that will be sort of akin

13       to what Judge Coleman -- I don't know if you're following that

14       case.

15                   MR. BROWN:     Judge, I'm sorry.       I haven't.

16                   THE COURT:     Yeah, and they did something kind of

17       different because they filed it as a habeas, I think.                 So

18       different -- different kind of legal issues presented, although

19       they may be a multi-count thing.           But --

20                   MR. OSWALD:     We have a hearing on that on a

21       preliminary injunction, I believe, on Monday morning.

22                   THE COURT:     Yeah.

23                   MR. OSWALD:     So that's continuing on with that.

24                   And I have another hearing with Judge Ellis, I think,

25       in the afternoon.
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1                    THE COURT:     Okay.    So she entered -- she just set some

2        briefing, and she entered -- Meg, do you have a copy of that

3        handy?

4                    LAW CLERK:     I don't have a copy of the order.           I have

5        the case number I can give --

6                    THE COURT:     Okay.

7                    LAW CLERK:     -- for counsel's purposes.         It's

8        25 CV 4024.      I can print a copy of the order.

9                    MR. BROWN:     Thank you.

10                   THE COURT:     I'm going to actually pull it up so I can

11       tell you what the -- what it provided.

12                   LAW CLERK:     I don't think it ruled on the TRO, but --

13                   THE COURT:     I thought she entered some --

14                   LAW CLERK:     She did enter a minute order.

15                   MR. OSWALD:     There's a variety of ways of telling us

16       not to touch your client and remove him or anything.                 I mean,

17       it's probably ten ways of saying it.

18                   THE COURT:     I have -- is it 8040?

19                   LAW CLERK:     40 -- I can e-mail you the text right now.

20                   THE COURT:     So while we figure that out, I'll ask you

21       for a status in terms of whether you want another hearing.

22       When would be convenient for you to file the status?

23                   MR. OSWALD:     Could we do that Tuesday?

24                   THE COURT:     Sure.    Close of business Tuesday.

25                   MR. OSWALD:     Yeah.
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1                    THE COURT:     And then in terms of further briefing, do

2        you want to do cross briefings on Wednesday?               Would that give

3        every -- I know you have a lot.           Would that give everybody

4        breathing time?       And knowing that then I'm just going -- unless

5        you ask for a hearing, I'm going to then issue an order.                    Now,

6        if you ask for a hearing -- if you ask for a hearing, I'll

7        probably strike the briefing --

8                    MR. OSWALD:     Right.

9                    THE COURT:     -- and say let's come back.          We'll have

10       the hearing, and then we'll set briefing again.

11                   MR. OSWALD:     Right.

12                   THE COURT:     But assuming if you don't ask for a

13       hearing, would that make sense, or should I just get your

14       status and then set briefing?

15                   MR. OSWALD:     It's -- I mean, you can set a status and

16       then we could -- you know, if you want to set Wednesday or

17       Thursday or something in there for us to do cross briefs and

18       then you want to do a preliminary, you know, hearing.

19                   THE COURT:     I'll just issue an order.         Yeah, I'll

20       issue an order.

21                   MR. BROWN:     Cross briefs without responses to the --

22       yes.

23                   THE COURT:     Yes, no.

24                   MR. BROWN:     Right.

25                   THE COURT:     No, no, no.
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1                    Okay.   So we'll get a status close of business on

2        Tuesday.     Talk to each other in the meantime.            I don't -- you

3        don't have other witnesses?

4                    MR. BROWN:     No, not here, Judge.

5                    THE COURT:     Okay.    I mean, that you would want to

6        present again.

7                    MR. BROWN:     No.

8                    THE COURT:     Okay.    So close of business Tuesday.

9                    And then I'll set briefing for Thursday, cross

10       briefings, to sort of supplement.            I mean, what I'm struggling

11       with is the likelihood of success, for both of you to

12       understand.      But you can brief anything.

13                   And -- but if you talk and in the status you say,

14       "Hey, we need a witness.          We're coming back.       Can we strike the

15       briefing?" you know, I'll read that status report, and I'll pay

16       attention to what you tell me.

17                   MS. FORTINO-BROWN:       Quick question, your Honor, if you

18       wouldn't mind.      If we could also supplement the record with

19       more information from Mr. Nali, perhaps an affidavit, as to

20       some of these holes that we're not knowing about with the

21       facts.

22                   THE COURT:     Yes.    Irreparable injury, yeah.

23                   MR. BROWN:     And we'll do our best to obtain what

24       information we can from DePaul with respect to --

25                   THE COURT:     Yes, I understand.
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1                    MR. OSWALD:     And, your Honor, that would be -- it

2        would be helpful -- I mean, if you can get something from

3        DePaul as to their understanding --

4                    THE COURT:     Yeah.

5                    MR. OSWALD:     -- as soon as possible so we can respond

6        to that or --

7                    THE COURT:     Yeah.

8                    MR. OSWALD:     -- clarify or whatever.

9                    MR. BROWN:     Sure.

10                   THE COURT:     Right.    And if that means another hearing,

11       then that's what that means.          And then we'll take that into

12       account in terms of briefing.

13                   Looking at Judge Coleman's hearing.            This is a habeas

14       corpus, declaratory judgment, and injunctive relief.                 It's a

15       lot of words.

16                   During the pendency of the motion, the Court orders

17       that plaintiff may not be moved anywhere outside the Court's

18       jurisdiction, and plaintiff not be detained for immigration

19       purposes in any way, shape, or form.            That's my neighbor.         I

20       set the status -- set this matter for status.               So that's pretty

21       plainspoken.

22                   MR. BROWN:     That would be acceptable.

23                   THE COURT:     Okay.    So I'll enter something akin to

24       that.    Okay?

25                   MR. BROWN:     Thank you, your Honor.
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1                    MS. FORTINO-BROWN:       Thank you.

2                    THE COURT:     But it doesn't really get to where we're

3        going.

4                    MR. BROWN:     Right.

5                    THE COURT:     And it doesn't address irreparable -- it

6        doesn't really address irreparable injury, and it doesn't

7        address likelihood of success.

8                    MR. OSWALD:     Right.

9                    THE COURT:     It's just really saying to the person, you

10       know, be calm.

11                   MR. OSWALD:     I understand.      And -- but as is in the

12       affidavit, they're not contesting that he's -- even though

13       they're saying he's in status.           So I don't think there's going

14       to be a problem with dealing with, you know, bringing that

15       order or any problem with it.           But there's -- it doesn't

16       address the major issue.

17                   THE COURT:     Yeah.    So I have so much respect for you.

18       And I -- in fact, I think I was at an event where you received

19       an award because of your years of service in this area.

20                   The way that your client is conducting this kind of

21       stuff, it's causing fear.          And maybe that's the point.         I don't

22       know.    And now we have all this litigation for courts who are

23       getting hit by budget cuts, you know, every year, so we're all

24       slammed, which is -- no judge should ever complain because we

25       get -- we have the best jobs.           And when judges complained and I
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1        was a lawyer, I always thought get a real job.               So I take my

2        own advice.

3                    But there's so many different ways to deal with this

4        kind of stuff.      And I just hope, because I have so much respect

5        for you, Mr. Oswald, and I trust that your client has a lot of

6        respect for you, that, you know, you can talk to them about the

7        manner because there's no reason to put this guy into terror.

8        But that's outside my lane.

9                    Okay.   I'll hear from you on Tuesday, and we'll either

10       be back here or you'll file briefs.

11                   Thanks, everybody for all --

12                   MR. BROWN:     Thank you, your Honor.

13                   THE COURT:     -- the excellent briefing.

14                   MR. OSWALD:     Thank you.

15                   MR. BROWN:     We wish you a Good Friday.

16                   THE COURT:     Yeah.    Have a good weekend.

17            (Concluded at 12:20 p.m.)

18                                          * * * * *

19            I certify that the foregoing is a correct transcript of the

20       record of proceedings in the above-entitled matter.

21

22       /s/ LAURA RENKE______________________                   April 19, 2025
         LAURA RENKE, CSR, RDR, CRR
23       Official Court Reporter

24

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 1
                                 UNITED STATES DISTRICT COURT
 2
 3                                FOR THE DISTRICT OF ARIZONA

 4                                        TUCSON DIVISION
 5
     Arizona Student DOE #1,                                   No. CV-25-00174-TUC-JGZ
 6
            Plaintiff,                                             DECLARATION OF
 7                                                                 AMI HUTCHINSON
 8          v.

 9   Donald J. TRUMP, in his official capacity,
     President of the United States of America;
10
11   John CANTU, in his official capacity as ICE
     Enforcement and Removal Operations Phoenix Field
12   Office Director;
13   Todd M. LYONS, in his official capacity, Acting
14   Director, Immigration and Customs Enforcement,
     U.S. Department of Homeland Security; and
15
     Kristi NOEM, in her official capacity, Secretary, U.S.
16   Department of Homeland Security;
17
            Defendants.
18
19
            1. My name is Ami Hutchinson.
20
            2. I am over eighteen years of age and am competent to testify regarding the matters
21             described below.
22
            3. I have been a licensed attorney since 2017, and I am currently licensed, and in good
23             standing, in Wisconsin and Arizona. I have been practicing immigration law since
               2018, and I am currently an adjunct professor at the University of Arizona College of
24             Law, teaching the law school’s immigration course this semester. I have also been
25             employed as an immigration attorney with Green Evans-Schroeder, in Tucson,
               Arizona, for the past four years.
26
            4. In the last month, I have been very involved with consulting with international
27             students whose student visas have been revoked, and whose SEVIS records have been
28             terminated. Nearly all the students with whom I have consulted attend Arizona State
               University or the University of Arizona.

     Declaration of Ami Hutchinson
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 1
 2
           5. Based on the cases I have reviewed, it is typical in recent weeks for students to
 3            receive notice of their visa revocations from the U.S. consulates that issued their
              visas, and then to receive notice from their academic institutions that their SEVIS
 4            records have been terminated. Normally, the two actions occur within 24 to 48 hours
              of each other.
 5
 6         6. As part of the consultation process with these students, I have reviewed different
              documents and information pertaining to their cases. For example, I have reviewed
 7            the consular email notifications that the students receive, notifying them that their
 8            visas have been revoked. I have also reviewed screen shot images of their SEVIS
              accounts after their SEVIS records have been revoked. The screenshot images have
 9            been provided to us, or to the students, by school officials who have access to the
              students’ SEVIS accounts.
10
11         7. As to the screenshot images of students’ SEVIS accounts, I can confirm that I am
              aware of four students whose SEVIS accounts, post-termination, state the following:
12            “TERMINATION REASON: OTHERWISE FAILING TO MAINTAIN STATUS –
              Student is terminated pursuant to INA 237(a)(1)(C)(i) and 237(a)(4)(C)(i).” I can also
13            avow that, after attorneys in our law firm consulted with these four students, it was
14            determined with a very high degree of certainty that those students had no
              involvement with any kind of activities or speech that would subject them to being
15            removable under INA § 237(a)(4)(C)(i).
16         8. As to the consular email messages that at least five of the students received, the
17            format and language are identical, and each email message reads as follows:

18                We are writing about an important and serious matter in reference to your
                  nonimmigrant student (F-1) visa.
19
20                On behalf of the United States Department of State, the Bureau of
                  Consular Affairs Visa Office hereby informs you that additional
21                information became available after your visa was issued. As a result, your
                  F-1 visa with expiration date [Day-Month-Year] was revoked in
22
                  accordance with Section 221(i) of the United States Immigration and
23                Nationality Act, as amended.

24                The Bureau of Consular Affairs Visa Office has alerted the Department of
                  Homeland Security’s Immigration and Customs Enforcement, with
25
                  manages the Student Exchange Visitor Program and is responsible for
26                removal proceedings. They may notify your designated school official
                  about the revocation of your F-1 visa.
27
28                Remaining in the United States without lawful immigration status can
                  result in fines, detention, and/or deportation. It may also make you

     Declaration of Ami Hutchinson
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                      ineligible for a future U.S. visa. Please not that deportation can take place
 1
                      at a time that does not allow the person being deported to secure
 2                    possessions or conclude affairs in the Untied States. Persons being
                      deported may be sent to countries other than their countries of origin.
 3
                      Given the gravity of this situation, individuals whose visa was revoked
 4
                      may wish to demonstrate their intent to depart the United States using the
 5                    CBP Home App at https://www.cbp.gov/about/mobile-apps-
                      directory/cbphome.
 6
 7                    As soon as you depart the United States, you must personally present your
                      passport to the U.S. embassy or consulate which issued your visa so your
 8                    visa can be physically cancelled.
 9                    You must not attempt to use your visa as it has been revoked. If you
10                    intend to travel to the United States in the future, you must apply for
                      another U.S. visa and a determination on your eligibility for a visa will be
11                    made at that time.
12   I declare under penalty of perjury that the foregoing is true and correct. (U.S. Code, Title 28,
13   USC § 1746.)

14
     April 16, 2025                                         ___________________________
15   Dated                                                  Ami Hutchinson
16
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     Declaration of Ami Hutchinson
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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


 Mohammed H.,                                            Civ. No. 25-1576 (JWB/DTS)

          Petitioner,

 v.

 Donald J. Trump, in his official capacity as
 President of the United States; Pamela Bondi,
 in her official capacity as Attorney General of
 the United States; Peter Berg, in his official
 capacity as Saint Paul Field Office Director,
 United States Immigration and Customs
 Enforcement; Jamie Holt, in her official                ORDER ON
 capacity as St. Paul Agent in Charge for          MOTION FOR TEMPORARY
 Homeland Security Investigations for U.S.          RESTRAINING ORDER
 Immigration and Customs Enforcement;
 Todd Lyons, in his official capacity as Acting
 Director, United States Immigration and
 Customs Enforcement; Kristi Noem, in her
 official capacity as Secretary of the United
 States Department of Homeland Security;
 Marco Rubio, in his official capacity as
 Secretary of State; Ryan Shea, in his official
 capacity as Freeborn County Sheriff; and
 Mike Stasko, in his official capacity as
 Freeborn County Jail Administrator,

          Respondents.


Amanda S. Mills, Esq., Anupama D. Sreekanth, Esq., and Joseph T. Dixon, III, Esq.,
Fredrikson & Byron, P.A.; Benjamin Casper, Esq., and Teresa J. Nelson, Esq., American
Civil Liberties Union of Minnesota; Hanne Margit Sandison, Esq., The Advocates for
Human Rights; and Linus Chan, Esq., University of Minnesota Detainee Rights Clinic,
counsel for Petitioner.

Ana H. Voss, Esq., United States Attorney’s Office, counsel for Respondents Donald J.
Trump, Pamela Bondi, Peter Berg, Jamie Holt, Todd Lyons, Kristi Noem, and Marco
Rubio.
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David John Walker, Esq., Freeborn County Attorney’s Office, counsel for Respondent
Ryan Shea.


       The allegations in this case, if proven, would reflect a grave misuse of

immigration authority and a breach of the Constitution’s basic principles. Petitioner

Mohammed H. claims he is being held by the federal government not for some

disqualifying offense or violation of visa terms, but for expressing political views that the

Executive Branch disfavors. His allegations, if substantiated, strike at the heart of the

First Amendment and challenge fundamental guarantees of due process. This temporary

restraining order is issued to preserve jurisdiction and prevent irreparable harm while

Petitioner’s claims are adjudicated.

                                       BACKGROUND

       Petitioner is a 20-year-old Bangladeshi national studying Management

Information Systems at Minnesota State University, Mankato. (Doc. No. 1-1, Petitioner

Decl. ¶¶ 2, 5–9.) He lawfully entered the United States in 2021 on an F-1 student visa and

was, until his arrest last month, in good standing with his university. (Id.) On March 28,

2025, Department of Homeland Security (“DHS”) officers detained Petitioner outside his

home, purportedly based on a visa revocation and termination of his SEVIS record—the

Student and Exchange Visitor Information System, a federal database used to track

international students. (Id. ¶¶ 42–44, 58; Doc. No. 1 ¶¶ 64–65.) Petitioner remains in

Immigration and Customs Enforcement (“ICE”) custody at the Freeborn County Jail in

Albert Lea, Minnesota. (Petitioner Decl. ¶¶ 47–48; Doc. No. 1 ¶ 7.)



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        After a bond hearing on April 9, 2025, the Immigration Court found that Petitioner

is not a danger to the community and ordered him released on a $7,500 bond. (See Doc.

No. 1-2, Ex. B at 3–6.) DHS appealed the decision and invoked an automatic stay under

8 C.F.R. § 1003.19(i)(2), blocking Petitioner’s release pending the outcome. (Id. at 3;

Doc. No. 1 ¶ 36.) The government later cited Petitioner’s 2023 misdemeanor disorderly

conduct conviction as a contributing factor justifying its enforcement action. (See Doc.

No. 1-8, Ex. H at 3.) But as the Immigration Court noted, that offense resulted in a stayed

sentence after which Petitioner completed probation. (Doc. No. 1-2, Ex. B at 3–4.)

        Petitioner alleges he was targeted because of his protected speech, including social

media posts advocating for Palestinian human rights, and not for any legitimate

immigration violation. (Doc. No. 1 ¶ 78; Petitioner Decl. ¶¶ 11–12, 57–59; Doc. No. 9,

2d Petitioner Decl. ¶ 6.) He further alleges that his arrest is part of a broader DHS

campaign to silence or chill pro-Palestinian expression among international students. (See

Doc. No. 1 ¶¶ 17–47; Doc. No. 8 at 2–10.) He claims that his ongoing detention violates

his First Amendment free speech rights, his Fifth Amendment due process rights, and the

Administrative Procedure Act. (See Doc. No. 1 ¶¶ 83–101.) He now seeks a temporary

restraining order (“TRO”) that either requires his immediate release from custody or bars

Respondents from transferring him away from the District of Minnesota. (Doc. No. 6.)

                                      DISCUSSION

I.      Legal Standard

        A TRO is an extraordinary remedy, which the movant must establish is warranted.

Watkins Inc. v. Lewis, 346 F.3d 841, 844 (8th Cir. 2003). Courts evaluating TROs


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consider (1) the threat of irreparable harm to the movant; (2) the balance between the

threatened harm and the injury an injunction will inflict on the opposing parties; (3) the

movant’s likelihood to succeed on the merits of their claims; and (4) the public interest.

See Sleep No. Corp. v. Young, 33 F.4th 1012, 1016 (8th Cir. 2022) (quoting Dataphase

Sys., Inc. v. C L Sys., Inc., 640 F.2d 109, 113 (8th Cir. 1981)). Where, as here, the

government is the opposing party, the last two factors merge. See Nken v. Holder, 556

U.S. 418, 435 (2009).

         No single factor is determinative. See United Indus. Corp. v. Clorox Co., 140 F.3d

1175, 1179 (8th Cir. 1998). The core question is whether justice requires preserving the

status quo until the merits are determined. See Dataphase, 640 F.2d at 113.

         Upon review, Petitioner has made a sufficient showing to warrant emergency

relief. The record is not sufficiently developed to award immediate release, and ultimate

relief is generally not properly awarded through a TRO. See Lindell v. United States, 82

F.4th 614, 618 (8th Cir. 2023). However, precluding Petitioner from being transferred

maintains the status quo so the merits of his habeas petition can be fairly decided.

II.      Analysis

         A.     Likelihood of Success

         The likelihood of success factor requires Petitioner to show he has a fair chance of

prevailing on his claims. Cigna Corp. v. Bricker, 103 F.4th 1336, 1343 (8th Cir. 2024). It

is not a decision on whether he will ultimately win. PCTV Gold, Inc. v. SpeedNet, LLC,

508 F.3d 1137, 1143 (8th Cir. 2007). To obtain relief, he needs to satisfy this factor on




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one of his claims. See United Healthcare Ins. Co. v. AdvancePCS, 316 F.3d 737, 742–43

(8th Cir. 2002). Petitioner makes a sufficient showing on all of his claims.

              1.     First Amendment violations

       Petitioner primarily claims an ongoing violation of his First Amendment rights.

The First Amendment generally precludes the government from restricting expression

because of its message, ideas, subject matter, or content. Ashcroft v. Am. Civ. Liberties

Union, 535 U.S. 564, 573 (2002). These protections extend to noncitizens residing within

the United States. Bridges v. Wixon, 326 U.S. 135, 148 (1945).

       Petitioner alleges that DHS acted against him based on his statements regarding

matters of public concern—specifically, the ongoing violence in Palestine. Though there

is no direct evidence of motive, he points to a pattern of enforcement disproportionately

affecting similarly situated international students, public statements by federal officials

linking dissent to disloyalty, and the suddenness of the arrest following his online

expression. These allegations raise substantial First Amendment concerns. See Ragbir v.

Homan, 923 F.3d 53, 71 (2d Cir. 2019) (recognizing that retaliatory enforcement

implicates First Amendment protections even in the immigration context).

       The record supports a plausible inference that DHS targeted Petitioner based on

his public expression of support for Palestinian human rights and his criticism of violence

in Gaza. This aligns with a broader pattern of surveillance and punitive immigration

enforcement against similarly situated students, as documented by DHS policy

memoranda and public statements by federal officials. (See Doc. No. 10, Sreekanth Decl.,

Exs. 2, 11, 13, 16–20; see also Doc. No. 1-9.) Petitioner’s First Amendment allegations


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are enough on their own to satisfy the likelihood of success factor.

              2.     Administrative Procedure Action violations

       Petitioner also asserts violations of the Administrative Procedure Act (“APA”),

which governs how federal agencies promulgate and enforce regulations. His SEVIS

status was terminated without notice or opportunity to respond. And his visa was

allegedly revoked under 8 U.S.C. § 1201(i) based on a misdemeanor that had already

been disclosed to U.S. officials. Under 8 C.F.R. § 214.1(d), termination of student status

is limited to specific grounds such as failure to maintain a full course load, unauthorized

employment, or violation of status conditions. See Jie Fang v. Dir. U.S. Immigr. &

Customs Enf’t, 935 F.3d 172, 175–76 (3d Cir. 2019).

       Petitioner’s disclosed misdemeanor conviction does not fall within any of these

regulatory categories. And DHS’s termination of his SEVIS record without invoking one

of the permissible bases points to a departure from agency rules. (See Sreekanth Decl. Ex.

22, ICE Policy Guidance No. 1004-04 (June 7, 2010) (noting that visa revocation alone

does not justify SEVIS termination without further process).) Agencies must adhere to

their own binding regulations, both substantively and procedurally. See United States ex

rel. Accardi v. Shaughnessy, 347 U.S. 260, 265–68 (1954). In addition, the allegations

that Respondents acted against Petitioner because of his speech, if proven, would violate

two existing DHS policies against targeting individuals for exercising free speech rights

or factoring free speech into an enforcement decision. (See Doc. No. 8 at 30.)

       After initially charging Petitioner with failure to maintain status under

Immigration and Nationality Act § 237(a)(1)(C)(i), DHS introduced a new basis for


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removal nearly three weeks later on April 18, 2025: visa revocation under § 237(a)(1)(B).

(Sreekanth Decl. Ex. 15.) Confusingly, the March 28, 2025 Record of

Deportable/Inadmissible Alien form identifies Petitioner’s “current charge” as failure to

maintain status under § 237(a)(1)(B), but also states that Petitioner “is amenable to

removal from the United States [sic]section 237(a)(1)(B).” (See Doc. No. 1-3, Ex. C at 4.)

The inconsistent and unexplained shift in rationale raises serious concerns about

pretextual enforcement in violation of the APA.

              3.     Due Process violations

       Finally, Petitioner claims that his continued detention violates due process. After

an immigration judge ordered his release, DHS invoked an automatic stay with no

additional showing of danger or flight risk. This results in prolonged detention without an

individualized justification. And it raises serious due process concerns under the Fifth

Amendment, even in the immigration context where judicial deference is high but not

without constitutional safeguards. See Zadvydas v. Davis, 533 U.S. 678, 700 (2001)

(Executive Branch has broad latitude in realm of immigration but remains subject to

important constitutional limitations). As alleged, Petitioner raises a sufficient question

over whether Respondents are using detention and removal proceedings—civil

processes—for punishment and retribution, and not to advance the legitimate purposes of

immigration detention. See id. at 690 (recognizing that ensuring future appearances and

preventing danger to community are two legitimate reasons for immigration detention).

       DHS has not offered any explanation—let alone a lawful one—for why

Petitioner’s status was terminated outside of the expressly enumerated regulatory


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grounds. That absence of reasoning is itself a legal deficiency that goes to the merits.

Taking adverse action without identifying the rule being applied or the rationale behind it

lacks both transparency and accountability. The resulting void undermines the fairness

that due process requires.

       B.     Irreparable Harm

       It is well settled that even minimal loss of First Amendment freedoms constitutes

irreparable injury. Phelps-Roper v. Nixon, 545 F.3d 685, 690 (8th Cir. 2008), overruled

on other grounds by Phelps-Roper v. City of Manchester, 697 F.3d 678 (8th Cir. 2012).

Because Petitioner has shown a fair chance of prevailing on his First Amendment claim,

there is a sufficient showing of irreparable harm from that alleged violation of his free

speech rights. See id. (recognizing that establishing likelihood of success on First

Amendment claim also establishes irreparable harm as a result of the deprivation).

       Even so, additional harms are not speculative and reinforce the need for immediate

relief. Petitioner remains detained, unable to attend classes, access timely and apparently

needed medical care, or even to consult freely with counsel. His hernia condition has

worsened while in custody. (Petitioner Decl. ¶¶ 13–25, 50–53.)

       Although Petitioner could very well lose this semester’s tuition, the disruption to

his education extends beyond financial loss. A sudden removal from academic life mid-

semester not only impedes his progress toward a degree but also puts at risk his eligibility

for future study and lawful presence. Academic suspension or termination carries long-

term reputational and professional consequences—particularly for international students,

whose ability to remain in the United States is tied to uninterrupted enrollment.


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       Furthermore, should DHS transfer Petitioner out of this District—as it has done to

detainees in other cases—his habeas petition may become practically unreviewable. Once

a petitioner is removed from the jurisdiction of the detaining court, access to counsel may

be severed, the custodian may no longer be subject to the Court’s authority, and the

petitioner’s ability to participate meaningfully in litigation may be impaired or lost

completely. These are concrete, ongoing and imminent injuries that cannot be remedied

after the fact. See, e.g., Melendres v. Arpaio, 695 F.3d 990, 1002 (9th Cir. 2012) (finding

reasonable fear of being subject to unlawful detention absent temporary relief may

constitute irreparable harm).

       C.      Balance of Harms and Public Interest

       The government “cannot suffer harm from an injunction that merely ends an

unlawful practice or reads a statute as required to avoid constitutional concerns.”

Rodriguez v. Robbins, 715 F.3d 1127, 1145 (9th Cir. 2013). Compared to the harms that

Petitioner faces, nothing indicates that the government will suffer from not being allowed

to transfer Petitioner out of the District. See Nebraska v. Biden, 52 F.4th 1044, 1047 (8th

Cir. 2022) (“[T]he equities strongly favor an injunction considering the irreversible

impact [the challenged agency] action would have as compared to the lack of harm an

injunction would presently impose.”).

       An Immigration Judge has already determined that Petitioner is not a danger to the

community and ordered his release on a $7,500 bond to address his minimal flight risk.

There is no apparent logistical, administrative, or security need to relocate Petitioner. The

public interest, by contrast, strongly favors the enforcement of constitutional safeguards.


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See, e.g., Phelps-Roper, 545 F.3d at 690 (recognizing that “it is always in the public

interest to protect constitutional rights”); R.I.L-R v. Johnson, 80 F. Supp. 3d 164, 191

(D.D.C. 2015) (“The public interest is served when administrative agencies comply with

their obligations under the APA.”). Preserving access to judicial review and preventing

unlawful detention are compelling issues of public importance.

       D.     Security Bond

       A bond under Fed. R. Civ. P. 65(c) is not necessary here because the TRO seeks to

prevent ongoing constitutional violations, the petitioner is detained and unable to post a

bond, and the government faces no identifiable risk of monetary loss. A bond is also not

warranted given that this matter is closely intertwined with important public interests.

See, e.g., Richland/Wilkin Joint Powers Auth. v. United States Army Corps of Eng’rs, 826

F.3d 1030, 1043 (8th Cir. 2016).

                                      CONCLUSION

       This Court does not prejudge the ultimate resolution of Petitioner’s claims. But the

allegations are serious. If the government uses civil detention to suppress lawful

viewpoint expression, it risks damaging the legitimacy of both the immigration system

and the Executive Branch discretion that undergirds it. The legitimacy of the rule of law

depends not just on legal form, but also on lawful purpose. The record here warrants

emergency relief in favor of restraint.

                                          ORDER

       Based on the foregoing, and on all the files, records, and proceedings in this case,

IT IS HEREBY ORDERED that:


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       1.     Petitioner’s Motion for Temporary Restraining Order (Doc. No. 6) is

GRANTED IN PART.

       2.     Respondents, or any person acting in concert with Respondents, shall not

remove, transfer, or otherwise facilitate the removal of Petitioner from the jurisdiction of

this Court (the District of Minnesota) pending further court order.

       3.     This Order shall remain in effect for 14 days from the date of entry, unless

extended by further court order under Federal Rule of Civil Procedure 65(b)(2).


 Date: April 22, 2025                              s/ Jerry W. Blackwell
 Time: 4:53 p.m.                                   JERRY W. BLACKWELL
                                                   United States District Judge




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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

PRASANNA ORUGANTI,                               :
                                                 :
              Plaintiff,                         : Case No. 2:25-cv-00409-ALM-EPD
                                                 :
       v.                                        : Judge Algenon L. Marbley
                                                 :
KRISTI NOEM, in her official capacity as         : Magistrate Judge Elizabeth Preston Deavers
as Secretary of Homeland Security;               :
the DEPARTMENT OF HOMELAND                       :
SECURITY; and TODD LYONS, in his                 :
official capacity as Acting Director of U.S.     :
Immigration and Customs Enforcement,             :
                                                 :
              Defendants.                        :

                                   OPINION AND ORDER

       This matter comes before this Court on Plaintiff Prasanna Oruganti’s Motion for a

Temporary Restraining Order (“TRO”) against Defendants Kristi Noem, in her official capacity

as Secretary of the Department of Homeland Security (“DHS”), DHS, and Todd Lyons, in his

official capacity as Acting Director of U.S. Immigration and Customs Enforcement (“ICE”)

(collectively, “Defendants”). A conference on Plaintiff’s Motion for a TRO pursuant to S.D. Ohio

Civ. R. 65.1 was held on Thursday, April 17, 2025. For the reasons set forth below, this Court

GRANTS Plaintiff’s Motion for a TRO (ECF No. 2).

                                      I.       BACKGROUND

       Plaintiff Prasanna Oruganti, a citizen of India, is an international student pursuing a Ph.D.

in agricultural engineering at The Ohio State University (“OSU”) in Columbus, Ohio. (ECF No. 2-

1 ¶¶ 2, 11). Ms. Oruganti first entered the United States in 2018 upon obtaining an F-1 visa while

she was in India. (Id. ¶¶ 4–5). An F-1 visa provides foreign national students valid immigration

status for the duration of a full course of study at an approved academic institution in the United

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States. See 8 U.S.C. S 1101(a)(15)(F)(i). Plaintiff’s Form I-20, officially known as the “Certificate

of Eligibility for Nonimmigrant Student Status,” states that she is authorized until December of

2029 to complete her Ph.D. program at OSU. (See ECF No. 2-3).

        Ms. Oruganti is one of hundreds, if not more, of students nationwide whose record and F-

1 status in the Student and Exchange Visitor Information Systems (SEVIS) database 1 was abruptly

terminated by ICE the week of April 7, 2025. (ECF No. 1-1). Specifically, on April 8, 2025, Ms.

Oruganti received an email from OSU’s Office of International Affairs notifying her that her

SEVIS record had been terminated, and that the reason given for the termination was “Other -

Individual identified in criminal records check and/or has their VISA revoked.” (ECF No. 2-2).

The email further stated: “Since your SEVIS record has been terminated by [the Student and

Exchange Visitor Program], this indicates the U.S. government believes you have violated your

F-1 status.” (Id.).

        Ms. Oruganti, however, has not received any communication from the U.S. Department of

State that her F-1 visa was officially revoked. She maintains that she is unaware of the factual

basis for the termination of her SEVIS status, noting that her only criminal history is a June 2020

conviction for a defective equipment charge in Missouri. (ECF No. 2-1 ¶ 18). She explains that,

at the time, she was trying to turn left from the front side of a store when she “misjudged the

distance while turning,” resulting in the front side of her car hitting some decorative bricks. (Id.).

Shortly after the incident, Ms. Oruganti was instructed to appear in court and pleaded guilty to a

defective equipment charge under Mo. Ann. Stat. § 307.170, paying a $300 fine. (Id.; ECF No. 2-

5). The offense to which she pled guilty was a minor misdemeanor. “The public prosecutor


1
 SEVIS is an electronic system maintained by DHS that tracks and monitors schools, Student Exchange
Visitor Programs (“SEVP”), and F-1 students who have come to the United States to participate in the
education system here. F-1 visa holders have no access to or visibility into the system. The SEVIS system
shows whether a student, like Plaintiff here, is in compliance with her F-1 status.
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clarified that it was a minor traffic violation and assured [her] that no points would be deducted

from [her] driver’s license.” (ECF No. 2-1 ¶ 18).

       On April 17, 2025, Plaintiff filed this action under the Administrative Procedure Act

(APA), the Fifth Amendment to the U.S. Constitution, and the Declaratory Judgment Act, to

challenge the termination of her SEVIS record. (ECF No. 1). Specifically, Ms. Oruganti alleges

that Defendants’ termination of her record in the SEVIS system—and thus termination of her F-1

status—is arbitrary and capricious under the APA, 5 U.S.C. § 706, and lacks the procedural

safeguards required by both the APA and the Fifth Amendment. To be clear, Plaintiff challenges

only Defendants’ termination of her F-1 student status in the SEVIS system, not the revocation of

her F-1 visa, which does not appear to have happened. (See ECF No. 1 ¶ 7 (“Plaintiff does not

challenge the revocation of her visa in this action. Rather, Plaintiff brings this action . . . to

challenge ICE’s illegal termination of her SEVIS record.”); ECF No. 2 at 1–2 (seeking a TRO that,

among other things, enjoins Defendants from “causing Ms. Oruganti’s visa to be revoked”); ECF

No. 2 at 4 (“Plaintiff does not challenge the revocation of any visa in this case. Instead, Plaintiff

brings this lawsuit to challenge Defendants’ unlawful termination of her F-1 student status in the

SEVIS system.”)).

       Ms. Oruganti simultaneously moved for a TRO that: (1) requires Defendants to restore

Plaintiff’s SEVIS record and F-1 status so that she can continue attending school and working as

a graduate research associate; and (2) enjoins Defendants from “directly or indirectly enforcing,

implementing, or otherwise taking any action or imposing any legal consequences—including

causing Ms. Oruganti’s visa to be revoked or detaining or removing Ms. Oruganti—as a result of

th[e] decision” to terminate her SEVIS record and F-1 status. (See ECF No. 2 at 1–2; ECF No. 1




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at 16). On April 17, 2025, the parties appeared before this Court for a Rule 65.1 conference, and

this Court issued a TRO. This Opinion and Order supplements that oral ruling.

                                II.     STANDARD OF REVIEW

       A TRO is an emergency measure meant “to prevent immediate and irreparable harm to the

complaining party during the period necessary to conduct a hearing on a preliminary injunction.”

Hartman v. Acton, 613 F. Supp. 3d 1015, 1021 (S.D. Ohio 2020) (quoting Dow Chemical Co. v.

Blum, 469 F. Supp. 892, 901 (E.D. Mich. 1979)). Federal Rule of Civil Procedure 65(b) requires

a Court to examine on application for a TRO, whether “specific facts in an affidavit or a verified

complaint clearly show that immediate and irreparable injury, loss, or damage will result to the

movant.” Fed. R. Civ. P. 65(b)(1)(A).

       Given that the “the purpose of a temporary restraining order is to maintain the status quo,”

it is of paramount importance that the party seeking the TRO establish immediacy and

irreparability of injury. See Doe v. Univ. of Cincinnati, 2015 WL 5729328, at *1 (S.D. Ohio Sept.

30, 2015) (citing Motor Vehicle Bd. of Calif. v. Fox, 434 U.S. 1345, 1347 n.2 (1977)). The “status

quo,” for purposes of injunctive relief, is “the last actual, peaceable, noncontested status which

preceded the pending controversy.” See Sunbeam Corp. v. Econ. Distrib. Co., 131 F. Supp. 791,

793 (E.D. Mich. 1955); Lapeer Cnty. Med. Care Facility v. State of Mich. Through Dep’t of Soc.

Servs., 765 F. Supp. 1291, 1300 (W.D. Mich. 1991) (“When the status quo causes continuing

irreparable harm to plaintiffs, the status quo is the ‘last uncontested status which preceded the




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pending controversy.’” (quoting Crowley v. Local No. 82, Furniture & Piano Moving, 679 F.2d

978, 995 (1st Cir. 1982)). 2

        While immediacy and irreparability of harm are threshold considerations, the Sixth Circuit

has explained that courts may also consider the traditional preliminary injunction factors: “whether

the movant has a strong likelihood of success on the merits; . . . . whether issuance of the injunction

would cause substantial harm to others; and . . . whether the public interest would be served by

issuance of the injunction.” City of Pontiac Retired Emps. Ass’n v. Schimmel, 751 F.3d 427, 430

(6th Cir. 2014) (per curiam) (en banc).

        On an application for a TRO, a court may accept as true “well-pleaded allegations [in the

complaint] and uncontroverted affidavits.” Elrod v. Burns, 427 U.S. 347, 350, n.1 (1976);

Libertarian Party of Ohio v. Husted, 751 F.3d 403, 417 (6th Cir. 2014). The court may also rely

on otherwise inadmissible evidence, including hearsay, “if the evidence is appropriate given the

character and objectives of the preliminary injunctive proceeding.” Doe #11 v. Lee, 609 F. Supp.

3d 578, 592 (M.D. Tenn. 2022). The “burden of proving that the circumstances ‘clearly demand’

such an extraordinary remedy is a heavy one,” since the party seeking “the injunction must

establish its case by clear and convincing evidence.’” Id. (citing Overstreet v. Lexington-Fayette




2
  As a number of federal courts of appeal have recognized, “it is sometimes necessary to require a party
who has recently disturbed the status quo to reverse its actions, but such an injunction restores, rather than
disturbs, the status quo ante.” See League of Women Voters of N. Carolina v. North Carolina, 769 F.3d
224, 236 (4th Cir. 2014) (cleaned up) (quoting Aggarao v. MOL Ship Mgmt. Co., 675 F.3d 355, 378 (4th
Cir. 2012)); see also O Centro Espirita Beneficiente Uniao Do Vegetal v. Ashcroft, 389 F.3d 973, 1013
(10th Cir. 2004) (en banc) (per curiam) (“requir[ing] a party who has recently disturbed the status quo to
reverse its actions . . . restores, rather than disturbs, the status quo ante, and is thus not an exception” to the
ordinary standard for preliminary injunctions); Holt v. Cont’l Grp., Inc., 708 F.2d 87, 90 (2d Cir. 1983)
(referring to reinstatement of benefits as “restoration of the status quo ante”).


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UrbanCnty. Gov’t, 305 F.3d 566, 573 (6th Cir. 2002); Honeywell, Inc. v. Brewer-Garrett Co., 145

F.3d 1331 (6th Cir. 1998)).

                                   III.    LAW & ANALYSIS

                              A. Immediacy and Irreparability of Harm

       This Court first considers the immediacy and irreparability of harm that Plaintiff faces

absent injunctive relief. Fed. R. Civ. P. 65(b)(1)(A). To establish irreparable harm, Plaintiff must

show that she will suffer “actual and imminent” harm, “rather than harm that is speculative or

unsubstantiated.” Abney v. Amgen, Inc., 443 F.3d 540, 552 (6th Cir. 2006). Further, the harm must

be irreparable, meaning that it “cannot be prevented or fully rectified by [a] final judgment after

trial[.]” Tennessee v. Nat’l Collegiate Athletic Ass’n, 718 F. Supp. 3d 756, 764 (E.D. Tenn. 2024)

(quoting Roland Mach. Co. v. Dresser Indus., Inc., 749 F.2d 380, 386 (7th Cir. 1984)). Generally,

irreparable harm is harm that cannot be remedied by money damages. Certified Restoration Dry

Cleaning Network, L.L.C. v. Tenke Corp., 511 F.3d 535, 550 (6th Cir. 2007). But economic

damages may constitute irreparable harm if such damages “cannot be prevented or fully rectified

by [a] final judgment after trial[.]” Nat’l Collegiate Athletic Ass’n, 718 F. Supp. 3d at 764 (quoting

Roland Mach. Co., 749 F.2d at 386)).

       Ms. Oruganti argues that she will suffer irreparable and immediate injury absent a TRO

because, first and most alarmingly, she faces possible detention and removal from the country for

being out of status. See 8 U.S.C. § 1227(a)(1)(C)(i) (“Any alien who was admitted as a [F-1]

nonimmigrant and who has failed to maintain the [F-1] nonimmigrant status in which the alien was

admitted . . . or to comply with the conditions of any such status, is deportable.”). At the Rule 65.1

conference, Defendants argued that terminating a SEVIS record is distinct from revoking an F-1

status, and that OSU likely misinterpreted the significance of the SEVIS record termination. But



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DHS’s own website makes clear that “[w]hen an F-1 . . . SEVIS record is terminated, the following

happens”:

                •       “Student loses all on- and/or off-campus employment
                        authorization.”

                •       “Student cannot re-enter the United States on the terminated
                        SEVIS record.”

                •       “Immigration and Customs Enforcement (ICE) agents may
                        investigate to confirm the departure of the student.” 3

Defendants ultimately conceded, as they must, that termination of the SEVIS record could lead to

the revocation of the F-1 status, which could ultimately lead to deportation—an outcome that the

Supreme Court has recognized as “a drastic measure, often amounting to lifelong banishment or

exile.” Sessions v. Dimaya, 584 U.S. 148, 157 (2018) (internal quotation marks omitted). Given

the significant time and money Plaintiff has already invested in her agricultural engineering

education and career trajectory (ECF No. 2-1 ¶ 12), Plaintiff persuasively argues that the

termination of her student status and SEVIS record, and any subsequent deportation, will result

“in the loss ‘of all that makes [her] life worth living.’” Bridges v. Wixon, 326 U.S. 135, 147 (1945)

(“[D]eportation may result in the loss ‘of all that makes life worth living’.”).

        Plaintiff further explains that, as a result of the SEVIS termination, she is no longer

authorized to engage in on-campus employment or to receive her monthly Ph.D. stipend, which

make up Plaintiff’s only source of income. This is so because, as an F-1 visa holder, Plaintiff




3
     See      Effects    of    SEVIS     Termination,     U.S.    Dep’t     of    Homeland      Security,
https://studyinthestates.dhs.gov/sevis-help-hub/student-records/completions-and-terminations/terminate-
a-student. This Court may take judicial notice of information contained on federal government websites.
See Broom v. Shoop, 963 F.3d 500, 509 (6th Cir. 2020).


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generally cannot work off-campus. 4 She has signed a lease for this year and next year too, which

she maintains she will not be able to pay without work authorization. Although this harm is

economic in nature, it is irreparable because money damages are likely not available when this

litigation concludes. See 5 U.S.C. § 702; Match-E-Be-Nash-She-Wish Band of Pottawatomi

Indians v. Patchak, 567 U.S. 209, 215 (2012) (“The APA generally waives the Federal

Government’s immunity from a suit ‘seeking relief other than money damages . . . .’” (emphasis

added) (quoting 5 U.S.C § 702)); Coal. for Gov’t Procurement v. Fed. Prison Indus., Inc., 365

F.3d 435, 479 (6th Cir. 2004) (“The APA’s waiver of sovereign immunity applies to ‘an action in

a court of the United States seeking relief other than money damages.’” (emphasis added) (quoting

5 U.S.C § 702)); Chef Time 1520 LLC v. Small Bus. Admin., 646 F. Supp. 3d 101, 115–16 (D.D.C.

2022) (explaining that unavailability of money damages for APA claims counsels in favor of a

finding of irreparable harm).

       Beyond the monetary harm, Plaintiff’s on-campus employment in the Department of Food,

Agriculture and Biomedical Engineering forms an integral part of her doctoral training, the loss of

which has already interrupted her academic plans and the research projects on which she is

working. At the Rule 65.1 conference, Ms. Oruganti also noted that OSU had instructed her to

hold off on taking her exams, presumably to ensure that OSU is in compliance with federal law.

Plaintiff also contends that the SEVIS termination will result in Plaintiff accruing unlawful

presence daily, which may render her ineligible for reinstatement of her F-1 student status in the

future. See Fang v. Dir., U.S. Immigr. & Customs Enf’t, 935 F.3d 172, 176 (3d Cir. 2019) (noting

that F-1 student status may be reinstated if, among other things, the student has not been out of a




4
  See Students and Employment, U.S. Citizenship & Immigr. Servs., https://www.uscis.gov/working-in-
the-united-states/students-and-exchange-visitors/students-and-employment.

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valid F-1 student status for over five months). Being out of status also renders Plaintiff ineligible

to apply for any type of nonimmigrant visa while she is here; she would have to go back to India

first. And if she takes this route of “self-deporting,” she would be barred for five (5) years from

returning to the U.S. because a ground of inadmissibility would attach to her based on an F-1 status

violation.    See 8 U.S.C. 1182(a)(6)(G) (“An alien who obtains the status of a [F-1]

nonimmigrant . . . and who violates a term or condition of such status . . . of this title is

inadmissible until the alien has been outside the United States for a continuous period of 5 years

after the date of the violation.”).

        Opposing the TRO, Defendants at the hearing alluded to a vague administrative process

that Plaintiff could have pursued to restore her SEVIS record, including by contacting ICE directly.

But in this Court’s view, that would amount to letting the proverbial fox guard the chicken house.

The record is replete with instances of international students subject to visa revocations or SEVIS

terminations being arrested and detained by ICE without warning. See e.g., Ozturk v. Trump,

___ F.Supp.3d ___, ___, 2025 WL 1009445, at *1 (D. Mass. Apr. 4, 2025) (“[O]n March 25,

2025, at approximately 5:25 p.m. without prior notice of the revocation of her student visa or the

grounds asserted for same, . . . a [Turkish] graduate student . . . at Tufts University, was approached

and surrounded by six officers (several wearing masks and/or hoods), stripped of her cellphone

and backpack, handcuffed, and taken into custody in an unmarked vehicle.”); see also ECF No. 2-

9, Kate Selig & Halina Bennet, The Trump Administration Revoked 800 Student Visas. Here is

What To Know, N.Y. Times (Apr. 11, 2025), https://www.nytimes.com/2025/03/27/us/students-

trump-ice-detention.html.

        To summarize, the loss of Plaintiff’s F-1 status places her education, research, financial

stability, and career trajectories at imminent risk of irreparable harm, and puts her at risk of



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detention or deportation. At least four district courts have issued TROs in similar cases, finding

that students on F-1 visas whose SEVIS status or record had been terminated by DHS or ICE face

irreparable harm. See Liu v. Noem, et al., No. 1:25-cv-00133-SE-TSM, at *3–4 (D.N.H. April 10,

2025) (slip op.) (finding that doctoral student at Dartmouth College established irreparable harm

where, “[b]ecause DHS terminated Liu’s F-1 student status in the SEVIS system, he is no longer

authorized to work as a research assistant or participate in any research, and he is no longer eligible

to receive any stipend from his Ph.D. program at Dartmouth College”; “due to his inability to

participate in research, Dartmouth must require him to disenroll from his current courses so that

Dartmouth can remain in compliance with federal law”; “[t]hese circumstances will derail Liu’s

academic trajectory and ability to complete his Ph.D. program in a timely fashion”; and “the

change in Liu’s status in the SEVIS system may expose him to a risk of detention or deportation”);

Roe, et al., v. Noem, et al., No. CV 25-40-BU-DLC, 2025 WL 1114694, at *3–4 (D. Mont. Apr.

15, 2025) (finding that F-1 students “have successfully shown that, absent the relief provided for

by a TRO, they will suffer irreparable harm,” because “[l]osing F-1 status places Plaintiffs’

education, research, financial stability, and career trajectories at imminent risk of irreparable

harm,” and “Plaintiffs also face the risk of immediate detention or removal from the United

States”); Isserdasani, et al., v. Noem, et al., No. 25-cv-283-wmc, at *10 (W.D. Wis. April 15,

2025) (slip op.) (“Isserdasani faces possible devastating irreparable harm due to the termination of

his F-1 student record in SEVIS . . . . Given the amount of Isserdasani’s educational expenses and

potential losses from having to leave the United States without obtaining his degree, the court

concludes that Isserdasani credibly demonstrates that he faces irreparable harm for which he has

no adequate remedy at law in the absence of injunctive relief.”); Ratsantiboon v. Noem, et al., No.

25-CV-01315 (JMB/JFD), 2025 WL 1118645 (D. Minn. Apr. 15, 2025) (“The termination of



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Ratsantiboon’s F-1 student status in the SEVIS system renders him immediately ineligible to

attend classes and sit for his final examinations. Ratsantiboon thus faces the imminent prospect of

losing credit for the coursework he has thus far performed . . . . In addition, the termination of [his]

SEVIS record forces him to live in uncertain legal status while he pursues this matter . . . which

can constitute a separate irreparable harm.”).

        Accordingly, this Court finds that Plaintiff has shown that, without a TRO, she will suffer

immediate, irreparable harm for which an award of monetary damages would not be sufficient.

                                          B.      Other Factors

        Although the immediacy and irreparability of harm are the most important at this juncture,

this Court briefly addresses the other traditional preliminary injunction factors, as the Sixth Circuit

has opined approvingly that those factors can be considered at the TRO stage. See Stein v. Thomas,

672 F. App’x 565, 569 (6th Cir. 2016). As to Plaintiff’s likelihood of success on the merits, this

Court finds Plaintiff is likely to succeed on her APA claims. 5 Federal regulations provide that “the

nonimmigrant status of an alien shall be terminated by the revocation of a waiver authorized on

his or her behalf under section 212(d)(3) or (4) of the Act; by the introduction of a private bill to

confer permanent resident status on such alien; or, pursuant to notification in the Federal Register,


5
  Because there is likelihood of success on the merits of one or more of Plaintiff’s APA claims, this Court
“need not consider in detail the merits of each and every claim.” Planned Parenthood Great Nw., Hawaii,
Alaska, Indiana, & Kentucky, Inc. v. Cameron, 599 F. Supp. 3d 497, 507 (W.D. Ky. 2022); see Schiavo ex
rel. Schindler v. Schiavo, 403 F.3d 1223, 1232 (11th Cir. 2005) (“Plaintiffs have asserted five constitutional
and statutory claims. To obtain temporary injunctive relief, they must show a substantial likelihood of
success on at least one claim. ”); 725 Eatery Corp. v. City of New York, 408 F. Supp. 3d 424, 459 (S.D.N.Y.
2019) (“Plaintiff need not demonstrate a likelihood of success on the merits of every claim—rather, they
need only ‘show a likelihood of success on the merits of at least one of [their] claims.’”); see also Liu, No.
1:25-cv-00133-SE-TSM, at *3 n.2 (“Because the court finds that Liu has shown a likelihood of success on
the merits of his APA claim in Count 2, it does not address at this time his claim in Count 1 that DHS
violated his due process rights under the Fifth Amendment when it terminated his F-1 status in the SEVIS
system.”); Roe, 2025 WL 1114694, at *6 (“Because Plaintiffs are likely to succeed on their APA cause of
action, the issue of due process need not be addressed at this time.”).

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on the basis of national security, diplomatic, or public safety reasons.” 8 C.F.R. § 214.1(d).

Defendants have not argued that any of these mechanisms were employed here. See Fang, 935

F.3d at 185 n.100 (“[I]t is easy to see why the students desire review—DHS appears to have

terminated their F-1 visas without the statutory authority to do so. As discussed above, the ability

to terminate an F-1 visa is limited by § 214.1(d).”). And “[w]hile the scope of review under the

‘arbitrary and capricious’ standard [under the APA] is narrow and a court is not to substitute its

judgment for that of the agency, the agency nevertheless must examine the relevant data and

articulate a satisfactory explanation for its action.” Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State

Farm Mut. Auto. Ins. Co., 463 U.S. 29, 30 (1983); Securities & Exchange Comm’n v. Chenery

Corp., 318 U.S. 80, 94 (1943) (“The orderly function of the process of review requires that the

grounds upon which the administrative agency acted are clearly disclosed and adequately

sustained.”); Coal. for Gov’t Procurement v. Fed. Prison Indus., Inc., 365 F.3d 435, 476 (6th Cir.

2004) (“[D]eferential judicial review under the APA does not relieve the agency of its obligation

to develop an evidentiary basis for its findings. To the contrary, the APA reinforces this

obligation.”).

       Based on the record before this Court, Plaintiff has shown a likelihood to succeed on the

merits of her claim that Defendants’ termination of her SEVIS record and F-1 student status was

not in compliance with the applicable statutory regulations and was therefore arbitrary, capricious,

an abuse of discretion, not in accordance with the law, or otherwise without observance of

procedure required by law. See 5 U.S.C. § 706(2). Other courts have held the same in cases

involving similar facts. See Liu, No. 1:25-cv-00133-SE-TSM, at *3 (finding that F-1 student

plaintiff is likely to succeed on APA claim and issuing TRO); Roe, 2025 WL 1114694, at *3

(same); Ratsantiboon, 2025 WL 1118645 (same), Isserdasani, No. 25-cv-283-wmc, at *10 (same).



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       The last two factors in the balancing test—balance of hardships and public interest—merge

when the government is a party. Nken v. Holder, 556 U.S. 418, 435 (2009). Here, there is a

substantial public interest “in having governmental agencies abide by the federal laws that govern

their existence and operations.” Washington v. Reno, 35 F.3d 1093, 1103 (6th Cir. 1994); see also

N. Mariana Islands v. United States, 686 F. Supp. 2d 7, 21 (D.D.C. 2009) (“The public interest is

served when administrative agencies comply with their obligations under the APA.”).

                                              C. Bond

       Rule 65 of the Federal Rules of Civil Procedure states in relevant part: “The court may

issue a . . . temporary restraining order only if the movant gives security in an amount that the

court considers proper to pay the costs and damages sustained by any party found to have been

wrongfully enjoined or restrained.” Fed. R. Civ. P. 65(c). The purpose of the rule is to “protect[]

the enjoined party from any pecuniary injury that may accrue [while] a wrongfully issued equitable

order remains in effect.” Brown v. City of Upper Arlington, 637 F.3d 668, 674 (6th Cir. 2011)

(internal quotation marks and citations omitted). The district court possesses discretion over the

posting of security under Rule 65(c), Moltan Co. v. Eagle–Picher Industries, Inc., 55 F.3d 1171,

1176 (6th Cir. 1995), and the amount ordinarily depends on the gravity of the potential harm to

the enjoined party. See Bookfriends, Inc. v. Taft, 223 F. Supp. 2d 932, 953 (S.D. Ohio 2002)

(waiving bond requirement where “Defendants will not suffer [] damages[] if it is ultimately

determined that they were wrongfully restrained from enforcement of the legislation at issue”).

       For good cause shown, Plaintiff shall post a bond with the Clerk of the Court in the nominal

amount of $1.00. See Moltan Co., 55 F.3d at 1176 (finding no bond is required when strong public

interest is involved); see also Doe v. Univ. of Cincinnati, 223 F. Supp. 3d 704, 713 (S.D. Ohio

2016) (setting Rule 65 bond in the nominal amount of $1), aff’d, 872 F.3d 393 (6th Cir. 2017).



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                                          IV.      CONCLUSION

        For the reasons set forth above, and to maintain the status quo pending the preliminary

injunction hearing, this Court GRANTS Plaintiff’s Motion for a TRO (ECF No. 2) and issues the

following interim relief:

        1. Defendants Kristi Noem, in her official capacity as Secretary of the U.S. Department

of Homeland Security; the U.S. Department of Homeland Security; and Todd Lyons, in his official

capacity as Acting Director of U.S. Immigration and Customs Enforcement (collectively,

“Defendants”) are ORDERED to reinstate Plaintiff Prasanna Oruganti’s F-1 student status and

record in the Student and Exchange Visitor System (“SEVIS”); 6 and

        2. Defendants are ENJOINED from enforcing, implementing, or otherwise taking any

action or imposing any legal consequences as the result of terminating Plaintiff’s F-1 student status

or SEVIS record, including revoking her F-1 visa, detaining her, or placing her in removal

proceedings.

        Plaintiff shall post a bond with the Clerk of the Court in the nominal amount of $1.00.

The parties are further ordered to appear before this Court for a preliminary injunction hearing on

May 8, 2025, at 9:30 a.m. An appendix outlining the expedited briefing schedule and procedures

to be followed at the Preliminary Injunction hearing follows this Order.

        IT IS SO ORDERED.


DATED: April 18, 2025
                                                  ALGENON L. MARBLEY
                                                  UNITED STATES DISTRICT JUDGE


6
  At the Rule 65.1 conference, this Court also ordered Defendants to pay Plaintiff for the time that she
missed as a graduate research associate through no fault of her own. Upon reflection and a close review of
the applicable statutory framework, this Court sua sponte reconsiders that earlier ruling and vacates it. The
parties are free to brief this particular issue in their papers, and this Court will take up the issue at the
preliminary injunction stage if they do so.
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            BRIEFING SCHEDULE & PRELIMINARY INJUNCTION HEARING

       Consistent with this Court’s order at the Rule 65.1 conference, the parties will observe the

following briefing schedule. The parties are to submit simultaneous opening and responsive briefs,

addressing specifically why Plaintiff does or does not satisfy the following four requirements for

the issuance of a preliminary injunction: (1) whether the movant has a strong likelihood of success

on the merits; (2) whether the movant would suffer irreparable injury without the injunction; (3)

whether issuance of the injunction would cause substantial harm to others; and (4) whether the

public interest would be served by the issuance of the injunction. See Ne. Ohio Coal. for the

Homeless v. Husted, 696 F.3d 580, 590-91 (6th Cir. 2012). Opening briefs are due on

April 25, 2025. Responsive briefs are due on May 1, 2025.

       Plaintiff will pay her nominal bond of $1.00 to the Clerk of Court by April 21, 2025, at

4:00 p.m.

       The Preliminary Injunction hearing will be held on Thursday, May 8, 2025 at 9:30 a.m.

before the Honorable Algenon L. Marbley, United States District Court, 85 Marconi Boulevard,

Columbus, Ohio, Court Room 1, Third Floor. If the hearing is not complete in one day, the hearing

will resume on Friday, May 9, 2025, at 8:30 a.m. The Court will not continue the hearing date(s)

except upon written motion supported by an affidavit demonstrating exceptional circumstances,

made immediately upon the party’s or counsel’s receipt of notice of the existence of the

exceptional circumstances.

       The Court expects the evidence presented at the Preliminary Injunction hearing to be

focused solely on the four-prong test for preliminary injunctions.

       The parties shall engage in expedited discovery and agree upon an expedited discovery

schedule that includes provisions for expert discovery.

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       The Court shall handle all discovery disputes for the purposes of the Preliminary

Injunction.

       The parties, or a party, in its opening Preliminary Injunction brief, may move to consolidate

the Preliminary Injunction hearing with the trial on the merits. If the motion to consolidate is not

raised in a party’s opening brief, it will be considered waived.

       An appendix outlining the trial procedures to be followed at the Preliminary Injunction

hearing follows.

                                            APPENDIX

                                   I. TRIAL PROCEDURES

       Counsel Tables

       Plaintiff will occupy counsel table next to the jury box. Defendant will occupy counsel

table across from Plaintiff and, to the extent necessary, the pews in the gallery.

       Appearances

       Counsel will enter their appearance with the Court Reporter and the Courtroom Deputy

Clerk before the start of the opening session of the hearing.

       Addresses By Counsel

       Counsel will address the Court in the following manner:

               (a)     All addresses to the Court will be made from the lectern facing the Court.

               (b)     Counsel shall stand when addressing the Court for any reason.




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       Objections

       Counsel will stand when making an objection and will make the objection directly and only

to the Court.

       When objecting, state only that you are objecting and the succinct legal basis for your

objection. Objections shall not be used for the purpose of making speeches, repeating testimony,

or to attempt to guide a witness.

       Argument upon an objection will not be heard unless permission is given or argument is

requested by the Court. Either counsel may request a bench conference.

       Decorum

       Colloquy, or argument between counsel will not be permitted. All remarks shall be

addressed to the Court.

       Counsel shall maintain a professional and dignified atmosphere throughout the hearing.

       During the hearing, counsel shall not exhibit familiarity with witnesses or opposing counsel

and shall avoid the use of first names.

       During opening statements and final arguments, all persons at counsel table shall remain

seated and be respectful so as not to divert the attention of the Court.

       Do not ask the Court Reporter to mark testimony. All requests for re-reading of questions

or answers shall be addressed to the Court.

       Demonstrative Evidence

       If any sketches, models, diagrams, or other demonstrative evidence of any kind will be

used during the proceeding, they must be exhibited to opposing counsel two days prior to the

hearing. Objections to the same must be submitted to the Court prior to the commencement of the

hearing. Demonstrative evidence prepared solely for the purpose of final argument shall be



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displayed to opposing counsel at the earliest possible time but in no event later than one-half hour

before the commencement of the arguments.

       Counsel must supply his/her own easel, flip charts, etc. for the hearing.

       Exhibits

       Counsel will assemble and mark all exhibits and deliver them to the courtroom deputy prior

to the commencement of the hearing. Plaintiff’s exhibits will bear the letter prefix P followed by

Arabic numerals and Defendant’s exhibits will bear the prefix D followed by Arabic numerals.

       Counsel should keep a list of all exhibits and should supply the Court, courtroom deputy

and opposing counsel with a copy of the same.

       Each counsel is responsible for any exhibits secured from the courtroom deputy. At the end

of each hearing session, all exhibits shall be returned to the courtroom deputy.

       The parties shall use three-ring tabbed notebooks for their exhibits which will be submitted

two (2) days before the hearing. The parties shall provide one (1) copy of their tabbed exhibit

notebook(s) to opposing counsel, and three (3) copies to the Court—one each for the Judge, the

law clerk, and the courtroom deputy (for use at the witness stand).

       Exhibits which are produced for the first time during the hearing, as in the case of exhibits

used for impeachment, shall be tendered to the courtroom deputy for marking and then displayed

to opposing counsel.

       Sanctions

       The parties and counsel shall comply fully and literally with this pre-hearing order.

The Court will consider the imposition of appropriate sanctions in the event of non-compliance,

including monetary sanctions, the dismissal of claims or defenses, or the exclusion of evidence.

Fed. R. Civ. P. 16(f).



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       Questions

       This order supersedes all previous orders in this case to the extent previous orders are

inconsistent with this order.

       The parties shall address questions about this Order to the Court’s Law Clerk, Diala Alqadi,

at (614) 719-3276, by way of a telephone conference with counsel for all parties participating, or

with fewer than all counsel participating with express permission of non-participating counsel. Or,

the parties may contact Ms. Alqadi at diala_alqadi@ohsd.uscourts.gov, by way of email with

counsel for all parties carbon-copied, or with fewer than all counsel carbon-copied with express

permission of non-participating counsel.




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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW HAMPSHIRE

Xiaotian Liu

        v.                                                  Case No. 25-cv-133-SE

Kristi Noem et al.


                                           ORDER

        On April 7, 2025, Plaintiff Xiaotian Liu brought suit against Kristi Noem, the Secretary

of the Department of Homeland Security, and Todd Lyons, the Acting Director of Immigration

and Customs Enforcement, alleging that DHS unlawfully terminated his F-1 student status in the

Student and Exchange Visitor (“SEVIS”)1 system. He alleges, among other things, that DHS

violated his due process rights under the Fifth Amendment and violated the Administrative

Procedure Act when it terminated his status in the system. Liu filed a motion for a temporary

restraining order with his complaint, requesting a TRO “(i) enjoining Defendants from

terminating Plaintiff’s F-1 student status under the Student and Exchange Visitor (SEVIS)

system and (ii) requiring Defendants to set aside their termination determination.” Doc. no. 2 at

1.

        The court held a brief video hearing on April 7. Although Liu filed a motion for a TRO,

his attorneys communicated with the defendants’ attorney, who was able to attend the hearing.

The parties agreed that the court should not consider the motion for a TRO at that hearing and

that they would confer regarding a potential briefing schedule and provide the court with a status

update on or before April 9.



        1
           SEVIS is “the web-based system that [DHS] uses to maintain information regarding: . . .
F-1 . . . students studying in the United States[.]” About SEVIS, Department of Homeland
Security, https://studyinthestates.dhs.gov/site/about-sevis (last visited April 10, 2025).
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       On the evening of April 8 and the early morning of April 9, Liu filed two addenda to his

motion for a TRO. See doc. nos. 7 and 8. In the latter addendum, Liu stated that because of the

“potential immigration detention and deportation in light of the F-1 student status termination, on

April 7, 2025, Plaintiff’s counsel attempted to receive assurance from Defendants’ counsel that

Defendants would not arrest, detain, or place him in removal proceedings during the pendency of

[litigation regarding the] temporary restraining order and preliminary injunction.” Doc no. 8 at 3.

Liu added that his “counsel could not receive such assurances from Defendants’ counsel.” Id. He

therefore notified the defendants’ counsel that he would pursue his motion for a TRO

immediately and he requested an emergency hearing. The court held that hearing on April 9, and

counsel for both Liu and the defendants appeared.

       As explained at the hearing, although the defendants were given notice and an

opportunity to be heard, the court does not convert the motion for a TRO into a motion for a

preliminary injunction. The defendants’ counsel acknowledged at the hearing that he had not had

adequate time to investigate certain of Liu’s factual allegations or evaluate properly the legal

bases on which Liu’s motion rests. Therefore, the court construes Liu’s motion as a request for

the provisional remedy of a TRO with notice, which essentially seeks to avoid irreparable harm

until the defendants are able to review the factual record and develop their legal arguments

sufficiently to address the request for preliminary relief.

       In evaluating a motion for a TRO, the court considers the same four factors that apply to

a motion for a preliminary injunction. Karlsen v. Town of Hebron, Civ. No. 18-cv-794-LM, 2018

WL 11273651, at *1 (D.N.H. Sept. 28, 2018). Those four factors include “(i) the likelihood that

the movant will succeed on the merits; (ii) the possibility that, without an injunction, the movant

will suffer irreparable harm; (iii) the balance of relevant hardships as between the parties; and



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(iv) the effect of the court’s ruling on the public interest.” Coquico, Inc. v. Rodríguez-Miranda,

562 F.3d 62, 66 (1st Cir. 2009). “The first of these four factors normally weighs heaviest in the

decisional scales.” Id. When, as here, the defendants are government officials sued in their

official capacities, the balance of the hardships and the public interest factors merge. Does 1-6 v.

Mills, 16 F.4th 20, 37 (1st Cir. 2021).

       After considering Liu’s motion for a TRO, the exhibits attached thereto, and the addenda,

as well as the parties’ oral argument during the April 9 hearing, the court granted Liu’s motion

for a TRO on the record at the hearing.

       Liu has shown a likelihood of success on the merits of his claim in Count 2, that DHS

violated the APA when it terminated his F-1 student status in the SEVIS system. Based on the

record before the court, Liu is likely to show that DHS’s termination of his F-1 student status

was not in compliance with 8 C.F.R. § 214.1(d) and was arbitrary, capricious, an abuse of

discretion, or otherwise not in accordance with the law. See 5 U.S.C. § 706(2)(A). The

defendants did not offer any legal or factual argument contradicting Liu’s likelihood of success

on the merits of Count 2 during the hearing.2

       Because DHS terminated Liu’s F-1 student status in the SEVIS system, he is no longer

authorized to work as a research assistant or participate in any research, and he is no longer

eligible to receive any stipend from his Ph.D. program at Dartmouth College. There is

uncontroverted evidence that due to his inability to participate in research, Dartmouth must

require him to disenroll from his current courses so that Dartmouth can remain in compliance



       2
        Because the court finds that Liu has shown a likelihood of success on the merits of his
APA claim in Count 2, it does not address at this time his claim in Count 1 that DHS violated his
due process rights under the Fifth Amendment when it terminated his F-1 status in the SEVIS
system.

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with federal law. Additionally, it may be too late to forestall this requirement by the time the

defendants are prepared to be heard on the preliminary injunction. These circumstances will

derail Liu’s academic trajectory and ability to complete his Ph.D. program in a timely fashion.

This loss of timely academic progress alone is sufficient to establish irreparable harm. Further,

the change in Liu’s status in the SEVIS system may expose him to a risk of detention or

deportation. The defendants’ inability to agree that he would not be detained or deported as a

result of his status change before the defendants could be prepared to be heard on Liu’s request

for preliminary relief is an acknowledgement of the existence of this risk. The evidence before

the court further establishes that the uncertain link between Liu’s SEVIS status and the

possibility of detention and deportation is causing him emotional harm. Liu has shown that,

without a TRO, he will suffer irreparable harm for which an award of monetary damages would

not be sufficient.

        The balance of the hardships and whether injunctive relief is in the public interest both

weigh in Liu’s favor. The only argument that the defendants offered on these factors was a

concern that a TRO in this case may interfere with ICE’s ability to carry out its duties. Though

the defendants did not challenge for the purposes of the April 9 hearing the allegation that Liu’s

SEVIS status had changed, they could not confirm that his status had changed, or if it had,

whether it had been changed intentionally or as the result of an error. Nor could the defendants

confirm that ICE had included Liu in any priority. At best, the defendants ask the court to avoid

unintentionally interfering with ICE’s ability to carry out some unstated duty. For his part, Liu

points to the irreparable injury that he contends supports his request for immediate relief, as well

as Congress’s expressed intent to allow foreign students to pursue educational opportunities in




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the United States without interference. The court finds that these two factors weigh in Liu’s

favor.

          A TRO is necessary to avoid irreparable harm in this case. It is made more appropriate

given its anticipated short duration, which is only long enough to afford the defendants the time

they have requested to prepare their factual and legal responses to Liu’s requests for preliminary

relief.

          After considering the relevant factors, the court exercises its discretion to waive the bond

requirement embedded in Rule 65(c) of the Federal Rules of Civil Procedure. See Crowley v.

Local No. 82, Furniture & Piano Moving, Furniture Store Drivers, Helpers, Warehousemen, &

Packers, 679 F.2d 978, 1001 (1st Cir. 1982), rev’d on other grounds, 467 U.S. 526 (1984).



                                              Conclusion

          For the foregoing reasons, the plaintiff’s motion for a temporary restraining order (doc.

no. 2) is granted. The parties shall meet and confer regarding an appropriate briefing and

argument schedule for the preliminary injunction hearing, with the hearing scheduled no later

than April 23, 2025.

          All defendants are (i) enjoined from terminating Mr. Liu’s F-1 student status under the

SEVIS [Student and Exchange Visitor] system, and (ii) required to set aside their termination

determination. This order shall remain in effect until further order of the court.

          SO ORDERED.


                                                ______________________________
                                                Samantha D. Elliott
                                                United States District Judge
April 10, 2025
cc: Counsel of Record.


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8                           UNITED STATES DISTRICT COURT
9                         CENTRAL DISTRICT OF CALIFORNIA
10
                                                )
11   Chengkai Zhou a/k/a Edward Zhou,           ) Case No. 2:25-cv-02994-CV(SKx)
                                                )
12                            Plaintiff,        ) ORDER GRANTING PLAINTIFF’S
                                                ) APPLICATION FOR TEMPORARY
13               v.                             ) RESTRAINING ORDER
     Todd M. Lyons, Acting Director, U.S.       )
14   Immigration and Customs Enforcement,       )
                                                )
15                                              )
                              Defendant.        )
16                                              )
17
18         On April 7, 2025, Plaintiff Chengkai Zhou, a/k/a Edward Zhou (“Plaintiff”) filed a
19   complaint (Doc. # 1, “Compl.”) and an Application for Temporary Restraining Order or
20   in the Alternative Preliminary Injunction (“Application”) (Doc. #11, “App.”) against
21   Defendant Todd M. Lyons, the acting director of the U.S. Immigration and Customs
22   Enforcement (“ICE”) (the “Government”). On April 10, 2025, Plaintiff filed a
23   Supplement to its Application (“Supplement”). (Doc # 15, “Suppl.”). On April 11, 2025,
24   the Government filed its opposition brief to Plaintiff’s Application (“Opposition”). (Doc
25   # 17, “Opp’n).
26         The Application was heard on April 15, 2025. Having considered the briefing and
27   the parties’ oral arguments, and for the reasons discussed below, the Court GRANTS the
28   Application.



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1                                            INTRODUCTION
2           Plaintiff alleges that ICE terminated Plaintiff’s Student and Exchange Visitor
3    Information System (“SEVIS”) record and F-1 student status, and that the termination
4    violated the Administrative Procedure Act and Plaintiff’s due process rights under the
5    Fifth Amendment. Compl. ¶ 47–50. Plaintiff asks the Court to “enjoin the effects of
6    [ICE’s] termination of Plaintiff’s SEVIS record and F-1 status.” App. at 15.
7                                      FACTUAL BACKGROUND
8           The present dispute arises from the Government’s termination of Plaintiff’s F-1
9    status in SEVIS, an online database that stores information regarding international
10   students. Compl. at p. 1–2. Such information includes the student’s start date, academic
11   progress, and graduation date, which schools must enter into SEVIS. Id. ¶ 18. The
12   Student Exchange Visitor Program (“SEVP”), which ICE operates, monitors SEVIS to
13   determine whether students are maintaining their student status. Id. ¶¶ 16, 19. If a student
14   does not maintain their status, ICE (through SEVP) can terminate the student’s SEVIS
15   record and, along with it, the student’s F-1 status. Consequently, the student would be
16   barred from continued studies in the United States. See Id. ¶¶ 21–27.1 According to the
17   Complaint, ICE considers students who have their SEVIS records terminated as
18   nonimmigrants without status, and such students are expected to leave the United States.
19   Id. ¶ 22. Moreover, a student’s F-1 status in the SEVIS system is distinguishable from an
20   F-1 visa—F-1 status allows a student to seek education in the United States, see 8 C.F.R.
21   § 214.2(f)(5)(i) (permitting students to seek a full course of study during the time period
22   the student is “maintaining status”), while an F-1 visa permits a student to enter the
23   United States based on having F-1 status. See 8 U.S.C. § 1101(a)(15)(F). A student
24
25
26   1
       At the hearing, the Government argued that a termination of a student’s SEVIS record does not
27   constitute a termination of the student’s F-1 status. However, the Government did not make this
     argument in the Opposition and there is currently no such evidence in the record. Accordingly, the Court
28   declines to consider this argument at this time.



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1    cannot have an F-1 visa without having F-1 status; accordingly, if a student’s F-1 status is
2    terminated in the SEVIS system, so is the student’s F-1 visa. See Compl. ¶ 38.
3          Plaintiff, a citizen and national of the People’s Republic of China, has been a
4    student at the University of California, Los Angeles (“UCLA”) since 2021. Doc. #1–2 ¶¶
5    3–4, “Zhou Decl.” On June 25, 2021, after accepting an offer to attend UCLA, Plaintiff
6    received an F-1 student visa. Id. ¶ 5. On September 17, 2021, Plaintiff was admitted
7    through the port of entry at the Los Angeles International Airport as an F-1 student. Id. ¶
8    6. Plaintiff has since been attending classes at UCLA and expects to graduate in a few
9    months. Id. ¶ 7. Plaintiff has been paying an annual tuition of $15,154 plus an annual
10   “nonresident supplemental tuition” of $34,200. Id. ¶ 10. Plaintiff approximates his annual
11   cost to attend UCLA, including room and board, at $75,000. Id. As a result of losing his
12   F-1 status, Plaintiff cannot attend classes and finish his degree. Id. ¶ 24.
13         On April 3, 2025, Plaintiff received an email from UCLA’s international student
14   office explaining that his SEVIS record had been terminated. Id. ¶ 15, Ex. B. The email
15   cited to a notation made by the Department of Homeland Security (“DHS”) in SEVIS,
16   which stated in relevant part: “TERMINATION REASON: OTHERWISE FAILING TO
17   MAINTAIN STATUS – Individual identified in criminal records check and/or has had
18   their VISA revoked. SEVIS record has been terminated.” Id. ¶ 16, Ex. B. Plaintiff was
19   not provided with any notice or opportunity to respond. Id. Ex. 17. Since Plaintiff’s F-1
20   visa was revoked two days later on April 5, 2025, Plaintiff presumes that his SEVIS
21   record was terminated due to a prior brush with the law, but he does not know for certain
22   since ICE never provided an explanation. Id. ¶¶ 11-15. Plaintiff was never charged with a
23   crime and has no criminal record. Id. ¶¶ 12-14, Ex. A.
24                                      LEGAL STANDARD
25         Courts analyze motions for TROs and motions for preliminary injunctions in
26   substantially the same manner. Stuhlbarg Int’l Sales Co. v. John D. Brush & Co., 240
27   F.3d 832, 839 n.7 (9th Cir. 2001). A TRO or a preliminary injunction is an “extraordinary
28   remedy that may only be awarded upon a clear showing that the plaintiff is entitled to



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1    such relief.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22 (2008). A plaintiff
2    seeking a TRO or preliminary injunction must establish that: (1) it is likely to succeed on
3    the merits; (2) it is likely to suffer irreparable harm in the absence of preliminary relief;
4    (3) the balance of equities tips in its favor; and (4) an injunction is in the public interest.
5    Winter, 555 U.S. 7, 20. The third and fourth factors “merge when the Government is the
6    opposing party.” Nken v. Holder, 556 U.S. 418, 435 (2009).
7                                            DISCUSSION
8    I.    Jurisdiction
9          As a preliminary matter, the Government challenges the Court’s jurisdiction to
10   review this matter on the basis that ICE’s termination of Plaintiff’s SEVIS record is not
11   “final.” The Government argues that the termination is not final because (1) Plaintiff has
12   not exhausted administrative processes identified on the DHS website, and (2) Plaintiff is
13   subject to removal proceedings, during which Plaintiff can challenge the termination in
14   an immigration court. Opp’n at 4–5. The Court disagrees. With regards to the
15   Government’s first point, “the exhaustion of administrative remedies [is] ‘a prerequisite
16   to judicial review only when [1] expressly required by statute or [2] when an
17   administrative rule requires appeal before review and the administrative action is made
18   inoperative pending that review.’” Jie Fang v. Dir. United States Immigr. & Customs
19   Enf't, 935 F.3d 172, 181 (3d Cir. 2019) (quoting Darby v. Cisneros, 509 U.S. 137, 154,
20   (1993)). The Government has not pointed to any statute or administrative rule requiring
21   Plaintiff to pursue the administrative processes described in the Opposition. With regards
22   to the Government’s second point, “the finality of an order cannot be conditioned on
23   something that may never happen.” Fang, 935 F.3d at 184. Here, there is no guarantee
24   that the government will initiate removal proceedings against Plaintiff, and the mere
25   possibility of removal proceedings does not negate the finality of the termination.
26         Accordingly, for purposes of the Application, the Court finds that it has
27   jurisdiction to review this case. However, the Court acknowledges that any party may, at
28   any time, challenge a court’s subject-matter jurisdiction.



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1    II.      Application for TRO
2             After considering the Application, the exhibits attached thereto, the Opposition,
3    and the parties’ oral argument during the April 15 hearing, the Court finds that Plaintiff
4    has met each of the elements required for a TRO. 2
5             First, Plaintiff has shown a likelihood of success on the merits of his claim that the
6    Government violated the APA when it terminated Plaintiff’s SEVIS record and, in effect,
7    his F-1 status. Based on the record before the Court, Plaintiff is likely to show that ICE
8    exceeded its legal authority in terminating Plaintiff’s SEVIS record by failing to comply
9    with 8 C.F.R. § 214.1(d), and that the termination was arbitrary, capricious, an abuse of
10   discretion, or otherwise unlawful.3 See 5 U.S.C. § 706(2)(A). The Government did not
11   address Plaintiff’s arguments that ICE exceeded its authority, nor did the Government
12   provide any information to the contrary at the hearing.
13            Second, Plaintiff established that he would suffer irreparable harm absent a TRO.
14   The record shows that Plaintiff lost his F-1 status and, in turn, his ability to attend classes,
15   effectively denying Plaintiff the ability to complete his degree. “The loss of timely
16   academic progress alone is sufficient to establish irreparable harm.” Liu v. Noem, 1:25-
17   cv-00133-SE-TSM, slip op. at 4. The record also shows that, without F-1 status, Plaintiff
18   is subject to arrest, deportation, and accruing unlawful presence. Finally, the evidence
19   indicates that the possibility of deportation and not being able to complete his education
20   is causing Plaintiff emotional harm. Monetary damages alone would not be sufficient to
21   compensate Plaintiff for these harms.
22
23   2 The Government was given notice and an opportunity to be heard, however, Government’s counsel
     asked the Court to treat the Application as a request for a TRO and not a preliminary injunction given
24   the condensed briefing schedule. The Court agrees and will limit its consideration to the issue of a
25   temporary restraining order at this time. See Midkiff v. US Bancorp, No. CV 12-3262-VBF (Ex), 2012
     WL 12882431, at *2 (C.D. Cal. May 14, 2012) (“[I]nformal notice and hearing does not [automatically]
26   convert the temporary restraining order into a preliminary injunction of unlimited duration,” which
     would require “a meaningful opportunity to prepare for the hearing[.]”)
27
     3
       Since Plaintiff has established a likelihood of success on the merits on these grounds, the Court
28   declines to address Plaintiff’s due process arguments at this time.



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                                   4                                     UNITED STATES DISTRICT COURT

                                   5                                    NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7         W. B.,                                            Case No. 25-cv-03407-EMC
                                   8                       Plaintiff,
                                                                                               ORDER GRANTING PLAINTIFF’S
                                   9                  v.                                       MOTION FOR A TEMPORARY
                                                                                               RESTRAINING ORDER
                                  10         KRISIT NOEM, et al.,
                                  11                       Defendants.                         Docket Nos. 4, 8
                                  12
Northern District of California
 United States District Court




                                  13

                                  14    I.       INTRODUCTION
                                  15             Now before the Court is Plaintiff W.B.’s1 motion pursuant to Federal Rule of Civil
                                  16     Procedure 65(b) for a temporary restraining order (“TRO”). Defendants are Kristi Noem, in her
                                  17     official capacity as the Secretary of the U.S. Department of Homeland Security (“DHS”) and Todd
                                  18     M. Lyons, in his official capacity as the Acting Director of Immigration and Customs
                                  19     Enforcement (“ICE”) (collectively, “the Government”). Plaintiff asks the Court to temporarily
                                  20     enjoin Defendants from taking any enforcement action against her arising directly or indirectly
                                  21     from the termination of Plaintiff’s Student and Exchange Visitor Information Systems (“SEVIS”)
                                  22     records.
                                  23             There are at least five other cases that have been filed in this district by F-1 students. Case
                                  24     Nos. 4:25-cv-03140-JSW, 5:25-cv-03244-NW, 3:25-cv-03292-SI, 3:25-cv-03323-AGT, 5:25-cv-
                                  25
                                         1
                                  26       Plaintiff W.B. also has pending a motion to proceed under a pseudonym. Dkt. No. 4. Given the
                                         sensitivity of this matter, and the real fear of retaliation, the Court GRANTS Plaintiff’s motion.
                                  27     Plaintiff shall be referred to as W.B. in all public filings, with any identifying information
                                         redacted. Defendants, upon receiving Plaintiff’s real name and other personal identifiers, must
                                  28     refrain from disclosing such information to any third party or in the public record, except as
                                         required to carry out their official duties, and only under seal if filed with the Court.
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                                   1    03383-SVK. The lowest-numbered case has been assigned to Judge Jeffrey White. Under the

                                   2    Northern District’s Civil Local Rules, Judge White is considering whether to relate the cases; if

                                   3    deemed related, this case would be reassigned to him. See Civil L.R. 3-12; Docket No. 14 (This

                                   4    Court’s “Referral for Purpose of Determining Relationship”).

                                   5           The Court GRANTS Plaintiff’s motion for a TRO to preserve the status quo pending

                                   6    further briefing and a hearing on this matter. The Court notes TROs have been granted in at least

                                   7    three of the potentially related cases. See Case Nos. 4:25-cv-03140-JSW, Dkt. No. 16; 5:25-cv-

                                   8    03244-NW, Dkt. No. 13; 3:25-cv-03292-SI, Dkt. No. 18.

                                   9

                                  10   II.     FACTUAL AND PROCEDURAL BACKGROUND

                                  11           The limited record before the Court indicates that Plaintiff is a former international student

                                  12    currently working pursuant to post-graduate employment authorization in this District.
Northern District of California
 United States District Court




                                  13    Compl. ¶ 3. She has been present in the United States on an F-1 visa.2 Id. ¶ 16. Plaintiff is a

                                  14    native and citizen of the People’s Republic of China who currently resides in San Francisco,

                                  15    California. Id. She has resided in the U.S. since 2013 when she entered as a F-1 nonimmigrant

                                  16    student to pursue a bachelor’s degree at the University of Missouri. Id. After obtaining a

                                  17    Bachelor of Science degree, she continued her studies going on to earn a master’s degree and then

                                  18    a PhD in Mathematics from the University of Florida. Id. The University of Florida issued her

                                  19    PhD in August of 2022. Id. Plaintiff was employed, pursuant to valid Post-graduate STEM OPT3

                                  20    employment authorization, and working on machine learning model optimization in the context of

                                  21    medical image processing for a San Francisco based medical technology company at the time of

                                  22    the SEVIS termination in this case. Id.

                                  23

                                  24    2
                                          Each academic institution must obtain formal approval from DHS before it can sponsor a
                                  25    student’s F-1 status. Compl. ¶ 20. An institution must first file an application for School
                                        Certification through the Student and Exchange Visitor Information (SEVIS) system, a SEVP-
                                  26    managed Internet-based system to track and monitor schools and noncitizen students in the United
                                        States. 8 C.F.R. § 214.3.
                                  27
                                        3
                                          “Optional Practical Training (‘OPT’)” “consists of temporary employment that is ‘directly
                                        related to the student’s major area of study.’” Jie Fang v. Dir. United States Immigr. & Customs
                                  28    Enf't, 935 F.3d 172, 175 (3d Cir. 2019) (quoting 8 C.F.R. § 214.2(f) (1)(ii)). OPT usually occurs at
                                        the end of the completion of studies. Compl. ¶ 23.
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                                   1           On April 5, 2025, Plaintiff was notified by email from the University of Florida

                                   2    International Center that her SEVIS record was terminated on April 4, 2025. Id. ¶ 4. She was not

                                   3    notified by Defendants of the termination or the basis for the termination beyond the information

                                   4    relayed to her from the University of Florida which indicated that her registration had been

                                   5    terminated because she was “otherwise failing to maintain status-- Individual identified in criminal

                                   6    records check and/or has had their VISA revoked. SEVIS record has been terminated.” Id; Mot.

                                   7    Exhibit D. No citation to any specific facts or provision of law was offered and, Plaintiffs allege,

                                   8    no violation of status or other valid basis for termination of SEVIS registration occurred.

                                   9    Compl. ¶ 4. The University of Florida’s F-1 International Student Services Center told Plaintiff:

                                  10                           “It was brought to our attention that your SEVIS record was
                                                       terminated on April 04, 2025, by SEVP. The termination reason
                                  11                   gives is as follows: “OTHERWISE FAILING TO MAINTAIN
                                                       STATUS- Individual identified in criminal records check and/or has
                                  12                   their VISA revoked. SEVIS record has been terminated.”
Northern District of California




                                                               Please note that your current I-20 (as well as any
 United States District Court




                                  13                   employment eligibility) and your F1 status are no longer valid, and
                                                       you should make plans to depart the U.S. as soon as possible.
                                  14                   Additionally, if you have any dependents in F-2 status, their SEVIS
                                                       record is also no longer valid.
                                  15                           Finally, we strongly recommend that you consult your own
                                                       personal immigration attorney for guidance on next steps.”
                                  16    Mot., Exhibit D, at 1-2.
                                  17           The termination of her SEVIS record has resulted in Plaintiff’s inability to continue her

                                  18    employment. Id. While W.B.’s current employment authorization was set to expire on May 15,

                                  19    2025, her employer had entered W.B. in the H-1B nonimmigrant visa lottery and had received

                                  20    notification of selection by USCIS in that lottery of W.B.’s registration. Mot. Exhibit C. The

                                  21    company is in the process of preparing an H-1B nonimmigrant visa petition seeking change of

                                  22    status on behalf of W.B. to H-1B nonimmigrant status. Id. The timely filing of an H-1B

                                  23    nonimmigrant visa petition would serve to extend W.B.’s OPT-based work authorization through

                                  24    October 1, 2025 (or until the petition is denied), the date on which she would be eligible to change

                                  25    to H1B nonimmigrant status.4 However, termination of W.B.’s SEVIS registration makes her

                                  26
                                  27
                                        4
                                         A OPT-employment authorized student may receive a ‘cap-gap’ extension of OPT-based
                                        employment authorization to allow the student to remain in the United States and be eligible to
                                  28    continue to work and then to change from F-1 to H-1B nonimmigrant status where the student has
                                        been selected in the H-1B nonimmigrant visa lottery and has had an H-1B nonimmigrant visa
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                                   1     ineligible for this extension and for any change of status in the United States. 8 CFR

                                   2     214.2(f)(5)(vi)(A), (B). Thus, because of Defendants’ actions, Plaintiff’s continued employment

                                   3     in the United States has been made impossible. Compl. ¶ 4.

                                   4             Plaintiff acknowledges a minor misdemeanor charge that was dismissed pursuant to

                                   5     California Penal Code § 1001.95 (misdemeanor diversion). Id. ¶ 62-63.5

                                   6             The Government stated at the hearing that only a student’s school or ICE can update the

                                   7     status to “terminated,” and that here, ICE did this unilateral action.

                                   8

                                   9   III.      LEGAL STANDARD

                                  10             Though Plaintiff brought this motion as an ex parte motion, the Court ordered Defendants

                                  11     to file an opposition, and they did. Dkt. No. 15. Defendants also appeared at the hearing on this

                                  12     motion. Thus, the Court treats this motion as a regular TRO.
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                                  13             A plaintiff seeking a TRO “must establish that [plaintiff] is likely to succeed on the merits,

                                  14     that [plaintiff] is likely to suffer irreparable harm in the absence of preliminary relief, that the

                                  15     balance of equities tips in [plaintiff’s] favor, and that an injunction is in the public interest.”

                                  16     Winter v. Nat. Res. Def. Council, 555 U.S. 7, 22 (2008); see also Alliance for the Wild Rockies v.

                                  17     Cottrell, 632 F.3d 1127, 1132 (9th Cir. 2011) (holding that, in the Ninth Circuit, “serious

                                  18     questions going to the merits’ and a hardship balance that tips sharply toward the plaintiff can

                                  19     support issuance of an injunction, assuming the other two elements of the Winter test are also

                                  20     met”). Where, as here, the Government is a party, the last two factors merge. See Drakes Bay

                                  21

                                  22
                                         petition with request for change of status filed on their behalf. 8 CFR 214.2(f)(5)(vi)(A), (B). The
                                  23     cap-gap extension provides a temporary bridge between F-1 and H-1B status, allowing students to
                                         remain in the United States between the end of their academic program and the beginning of the
                                  24     fiscal year, when the student's H-1B visa status commences. Mot. at 8.
                                         5
                                           According to Plaintiff, Plaintiff W.B. was arrested on one occasion in San Francisco, California
                                  25     on suspicion of shoplifting in December of 2023. The case was resolved in San Francisco Superior
                                         Court pursuant to California Penal Code § 1001.95 (misdemeanor diversion). Diversion was
                                  26     successfully completed and the case was dismissed and later sealed pursuant to California Penal
                                         Code § 851.87 (“ In any case where a person is arrested and successfully completes a prefiling
                                  27     diversion program administered by a prosecuting attorney in lieu of filing an accusatory pleading,
                                         the person may petition the superior court that would have had jurisdiction over the matter to issue
                                  28     an order to seal the records pertaining to an arrest and the court may order those records sealed as
                                         described in Section 851.92.”)
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                                   1    Oyster Co. v. Jewell, 747 F.3d 1073, 1092 (9th Cir. 2014).

                                   2

                                   3   IV.     ANALYSIS

                                   4    A.     Irreparable Harm

                                   5           In Defendants’ papers and at the hearing, Defendants argue this SEVIS termination serves

                                   6    merely as a “flag” to other agencies to further investigate a student’s file; this argument strains

                                   7    credulity. The SEVIS termination notice states the action in the absolute; it does not say that the

                                   8    termination of F-1 status is under investigation or that W.B. may lose her F-1 status. Instead, it

                                   9    says that her status is terminated. Moreover, the SEVIS termination has real-world legal

                                  10    consequences as the letter from the University of Florida demonstrates. In a number of contexts,

                                  11    such termination notice has been treated as having a legal effect upon Plaintiff’s F-1 status, F-1

                                  12    visa, I-20 status, and her ability to apply for an H-1B visa. See Case Nos. 4:25-cv-03140-JSW,
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                                  13    Dkt. No. 16; 5:25-cv-03244-NW, Dkt. No. 13; 3:25-cv-03292-SI, Dkt. No. 18; see also

                                  14    Declaration at Docket No. 16, Exhibit I at 6 (Administrator for student affairs noting that if a

                                  15    student’s SEVIS record is terminated, the school can no longer print the student’s I-20, the school

                                  16    can no longer comply with federal regulations, and the student will, thus, fall out of status).6

                                  17           Tellingly, the DHS itself has so assumed. In Fang, the DHS sent a letter to students who

                                  18    had their status revoked stating: “Since your SEVIS record has been Terminated you no longer

                                  19    have valid F-1 nonimmigrant status and must either file for reinstatement of your nonimmigrant

                                  20    student status with U.S. Citizenship and Immigration Services (USCIS) or depart the United States

                                  21    immediately.” 935 F.3d 172, 177 (3rd Cir. 2019) (emphasis added). This understanding is

                                  22    consistent with the University of Florida’s statement in their email to Plaintiff, wherein Plaintiff

                                  23    was told she could no longer work, that her F-1 status was terminated, and that she should leave

                                  24    the United States immediately. Defendants at the hearing attempted to argue that the students’

                                  25
                                        6
                                  26      The Court considers the Declaration of Brian Childs in Case No. 1:25-cv-419, filed here at
                                        Docket No. 16, though it may not be admissible as evidence in its present form in this case much
                                  27    in the same way such evidence may be considered under Rule 56(c)(2). The Government did not
                                        object to the contents of this declaration at the hearing. The Government could not state whether it
                                  28    was true that changes to SEVIS status affect the school’s ability to maintain compliance with
                                        federal regulations, thus making the student fall out of legal status.
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                                   1    situation in Fang was distinguishable from here because in Fang the school made the

                                   2    determination that student’s SEVIS record was terminated. It hardly makes sense that a school’s

                                   3    termination has greater legal operative effect than ICE’s determination here. Critically,

                                   4    notwithstanding the government’s assertion that the University got it wrong, at the hearing on this

                                   5    motion, the Government would not commit to reaching out to schools who have sent these types

                                   6    of messages to their international students to clarify that there is no legally operative effect from

                                   7    this termination notice. The Government also did not have a response to the Plaintiff’s

                                   8    representation that the SEVIS termination affects Plaintiff’s school’s ability to maintain Plaintiff’s

                                   9    compliance with federal immigration regulations and Plaintiff’s I-20.

                                  10            Accordingly, the Court concludes Plaintiff has shown the likelihood of irreparable harm

                                  11    absent relief. Plaintiff has studied for almost 10 years to obtain her PhD and gain her current

                                  12    employment and career trajectory. Mot. at 10. Plaintiff has had to cease employment and is
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                                  13    experiencing the resulting loss of income and financial stability as a result. Id. While a loss of

                                  14    employment does not necessarily constitute irreparable harm if “the temporary loss of income”

                                  15    can ultimately be recovered, Sampson v. Murray, 415 U.S. 61, 90 (1974), here, Plaintiff’s loss of

                                  16    employment involved more than a mere loss of income. It also affected Plaintiff’s future ability to

                                  17    remain in the United States and to obtain H-1B nonimmigrant status. Mot. at 10.

                                  18           Plaintiff also faces a risk of immediate detention or removal from the United States, and

                                  19    the psychological harm that comes from this fear. In other cases, with similarly situated

                                  20    individuals, the Government has refused to provide assurances that the plaintiffs will not be

                                  21    arrested while their litigation proceeds, which only bolsters this point. See, e.g., Case No. 5:25-

                                  22    cv-03244-NW (N.D. Cal.), Dkt. No. 10-1; Case No. 1:25-cv-00133-SETSM (D. N.H.), Dkt. No.

                                  23    8-1.

                                  24           And finally, as noted below, there are serious questions whether Plaintiff’s Fifth

                                  25    Amendment right to due process has been violated as a result of the stigmatizing denotation that

                                  26    her F-1 status has been terminated. “[T]he deprivation of constitutional rights ‘unquestionably

                                  27    constitutes irreparable injury.’” Melendres v. Arpaio, 695 F.3d 990, 1002 (9th Cir. 2012) (quoting

                                  28    Elrod v. Burns, 427 U.S. 347, 373 (1976).
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                                   1           Plaintiff have shown a likelihood of irreparable injury.

                                   2

                                   3    B.     Likelihood of Success on the Merits

                                   4           1.      APA Claim

                                   5           Plaintiff has shown a likelihood of success and at the very least has shown serious

                                   6    questions going to the merits of her claim under the Administrative Procedure Act.

                                   7           The threshold issue on the merits is whether there is “final” agency action which opens to

                                   8    door for redress under the APA. To be final the action must mark the “consummation” of the

                                   9    agency’s decision-making process, and the action must determine a “right[ ] or obligation[ ],”

                                  10    “from which legal consequences flow.” Bennett v. Spear, 520 U.S. 154, 177–78 (1997). Plaintiff

                                  11    argues the termination is a final agency action for purposes of the APA. See, e.g., Fang v.

                                  12    Director U.S. Immigration & Customs Enforcement, 935 F.3d 172, 185 (3rd Cir. 2019) (holding
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                                  13    that order terminating SEVIS and F-1 visa status was final agency action for jurisdictional

                                  14    purposes). Defendant argues this is not a final agency action and is merely a “data entry” change

                                  15    and that “Plaintiff’s SEVIS record is not the same thing as her F-1 nonimmigrant status.” Opp. at

                                  16    8; see also Chandraprakash Hinge v. Lyons, Civil Action No. 25-1097 (RBW), 2025 U.S. Dist.

                                  17    LEXIS 71594, at *11 (D.D.C. Apr. 15, 2025) (Defendants in similar actions across the country

                                  18    announcing their position that termination of SEVIS registration may have no impact on a

                                  19    student’s nonimmigrant status in the United States). Plaintiff notes, and the Court agrees, this

                                  20    “position appears novel and is contrary to the settled understanding of the academic and legal

                                  21    community,” Mot. at 2, n.1, as noted above.

                                  22           As to the propriety of the termination notice, neither of the grounds Defendants offered—

                                  23    "Individual identified in criminal records check and/or has their VISA revoked”— to revoke her

                                  24    SEVIS status comport with 8 C.F.R. § 214.1(d).7 See, e.g., Roe v. Noem, No. CV 2540-BU-DLC,

                                  25
                                        7
                                  26      For failure to maintain F-1 student status under the SEVIS system, students fail to maintain their
                                        status when they do not comply with the regulatory requirement, such as failing to maintain a full
                                  27    course of study, engaging in unauthorized employment, or other violations of their requirements
                                        under 8 C.F.R. § 214.2(f). In addition, 8 C.F.R. § 214.1(e)-(g) outlines specific circumstances
                                  28    where certain conduct by any nonimmigrant visa holder, such as engaging in unauthorized
                                        employment, providing false information to DHS, or being convicted of a crime of violence with a
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                                   1    2025 WL 1114694, at *3 (D. Mont. April 15, 2025) (granting TRO on APA claim on similar facts:

                                   2    student alleged DHS unlawfully terminated F1-status in SEVIS system and cited reasons did not

                                   3    comport with statutory or regulatory requirements); Isserdasani v. Noem, No. 25cv-283-WMC,

                                   4    2025 WL 1118626 (W.D. Wis. April 15, 2025) (same). There is no evidence Plaintiff has had her

                                   5    VISA revoked. There is no evidence that Plaintiff has committed a “crime of violence.” Borden

                                   6    v. United States, 593 U.S. 420, 427 (2021) (defining a crime of violence as ‘an offense that has as

                                   7    an element the use, attempted use, or threatened use of physical force against the person or

                                   8    property of another.’”)

                                   9           Plaintiff has demonstrated, at the very least, serious questions regarding the legality of

                                  10    DHS’s termination of her SEVIS registration. There is substantial evidence that the agency’s

                                  11    decision was arbitrary, capricious, an abuse of discretion, and otherwise not in accordance with the

                                  12    law. 5 U.S.C. § 706(2)(A), (C-D).
Northern District of California
 United States District Court




                                  13

                                  14           2.      Fifth Amendment Due Process Claim

                                  15           Though Plaintiff did not fully brief this claim in her motion, Defendants argue Plaintiff is

                                  16    unlikely to succeed on her Due Process Claim because she does not have a property interest in her

                                  17    SEVIS registration. However, the Court finds a colorable claim for a violation of Plaintiff’s

                                  18    liberty interest in her SEVIS registration. The termination notice that Plaintiff has engaged in

                                  19    conduct warranting termination of her F-1 status. As the record suggests this negative insulation

                                  20    is false. And it has resulted in concrete harm – loss of employment. Cf. Humphries v. Cnty. of Los

                                  21    Angeles, 554 F.3d 1170 (9th Cir. 2008), rev’d and rem’d on other grounds by Los Angeles Cnty.,

                                  22    Cal. v. Humphries, 562 U.S. 29 (2010) (explaining the “stigma-plus” doctrine, whereby a “liberty

                                  23    interest may be implicated ‘where a person’s good name, reputation, honor, or integrity is at stake

                                  24    because of what the government is doing to [them]’ when ‘a right or status previously recognized

                                  25    by state law was distinctly altered or extinguished.’) (citing Paul v. Davis, 424 U.S. 693, 711

                                  26    (1976)).

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                                        potential sentence of more than a year, “constitute a failure to maintain status.”
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                                   1           Plaintiff has effectively been placed on a list of students with “terminated” SEVIS status.

                                   2    Neither of Defendants’ reasons for SEVIS termination on Plaintiff’s records comports with the

                                   3    record. Thus, the SEVIS termination appears to be inaccurate. The inaccurate public record has

                                   4    now, at minimum, created stigma to Plaintiff’s personhood and legal status, and has resulted in the

                                   5    loss of the ability to maintain employment and legal status. Plaintiff has thus been wrongly

                                   6    classified and suffered a concrete harm as a result. There is thus at least a serious question whether

                                   7    her due process rights have been violated.

                                   8

                                   9    C.     Balance of Equities and Public Interest

                                  10           The final two factors—merged together here because the Government is the Defendant—

                                  11    favor Plaintiff. As noted above, the harm threated to Plaintiff is substantial – loss of employment

                                  12    and living under the threat of deportation.
Northern District of California
 United States District Court




                                  13           On the other hand, the government has failed to identify and real harm from the TRO

                                  14    sought by Plaintiff. According to the government, the notice does not affect Plaintiff’s

                                  15    immigration status and visa. It is only a flag which indicates that her status might change. Hence

                                  16    the proposed TRO would not impair any governmental operation. At most, the government

                                  17    suggests that the “flag” of the termination notice serves to alert other enforcement agencies that

                                  18    investigation into the Plaintiff’s status might be warranted. But nothing prevents the USCIS or

                                  19    ICE from communicating the need for investigation to other enforcement agencies through other

                                  20    more traditional means. It seems odd that these agencies would rely on a public registration

                                  21    record to communicate with another agency.

                                  22           It is true that “[t]he public interest is served by compliance with the APA.” E. Bay

                                  23    Sanctuary Covenant v. Biden, 993 F.3d 640, 678 (9th Cir. 2021) (internal citation omitted). But on

                                  24    the current record, Plaintiff has maintained compliance with the statutory regulations that govern

                                  25    F-1 nonimmigrant status. Restraining the Government from further action against her would not

                                  26    endanger public safety. And while there is a public interest in the Government being able to

                                  27    maintain accurate records as they relate to immigration laws, there is no governmental interest in

                                  28    maintaining inaccurate records. Under the government’s own theory of the case, wherein
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                                   1    Plaintiff’s F-1 status remain intact, but the SEVIS termination notice says otherwise, the SEVIS

                                   2    notice is inaccurate.

                                   3

                                   4    D.     Waiver of Security

                                   5           Finally, under the circumstances of this case and because the TRO should not result in any

                                   6    financial damage to Defendants, the Court waives the requirement that Plaintiff give an amount of

                                   7    security.

                                   8

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Northern District of California
 United States District Court




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                                   1   V.      CONCLUSION

                                   2           Accordingly, the Court GRANTS Plaintiff’s motion for a TRO to preserve the status quo

                                   3    pending further briefing and a further hearing on this matter as follows:

                                   4                   (1) Defendants are enjoined for twenty-eight days from arresting
                                                           and incarcerating Plaintiff W.B. pending resolution of this
                                   5                       proceeding; and

                                   6                   (2) Defendants are enjoined for twenty-eight days from transferring
                                                           Plaintiff W.B. outside the jurisdiction of this District pending the
                                   7                       resolution of this proceeding; and

                                   8                   (3) Defendants are enjoined for twenty-eight days from imposing
                                                           any legal effect that otherwise may be caused by the termination
                                   9                       of Plaintiffs’ SEVIS status or the potential unlawful revocation
                                                           of her F-1 visa; and
                                  10
                                                       (4) Defendants are enjoined from taking any action to retaliate
                                  11                       against Plaintiff W.B. for the filing of this case; and

                                  12                   (5) Defendants, upon receiving Plaintiff’s real name and other
Northern District of California




                                                           personal identifiers, must refrain from disclosing such
 United States District Court




                                  13                       information to any third party or in the public record, except as
                                                           required to carry out their official duties, and only under seal if
                                  14                       filed with the Court.
                                               The Court set a hearing on a preliminary injunction to Tuesday, May 20, 2025, at 9AM.
                                  15
                                        Defendants’ Opposition is due May 2, 2025. Plaintiff’s Reply is due May 9, 2025. This is subject
                                  16
                                        to change pending any referral order.
                                  17

                                  18

                                  19
                                               IT IS SO ORDERED.
                                  20

                                  21
                                        Dated: April 23, 2025
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                                                                                         ______________________________________
                                  24
                                                                                          EDWARD M. CHEN
                                  25                                                      United States District Judge

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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


ZILIANG J.,                                         Case No. 25‐CV‐1391 (PJS/DLM)

                      Plaintiff,

v.                                                               ORDER

KRISTI NOEM, Secretary of Department of
Homeland Security, in her official capacity;
TODD LYONS, Acting Director of
Immigration and Customs Enforcement, in
his official capacity; and U.S.
IMMIGRATION & CUSTOMS
ENFORCEMENT,

                      Defendants.


        Cameron Lane Youngs Giebink, David L. Wilson, Gabriela Sophia
        Anderson, and Katherine Lourdes Santamaria Mendez, WILSON LAW
        GROUP, for plaintiff.

        This matter is before the Court on plaintiff’s emergency motion for a temporary

restraining order (“TRO”) against defendants Kristi Noem, Todd Lyons, and U.S.

Immigration & Customs Enforcement (“ICE”) (together “defendants”). For the reasons

that follow, the Court grants the motion.

                                    I. BACKGROUND

        Plaintiff is a citizen of the People’s Republic of China who has lawfully resided in

the United States since August 25, 2019, when he was admitted pursuant to an F‐1 visa.

ECF Nos. 1 ¶ 8, 7 ¶ 2. Plaintiff is currently enrolled as a full‐time student in a master’s
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degree program in geographic information science and cartography at the University of

Minnesota’s Twin Cities campus. ECF No. 7 ¶ 2.

        ICE is responsible for administering the student visa program and tracking

information on students in F‐1 status through the Student and Exchange Visitor

Program. ECF No. 1 ¶ 13. Under 8 U.S.C. § 1372, such students are tracked in an

electronic record system known as the Student Exchange Visitor Information System

(“SEVIS”). Plaintiff alleges that ICE takes the position that termination of a student’s

SEVIS account requires the student to immediately depart the United States. ECF No. 1

¶ 87.

        During his time in the United States, plaintiff has twice received parking tickets

and once been cited for speeding. ECF No. 7 ¶¶ 6–7. He has also been cited for driving

with a suspended license, but that case was dismissed. Id. ¶ 6. Plaintiff paid all of the

fines that were imposed as a result of these offenses, and he has never been subject to

academic discipline. Id. ¶¶ 7–8.

        On April 8, 2025, ICE terminated plaintiff’s student status in the SEVIS system.

ECF No. 8‐4. ICE identified the reason for the termination of his status as follows:

“Individual identified in criminal records check and/or has had their VISA revoked.

SEVIS record has been terminated.” Id. ICE did not inform plaintiff that his status had

been terminated. ECF No. 7 ¶ 9. Instead, he learned about the termination of his SEVIS



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status when the University of Minnesota sent him an email on April 8, 2025, notifying

him of the change. Id. ¶ 9.

       Plaintiff filed this action on April 14, 2025.1 ECF No. 1. He brings three claims

under the Administrative Procedure Act (“APA”) and a claim for a declaratory

judgment, contending that terminating his SEVIS status was contrary to the

Immigration and Nationality Act and its implementing regulations, violated the Due

Process Clause of the Fifth Amendment, and was arbitrary and capricious. Plaintiff

seeks injunctive as well as declaratory relief.

       Plaintiff now moves for a TRO to temporarily enjoin defendants from

terminating his status in the SEVIS system and to require defendants to set aside their

termination decision.

                                        II. ANALYSIS

       In considering a motion for a TRO, courts consider four factors: “(1) the threat of

irreparable harm to the movant; (2) the state of balance between this harm and the

injury that granting the injunction will inflict on other parties litigant; (3) the probability

that movant will succeed on the merits; and (4) the public interest.” Dataphase Sys., Inc.

v. C L Sys., Inc., 640 F.2d 109, 114 (8th Cir. 1981); see also Tumey v. Mycroft AI, Inc., 27



       1
       The Court notes that, just as this order was about to be docketed, plaintiff filed
an amended complaint. The allegations underlying the Courtʹs conclusions, however,
remain the same.

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F.4th 657, 665 (8th Cir. 2022) (“[T]he standard for analyzing a motion for a temporary

restraining order is the same as a motion for preliminary injunction.”). No one factor is

determinative, and the court should “weigh the case’s particular circumstances to

determine whether the balance of equities so favors the movant that justice requires the

court to intervene.” Hubbard Feeds, Inc. v. Animal Feed Supplement, Inc., 182 F.3d 598, 601

(8th Cir. 1999) (internal quotation marks omitted). The moving party bears the burden

to establish that these factors weigh in favor of granting temporary relief. See, e.g.,

Watkins Inc. v. Lewis, 346 F.3d 841, 844 (8th Cir. 2003).

       Here, based on the record now before the Court, the Court concludes that all four

factors weigh in favor of granting plaintiff’s requested TRO.

       As to the first factor, the Court finds that plaintiff plainly faces irreparable harm.

plaintiff is in the middle of the semester, for which he has already paid $17,739.23 in

tuition. ECF No. 7 ¶¶ 1, 18; ECF No. 8‐2. He is at imminent risk of being forced to drop

his courses for this semester, and he is at risk of being prevented from registering for

classes for next semester, as the University cannot allow him to proceed with his studies

without an active student status on the SEVIS system. ECF No. 7 ¶¶ 16–17. More

broadly, plaintiff faces the loss of the many years and many thousands of dollars he has

invested in pursuing his degree. Id. ¶ 14. Because both the United States and the




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University of Minnesota enjoy sovereign immunity, plaintiff may be unable to recover

his financial losses.

       In addition, plaintiff is now present in the United States with his legal status

uncertain. This confusion about his legal status threatens imminent harm in at least two

ways. First, it may subject him to immediate detention and deportation. Id. ¶ 10.

Second, it causes him to accumulate unlawful presence in the United States, which is

likely to impede or prevent him from becoming a permanent resident in the future. Id.

¶¶ 12, 13.

       As to the second factor, the only apparent basis for defendants’ action is

plaintiff’s history of minor traffic violations, the most recent of which took place in

December 2023. ECF No. 7 ¶ 7. Enabling plaintiff to remain in status and continue his

studies while the Court sorts through the legal issues in this case poses no plausible risk

of injury to defendants.

       As to the third factor, the Court finds on the basis of the current record that

plaintiff is likely to succeed on the merits. Government agencies are generally required

to follow their own regulations. See, e.g., United States ex rel. Accardi v. Shaughnessy, 347

U.S. 260, 265 (1954); Fed. Defs. of N.Y., Inc. v. Fed. Bureau of Prisons, 954 F.3d 118, 130 (2d

Cir. 2020). Plaintiff alleges that, when defendants terminated his status in the SEVIS

system, they violated their own regulations and thereby violated the APA. See 8 C.F.R.



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§ 214.1(d) (providing that termination of a non‐citizen’s nonimmigrant status may be

accomplished by (1) revoking a waiver authorized on the non‐citizen’s behalf, (2) the

introduction of a private bill to confer permanent‐resident status on the non‐citizen, or

(3) a notification in the Federal Register on the basis of national security, diplomatic, or

public‐safety reasons). Defendants do not appear to have terminated plaintiff’s status

pursuant to any of these three courses of action. The record does not indicate that there

was any relevant waiver to revoke. Nor does the record reflect that a private bill for

permanent residence has been introduced, or that any notification in the Federal

Register has been published.

       Finally, as to the fourth factor, the Court finds that there is a substantial public

interest in ensuring that government agencies comply with federal law. Indeed, the

Court cannot imagine how the public interest might be served by permitting federal

officials to flaunt the very laws that they have sworn to enforce.

       For these reasons, the Court grants plaintiff’s request for temporary relief and, in

its discretion, the Court waives the bond requirement under Fed. R. Civ. P. 65(c). The

Court also finds good cause to issue this order without notice, as defendants took the

challenged action without notice, giving rise to a real risk that plaintiff might be

detained or deported without notice and before he can serve defendants.




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                                       ORDER

     Based on the foregoing, and on all of the files, records, and proceedings herein,

IT IS HEREBY ORDERED THAT:

     1.    Plaintiff’s motion for a temporary restraining order [ECF No. 4] is

           GRANTED.

           a.     Defendants are ORDERED to temporarily set aside their

                  determination to classify plaintiff’s F‐1 student status as

                  terminated.

           b.     Defendants are ORDERED to reinstate plaintiff’s student status in

                  the SEVIS system, backdated to April 8, 2025.

           c.     Defendants are temporarily ENJOINED from taking any further

                  action to terminate plaintiff’s student status.

           d.     Defendants are ENJOINED from directly or indirectly enforcing,

                  implementing, or otherwise taking any action or imposing any

                  legal consequences as the result of the decision to terminate

                  plaintiff’s SEVIS records, including revoking plaintiff’s visa,

                  detaining him, or deporting him.

     2.    Plaintiff is ORDERED to serve defendants with the summons, complaint,

           motion papers, and a copy of this order as soon as possible.



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     3.     The Court will hold a hearing on Thursday, April 24, 2025, at 2:30 pm to

            consider whether to convert the TRO into a preliminary injunction.

            Defendants’ brief in response to plaintiff’s motion is due no later than

            Monday, April 21, 2025. Plaintiff may file a reply no later than

            Wednesday, April 23, 2025.

     4.     Pursuant to Fed. R. Civ. P. 65(b)(2), this order will expire 14 days from the

            date of entry unless the Court extends it for good cause shown or

            defendants consent to an extension.


Dated: April 17, 2025, at 9:15 a.m.         s/Patrick J. Schiltz
                                            Patrick J. Schiltz, Chief Judge
                                            United States District Court




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                                UNITED STATES DISTRICT COURT
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                               WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
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10
         JOHN DOE,                                           CASE NO. 2:25-cv-00633-DGE
11
                               Plaintiff,                    ORDER ON MOTION FOR
12              v.                                           TEMPORARY RESTRAINING
                                                             ORDER (DKT. NO. 3)
13       KRISTI NOEM et al.,
14                             Defendant.

15

16                                      I       INTRODUCTION

17          Plaintiff Doe 1 is a doctoral student at the University of Washington, in good academic

18   standing, and scheduled to graduate in December of 2025. (Dkt. No. 7 at 3.) On April 7, 2025,

19   the University of Washington informed Plaintiff his record within the Student and Exchange

20   Visitor Information System (“SEVIS”) maintained by Immigration and Customs Enforcement

21
     1
       A motion for Plaintiff to proceed pseudonymously remains pending. (Dkt. No. 4.) By referring
22
     to Plaintiff as Doe at this stage, the Court expresses no view on that motion. During a TRO
     hearing held on April 17, 2025, the Parties confirmed that Defendants are aware of Doe’s
23
     identity and that Plaintiff has disclosed that information to them, and as such, referring to him as
     Doe in the TRO order would not be an obstacle to compliance.
24


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 1   (ICE) had been terminated and was no longer in an active status. (Id.) The purported reason for

 2   termination was Plaintiff’s alleged failure to maintain his nonimmigrant status based on a

 3   “criminal records check” and/or a visa revocation. (Dkt. No. 7-2 at 1.)

 4          Plaintiff brings claims under the Administrative Procedures Act (“APA”) and the Fifth

 5   Amendment against the Secretary of Homeland Security and the Department, the ICE Acting

 6   Director, and other officials (collectively, “Defendants”). Plaintiff moves for a Temporary

 7   Restraining Order (“TRO”) requiring Defendants to restore his SEVIS record and status, and to

 8   prevent the Defendants from initiating removal proceedings based on the termination of his

 9   SEVIS record. (See Dkt. No. 3.) Because Plaintiff is likely to succeed in his argument that

10   Defendants’ actions were arbitrary and capricious, and not in accordance with law, the Court will

11   grant the TRO. See 5 U.S.C. § 706(2)(A).

12                                       II      BACKGROUND

13      A. The F-1 Visa Program and SEVIS

14          Pursuant to the Immigration and Nationality Act (“INA”), a foreign student may enter the

15   United States in a nonimmigrant status to complete a course of study at an approved educational

16   institution. 8 U.S.C. § 1101(a)(15)(F)(i); 8 C.F.R. § 214.2(f). If approved, the State Department

17   will issue a visa allowing the student admission to the United States to pursue their course of

18   study. See 22 C.F.R. § 41.61(b)(1). If admitted, DHS may administratively designate the

19   student as an F-1 nonimmigrant classification. 8 C.F.R. § 214.1(a)(2). A key component to

20   admission as an F-1 nonimmigrant student is the presentment of Form I-20, which is “issued in

21   the student’s name by a school certified by the Student and Exchange Visitor Program (SEVP)

22   for attendance by F-1 foreign students.” 8 C.F.R. § 214.2(f)(1)(i)(A). The F-1 student’s Form I-

23   20 is endorsed at the time of entry into the United States and the F-1 student is responsible for

24


     ORDER ON MOTION FOR TEMPORARY RESTRAINING ORDER (DKT. NO. 3) - 2
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 1   “retain[ing] for safekeeping the initial form I-20 or successor form bearing the admission number

 2   and any subsequent form I-20 issued to them.” 8 C.F.R. § 214.2(f)(1)(ii), (f) (2).

 3          An F-1 student may remain in the United States for the duration of their studies so long

 4   as they continue to meet the requirements outlined in the regulations. 8 C.F.R. § 214.2(f)(5)(i)

 5   (“Duration of status is defined as the time during which an F–1 student is pursuing a full course

 6   of study at an educational institution certified by SEVP for attendance by foreign students”). If a

 7   student “fails to maintain a full course of study without the approval of a [Designated School

 8   Official (“DSO”)] or otherwise fails to maintain status,” they must depart the United States

 9   immediately or seek reinstatement. 2 8 C.F.R. § 214.2(f)(5)(iv); see also 8 U.S.C. § 1184(a)(1).

10          A nonimmigrant student’s legal status is governed by the F-1 visa system, which is

11   administered by ICE through its Student and Exchange Visitor Program (SEVP). Jie Fang v.

12   Dir. U.S. Immigr. & Customs Enf’t, 935 F.3d 172, 175 (3d Cir. 2019). In turn, SEVIS is an

13   SEVP-managed internet system that tracks and maintains information on nonimmigrant students.

14   See 8 C.F.R. § 214.3(a)(l). To implement the F-1 visa program, SEVP certifies participating

15   educational institutions, allowing those institutions to issue a Form I-20 in the student’s name in

16
     2
17     A student may seek reinstatement by submitting an I-539, Application to Extend/Change
     Nonimmigrant status to United States Citizenship & Immigration Service (“USCIS”) and a Form
18   I-20 or a successor form indicating a DSO’s recommendation for reinstatement. 8 C.F.R.
     § 214.2(f)(16)(i). Pursuant to the regulations, a district director “may consider” reinstatement if:
19   (1) student has not been out of status for more than five months at the time of filing or the failure
     to seek reinstatement within five months was due to exceptional circumstances; (2) student
20   “[d]oes not have a record of repeated or willful violations of DHS regulations; (3) student is
     pursuing or intending to pursue a full course of study at the school that issued the Form I-20 or
21   successor form; (4) student has not engaged in unauthorized unemployment; (5) student is not
     deportable pursuant to § 237 of the INA; and (6) USCIS is satisfied the violation of status was
22   beyond the student’s control, or the “violation relates to a reduction in the student's course load
     that would have been within a DSO's power to authorize, and that failure to approve
23   reinstatement would result in extreme hardship to the student.” 8 C.F.R.§ 214.2(f)(16)(i)(A)–(F).
     USCIS’s decision to deny reinstatement is unreviewable. See 8 C.F.R. § 214.2(f)(16)(ii).
24


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 1   SEVIS. 3 SEVP regulations also govern the termination of F-1 student status in SEVIS. 8 C.F.R.

 2   § 214.2(f). A student may fall out of F-1 status by: (1) failing to meet the regulatory

 3   requirements for F-1 student status or (2) via an agency related termination of status. 8 C.F.R.

 4   §§ 214.1(d), 214.2(f)(5)(iv). 4 DHS can terminate an F-1 student’s status in three ways: 1) by

 5   revoking a previously authorized waiver under 8 U.S.C. § 1182(d)(3) or §1182(d)(4); 2) through

 6   the introduction of a private bill in Congress to confer permanent resident status; or 3) if DHS

 7   publishes a notification in the Federal Register, on the basis of national security, diplomatic, or

 8   public safety reasons. 8 C.F.R. § 214.1(d). DHS’s ability to terminate an F-1 student’s status is

 9   limited to the three ways enumerated in § 214.1(d). See Jie Fang, 935 F.3d at 185 n.100.

10       B. Defendants Terminate Plaintiff’s Record in SEVIS

11           Plaintiff is a Chinese national who entered the United States lawfully on an F-1 visa on

12   May 22, 2021. (Dkt. No. 7 at 3.) Plaintiff has been continuously enrolled in his doctoral

13   program. (Id.) Although Plaintiff’s F-1 visa expired on May 9, 2022, the most recent Form I-20

14   issued on his behalf by the University of Washington was valid through December 12, 2025.

15   (Id.; Dkt. No. 1 at 5.)

16           In September 2023, Plaintiff was arrested and charged with, but not convicted of, driving

17   under the influence (DUI) under Washington Revised Code § 46.61.502,a misdemeanor. (Dkt.

18   Nos. 1 at 5; 7 at 4.) Plaintiff’s criminal defense lawyer, Robert J. Ault, submitted a declaration

19   attesting that Doe was charged under § 46.61.502 in October 2023 and entered a plea of Not

20   Guilty at an arraignment that month. (Dkt. No. 5 at 1.) Further, “[a]s of today’s date [April 10,

21
     3
      Study in the States, Dep’t of Homeland Sec. (last accessed Apr. 16, 2025),
22   https://studyinthestates.dhs.gov/site/about-sevis; 8 C.F.R. § 214.2(f)(1)(i)–(iii).
     4
       The regulations detail circumstances under which the visa holder may be considered to fail to
23
     maintain status, including unauthorized employment, willful failure to provide truthful
     information to DHS, or certain qualifying criminal convictions. 8 C.F.R § 214.1(e)–(g).
24


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 1   2025], [Doe’s] case is still pending and he has not been convicted of any offense.” (Id.) The

 2   maximum penalty for a misdemeanor DUI under that section is 364 days imprisonment, plus

 3   fines. See Wash. Rev. Code §§ 46.61.502(5); 46.61.5055. Under DHS regulations, “[a]

 4   nonimmigrant's conviction in a jurisdiction in the United States for a crime of violence for which

 5   a sentence of more than one year imprisonment may be imposed (regardless of whether such

 6   sentence is in fact imposed) constitutes a failure to maintain status.” 8 C.F.R. § 214.1(g).

 7          Plaintiff learned via email from the University of Washington that his “SEVIS record and

 8   I-20 were marked as ‘terminated’” by SEVP as of April 7, 2025. (Dkt. No. 7-2 at 1.) The only

 9   information provided regarding the termination was that it related to: “Otherwise failing to

10   maintain status - individual identified in criminal records check and/or has had their VISA

11   revoked.” (Id.) He has not received any notice or contact from Defendants directly regarding his

12   termination, nor any opportunity to contest the determination. (See Dkt. No. 7 at 3.) Plaintiff

13   fears that termination of his SEVIS record will cause him reputational damage, because “[m]y

14   academic peers, colleagues, and future employers will inevitably suspect me of having

15   committed a crime of violence, well beyond my pending misdemeanor DUI charge.” (Id. at 4.)

16          Plaintiff initiated this action on April 9, 2025, arguing that “[t]his arbitrary termination

17   abruptly stripped Doe of his lawful immigration status, endangers his ability to complete his

18   doctoral program at the University of Washington, and subjects him to immediate risk of

19   detention and removal.” (Dkt. No. 1 at 2.) He alleges three causes of action under the APA:

20   arbitrary and capricious agency action, action in excess of statutory and regulatory authority, and

21   action without observance of procedure required by law. 5 U.S.C. §§ 706(2)(A), 706(2)(C),

22   706(2)(D). (Dkt. No. 1 at 6–7.) He further alleges a Fifth Amendment Procedural Due Process

23   violation. (Id. at 8.) He seeks a TRO and subsequently a Preliminary Injunction (PI) “requiring

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 1   Defendants to restore and maintain Plaintiff’s SEVIS record in active status pending final

 2   resolution of this case” and “enjoining Defendants DHS and ICE from initiating removal

 3   proceedings, detaining Plaintiff, or otherwise interfering with Plaintiff’s lawful presence and

 4   ability to pursue his academic program, solely based on the claims raised in this Complaint.”

 5   (Id. at 9.) He seeks declaratory relief, vacatur of the termination of the SEVIS record, damages

 6   pursuant to Bivens v. Six Unknown Named Agents, 403 U.S. 388 (1971), and costs. (Id.)

 7                                     III     LEGAL STANDARD

 8          Federal Rule of Civil Procedure 65(b) governs the issuance of a TRO. “The legal

 9   standard for a TRO is substantially identical to the standard for a preliminary injunction.”

10   Facebook, Inc. v. BrandTotal Ltd., 499 F. Supp. 3d 720, 732 (N.D. Cal. 2020). To obtain

11   injunctive relief, the moving party must show: (1) a likelihood of success on the merits; (2) a

12   likelihood of irreparable harm to the moving party in the absence of preliminary relief; (3) that

13   the balance of equities tips in favor of the moving party; and (4) that an injunction is in the

14   public interest. Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). Generally, a TRO

15   is “an extraordinary remedy that may only be awarded upon a clear showing that the plaintiff is

16   entitled to such relief.” Id. at 22. The moving party has the burden of persuasion. Hill v.

17   McDonough, 547 U.S. 573, 584 (2006). “The third and fourth factors, harm to the opposing

18   party and the public interest, merge when the Government is the opposing party.” Nken v.

19   Holder, 556 U.S. 418 (2009).

20          The Ninth Circuit has also articulated an alternative “sliding scale” approach pursuant to

21   which the first and third Winter factors are analyzed on a continuum; under such standard, a

22   weaker showing on the merits, combined with a stronger demonstration on the balancing test,

23   might warrant preliminary injunctive relief, assuming the second and fourth Winter elements are

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 1   met. Alliance for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1131–1135 (9th Cir. 2011).

 2   Under this “sliding scale” method, the movant need only raise “serious questions going to the

 3   merits,” but the balance of hardships must tip “sharply” in the movant’s favor. Id. at 1131–1132;

 4   see also Farris v. Seabrook, 677 F.3d 858, 864 (9th Cir. 2012).

 5                                       IV      JURISDICTION

 6          “Section 704 of the APA provides for judicial review of ‘[a]gency action made

 7   reviewable by statute and final agency action for which there is no other adequate remedy in a

 8   court.’” Int’l Bhd. of Teamsters v. U.S. Dep’t of Transp., 861 F.3d 944, 952 (9th Cir. 2017)

 9   (quoting 5 U.S.C. § 704). As no statute authorizes judicial review over the termination of SEVIS

10   records, the singular issue here is whether Defendants’ termination of Plaintiff’s SEVIS record

11   was “final” agency action for which there was no other “adequate remedy.” 5 U.S.C. § 704. C.f.

12   Cabaccang v. U.S. Citizenship & Immigr. Servs., 627 F.3d 1313, 1316 (9th Cir. 2010). For

13   agency action to be deemed final, it must “mark the consummation of the agency’s decision-

14   making process” and “the action must be one by which rights or obligations have been

15   determined, or from which legal consequences will flow.” Bennett v. Spear, 520 U.S. 154, 177–

16   178 (1997) (internal quotation marks omitted).

17          As an initial matter, it is apparent that the termination of Plaintiff’s SEVIS record is an

18   agency action that implicates “rights and obligations” and may well result in “legal

19   consequences.” Id.; see also Jie Fang, 935 F.3d at 180. Next, the action appears to constitute

20   the consummation of the agency’s decimating process for two reasons. First, “there is no

21   statutory or regulatory requirement that a student seek reinstatement” of student status in SEVIS,

22   and even if a student attempts to pursue the administrative procedure for SEVIS reinstatement,

23   there is no “mechanism to review the propriety” of the original termination. Jie Fang, 935 F.3d

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 1   at 182; see 8 C.F.R § 214.2(f)(16)(ii) (“The adjudicating officer will update SEVIS to reflect

 2   USCIS’ decision. If USCIS does not reinstate the student, the student may not appeal the

 3   decision.”). Second, since neither immigration judges nor the BIA have the authority to review

 4   SEVIS termination or a USCIS denial of reinstatement, there is no proceeding in which a student

 5   can contest the agency action at issue here. Jie Fang, 935 F.3d at 185.; Ghorbani v. I.N.S., 686

 6   F.2d 784, 791 (9th Cir.1982); Tooloee v. I.N.S., 722 F.2d 1434, 1438–1439 (9th Cir. 1983).

 7   Thus, the termination of Plaintiff’s F-1 student status in SEVIS was not “of a merely tentative or

 8   interlocutory nature,” but rather a unilateral determination with immediate legal consequences

 9   over which Plaintiff has no ability to seek administrative review. Bennett, 520 U.S. at 177–178.

10   Accordingly, the Court finds it has jurisdiction to proceed. C.f. Jie Fang, 935 F.3d at 182 (“[t]he

11   order terminating these students’ F-1 visas marked the consummation of the agency’s

12   decisionmaking process, and is therefore a final order”).

13                                          V       ANALYSIS

14          A. Plaintiff is Likely to Succeed in the Argument that Termination of His SEVIS
               Record was Unlawful
15
            Under the APA, a court shall “hold unlawful and set aside agency action” that is
16
     “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.” 5
17
     U.S.C. § 706(2)(A). Here, based on the limited record before the Court, Plaintiff has
18
     demonstrated a likelihood of success on two independent grounds under § 706(2)(A): that
19
     Defendants’ termination of his SEVIS record was not in accordance with law, and that it was
20
     arbitrary and capricious. 5
21
                1. Not In Accordance with Law
22

23   5
       Because the Court finds that Plaintiff has established likelihood of success on his APA claim,
     the Court does not reach his Fifth Amendment Due Process claim at this time.
24


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 1                  i.       Agencies Must Follow Their Own Regulations

 2          It is contrary to law for an agency to disregard its own regulations and policies. See Nat’l

 3   Ass’n of Home Builders v. Norton, 340 F.3d 835, 852 (9th Cir. 2003); Wallace v. Christensen,

 4   802 F.2d 1539, 1552 n.8 (9th Cir. 1986) (an agency is “bound by its own regulations so long as

 5   they remain in force.”). As the District of Columbia Circuit has explained:

 6          In a series of decisions, the Supreme Court has entertained challenges to agency actions
            that failed to conform to agency regulations. In SEC v. Chenery Corp., 318 U.S. 80, 87–
 7          88 (1943), the Court held that an agency is bound to the standards by which it professes
            its action to be judged. In Accardi, a case involving a habeas challenge to the denial of
 8          suspension of deportation, the Court objected to the agency’s ‘alleged failure to exercise
            its own discretion contrary to existing valid regulations.’
 9
     Lopez v. Fed. Aviation Admin., 318 F.3d 242, 246 (D.C. Cir. 2003), as amended (Feb. 11, 2003)
10
     (quoting United States ex rel. Accardi v. Shaughnessy, 347 U.S. 260, 268, (1954)) (parallel
11
     citation omitted). Moreover, “‘a court’s duty to enforce an agency regulation, while most
12
     evident when compliance with the regulation is mandated by the Constitution or federal law,’
13
     embraces as well agency regulations that are not so required.” Id. at 247 (alterations omitted)
14
     (quoting United States v. Caceres, 440 U.S. 741, 749 (1979)).
15
            The Ninth Circuit has affirmed that “[p]ursuant to the Accardi doctrine, an administrative
16
     agency is required to adhere to its own internal operating procedures.” Church of Scientology of
17
     California v. United States, 920 F.2d 1481, 1487 (9th Cir. 1990); see also United States v. Nixon,
18
     418 U.S. 683, 696 (1974); Arizona Grocery Co. v. Atchison, T. & S. F. Ry. Co., 284 U.S. 370,
19
     389 (1932). Courts have framed the obligation for an agency to follow its own regulations as
20
     deriving from § 706(2)(A) or other APA provisions. See, e.g., Suncor Energy (U.S.A.), Inc. v.
21
     United States Env't Prot. Agency, 50 F.4th 1339, 1352 (10th Cir. 2022) (holding that EPA action
22
     violated § 706(2)(A) because it ignored the agency’s regulatory definition of “facility”); Kidd v.
23
     Mayorkas, 734 F. Supp. 3d 967, 983–984 (C.D. Cal. 2024) (ICE policy of warrantless “knock
24


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 1   and talk” violated agency’s regulations and thus § 706(2)(A)). Agencies must also adhere to

 2   internal procedures designed to provide protections to individuals. Morton v. Ruiz, 415 U.S. 199,

 3   235 (1974) (“Where the rights of individuals are affected, it is incumbent upon agencies to

 4   follow their own procedures.”); see also Lopez, 318 F.3d at 247; Beshir v. Holder, 853 F.Supp.2d

 5   1, 11 (D.D.C. 2011) (DHS Secretary’s discretion to issue procedural rule pausing processing of

 6   adjustment of status applications limited by regulation requiring adjudication in certain

 7   timeframe).

 8          Accordingly, Defendants are bound to follow their own rules and regulations governing

 9   the proper termination of an F-1 student’s record in SEVIS.

10                  ii. Defendants Failed to Follow Their Own Regulations and Procedures

11          On April 17, 2025, the Court held a hearing on the pending TRO motion, during which

12   counsel for Defendants confirmed that Plaintiff’s DUI arrest was the sole reason for his SEVIS

13   record termination. That confirmed the action was likely unlawful. As discussed supra, a

14   student’s record in the SEVIS system can be terminated either because the student fails to

15   maintain status, or when the agency initiates a termination of status. 8 CFR §§ 214.1(d);

16   214.2(f). In this instance, Plaintiff states that he maintains full-time enrollment in his doctoral

17   program at the University of Washington (Dkt. No. 1 at 5), and Defendants have introduced no

18   evidence to the contrary. Agency-initiated termination is governed by 8 CFR § 214.1(d), which

19   enumerates circumstances that result in termination:

20          Within the period of initial admission or extension of stay, the nonimmigrant status of an
            alien shall be terminated by the revocation of a waiver authorized on his or her behalf
21          under section 212(d)(3) or (4) of the Act; by the introduction of a private bill to confer
            permanent resident status on such alien; or, pursuant to notification in the Federal
22          Register, on the basis of national security, diplomatic, or public safety reasons.

23   Defendants do not argue that any of these criteria are present here.

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 1          Additionally, Plaintiff’s DUI arrest is not a qualifying crime that could lawfully result in

 2   SEVIS termination. DHS’s regulations specifically explain what criminal activity results in

 3   failure to maintain status for a nonimmigrant:

 4          A condition of a nonimmigrant's admission and continued stay in the United States is
            obedience to all laws of United States jurisdictions which prohibit the commission of
 5          crimes of violence and for which a sentence of more than one year imprisonment may be
            imposed. A nonimmigrant’s conviction in a jurisdiction in the United States for a crime
 6          of violence for which a sentence of more than one year imprisonment may be imposed
            (regardless of whether such sentence is in fact imposed) constitutes a failure to maintain
 7          status under section 241(a)(1)(C)(i) of the Act.

 8   8 CFR § 214.1(g). Plaintiff’s DUI arrest fails to meet these criteria in at least two ways. One,

 9   Plaintiff has not been convicted of any crime, he has only an arrest and charge. (Dkt. No. 1 at 5.)

10   Two, the maximum penalty for a misdemeanor DUI in Washington is 364 days, which is just

11   short of a year imprisonment. See Wash. Rev. Code §§ 46.61.502(5); 46.61.5055. Additionally,

12   the DUI likely does not qualify as a “crime of violence.” See Leocal v. Ashcroft, 543 U.S. 1, 11–

13   13 (2004) (holding that a Florida DUI was not a “crime of violence” under 18 USC § 16, because

14   it does not involve a “substantial risk” of “using physical force against another person.”). To the

15   extent that Defendants terminated Plaintiff’s SEVIS record merely because his name appeared in

16   a criminal records check, that is inconsistent with their own regulation, which renders the

17   decision invalid under § 706(2)(A). See supra.

18          During the April 17 hearing, counsel for Defendants stated that the Government was not

19   relying on 8 CFR § 214.1(d) as granting authority for the termination but rather invoked 8 U.S.C.

20   § 1372. That statute confers authority to create the SEVIS system but says nothing about

21   termination of a student’s record in the system. Contrastingly, 8 C.F.R. § 214.1(d) enumerates

22   the sole grounds under which DHS may initiate the termination of F-1 student’s record in

23   SEVIS. See Jie Fang, 935 F.3d at 185 n.100. When one section of a statutory scheme passes

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 1   specifically upon the question at hand and the other section is silent, Courts understand the

 2   specific to govern the general. See RadLAX Gateway Hotel, LLC v. Amalgamated Bank, 566

 3   U.S. 639, 645 (2012). Here, 8 CFR § 214.1(d) speaks specifically to when a SEVIS record may

 4   be terminated, 8 U.S.C. § 1372 does not. 6

 5          Accordingly, termination of the SEVIS record because of the DUI arrest is inconsistent

 6   with agency regulations, which renders the decision invalid. Nat’l Ass’n of Home Builders, 340

 7   F.3d at 852; Wallace, 802 F.2d at 1552 n.8. Because Defendants’ termination of Plaintiff’s

 8   SEVIS record was—based on the limited information currently available—not authorized by and

 9   violated their own regulations, Plaintiff is likely to succeed in the argument that the agency

10   action is not in accordance with law under § 706(2)(A).

11          2. Arbitrary and Capricious for Lack of Explanation

12
            Agency action is considered arbitrary and capricious if “the agency has relied on factors
13
     which Congress has not intended it to consider, entirely failed to consider an important aspect of
14
     the problem, offered an explanation for its decision that runs counter to the evidence before the
15
     agency, or is so implausible that it could not be ascribed to a difference in view or the product of
16
     agency expertise.” Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co.,
17
     463 U.S. 29, 43 (1983). As the Ninth Circuit has explained, the “critical factor in Motor Vehicle
18
     was that the agency ‘submitted no reasons at all’ for its decision.” McFarland v. Kempthorne,
19
     545 F.3d 1106, 1113 (9th Cir. 2008) (citing Motor Vehicle, 463 U.S. at 50). The Motor Vehicle
20
     standard has been applied to review individualized agency decisions as well as agency rules.
21

22
     6
      When asked during the hearing if there is a specific provision in 8 U.S.C. § 1372 that provides
23
     authority for the termination of a student’s SEVIS record, Defendants were unable to provide
     one.
24


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 1   See, e.g., Does 1 through 16 v. U.S. Dep’t of Homeland Sec., 843 F. App’x 849, 852 (9th Cir.

 2   2021); McNeely v. United States Dep’t of Lab., 720 F. App’x 825, 827 (9th Cir. 2017).

 3          In this instance, Defendant has failed to meet “the general administrative-law requirement

 4   that an agency ‘articulate a satisfactory explanation for its action.’” Hernandez v. Garland, 52

 5   F.4th 757, 768 (9th Cir. 2022) (quoting State Farm, 463 U.S. at 43). Indeed, Defendant has

 6   failed to suggest any lawful grounds as to why its action here is lawful under the APA. Motor

 7   Vehicle, 463 U.S. at 50. Defendants’ submission that they “do not concede that Doe has

 8   demonstrated a likelihood of success on the merits on his APA claim” but cannot defend it

 9   because “DHS and from the Department of State, and Defendants have not completed

10   [factfinding] efforts in time to respond to Doe’s motion” is inadequate under governing law.

11   (Dkt. No. 12 at 9.) C.f. Dep’t of Homeland Sec. v. Regents of the Univ. of California, 591 U.S. 1,

12   30 (2020). 7 The Court declines to “deny Doe’s motion even in the absence of this factual

13   information related to the APA claim.” (Dkt. No. 12 at 9.) Indeed, Defendant’s failure to

14   provide a single plausibly lawful explanation for its action—an explanation reasonably grounded

15   somewhere in the statutory scheme—is the exact circumstance contemplated by the arbitrary and

16   capricious standard. Organized Vill. of Kake v. U.S. Dep’t of Agric., 795 F.3d 956, 968 (9th Cir.

17   2015) (en banc) (“[Motor Vehicle] teaches that even when reversing a policy after an election, an

18   agency may not simply [change courses] without a reasoned explanation.”).

19          Accordingly, Plaintiff is also likely to prevail on the claim that the agency action is

20   arbitrary and capricious for failing to “articulate a satisfactory explanation for its action

21
     7
22     An agency need not consider every conceivable alternative, but when it is “not writing on a
     blank slate” it must consider the impact of its actions on vested reliance interests, especially in
23   the immigration context, where individuals make “time-bounded commitment[s], to allow them
     to, say, graduate from their course of study.” Regents, 591 U.S. at 32–33.
24


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 1   including a rational connection between the facts found and the choice made.” Motor Vehicle,

 2   463 U.S. at 43.

 3          B. Remaining TRO Factors Favor Plaintiff

 4          As discussed supra, Plaintiff has established likelihood of success on the merits of his

 5   APA claim. The other injunctive relief factors favor Plaintiff as well. He faces multiple forms

 6   of irreparable harm as a result of termination of his SEVIS record, and the balance of equities

 7   weigh in his favor.

 8              1. Plaintiff Faces Irreparable Harm

 9          Plaintiff faces several forms of irreparable harm as a result of the termination of his

10   SEVIS record. First, he cannot carry out research on his grant-funded doctoral program without

11   an active SEVIS record. (Dkt. No. 3 at 5.) Accordingly, his research is stalled. Ultimately, if he

12   is unable to complete the research and his doctoral program, he will lose four years’ worth of

13   full-time work, face diminished career prospects, and suffer reputational harm. (Id. at 12.)

14   Second, while Defendants have not yet placed Plaintiff in removal proceedings, he faces the

15   prospect of detention, removal proceedings, and ultimately deportation because termination of

16   his SEVIS record indicates that he is not maintaining status in his program. See 8 U.S.C.

17   § 1227(a)(1)(B) (a person who is not lawfully present is removable). And so long as Plaintiff is

18   out of status, he may be accruing unlawful presence time, which acts as a future bar to admission

19   and reentry to the United States. See 8 U.S.C. § 1182(a)(9)(B). Plaintiff’s fears are not

20   speculative, as DHS’s own public-facing guidance states that a person whose SEVIS record is

21   terminated faces the following consequences:

22          •   Student loses all on- and/or off-campus employment authorization.

23          •   Student cannot re-enter the United States on the terminated SEVIS record.

24


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 1           •   Immigration and Customs Enforcement (ICE) agents may investigate to confirm the

 2               departure of the student.

 3           •   Any associated F-2 or M-2 dependent records are terminated. 8

 4           Turning now to examine each irreparable harm in more detail, the Court begins by

 5   considering the matter of employment authorization. Multiple courts have held that loss of or

 6   delay in obtaining employment authorization is an irreparable harm. See Casa de Maryland, Inc.

 7   v. Wolf, 486 F. Supp. 3d 928, 968 (D. Md. 2020), order dissolved sub nom. Casa de Maryland,

 8   Inc. v. Mayorkas, No. 8:20-CV-2118-PX, 2023 WL 3547497 (D. Md. May 18, 2023) (a delay in

 9   an asylum seeker obtaining work authorization is an irreparable harm because “every additional

10   day these individuals wait will visit[] on them crippling dependence on the charity and good will

11   of others”); Batalla Vidal v. Nielsen, 279 F. Supp. 3d 401, 434 (E.D.N.Y. 2018), vacated and

12   remanded sub nom. Dep’t of Homeland Sec. v. Regents of the Univ. of California, 591 U.S. 1

13   (2020) (finding that if the DACA program were terminated, resulting loss of work authorization

14   for DACA recipients would be an irreparable harm). Under these unique circumstances where

15   Plaintiff’s continued work and lawful immigration status are interlinked, the prospect of Plaintiff

16   losing his grant-funded work as a doctoral candidate is likewise irreparable. See e.g.,

17   Karakozova v. Univ. of Pittsburgh, No. 09CV0458, 2009 WL 1652469, at *4 (W.D. Pa. June 11,

18   2009) (holding that plaintiff, a research assistant who alleged her position was terminated on a

19   discriminatory basis, could show irreparable harm from loss of position because she could lose

20   her H-1B visa and have to leave the country voluntarily or by removal, with no certainty of

21   alternative relief).

22
     8
       See Dep’t Homeland Security, SEVIS Help Hub: Terminate A Student (Nov. 7, 2024.)
23
     https://studyinthestates.dhs.gov/sevis-help-hub/student-records/completions-and-
     terminations/terminate-a-student.
24


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 1          Likewise, courts have held that interruption of educational programs or progress can be

 2   an irreparable harm. For instance, in Tully v. Orr, the court held that disenrolling a cadet from

 3   the United States Air Force Academy “just prior to his examinations and graduation” would be

 4   an irreparable harm where the cadet would face the prospect of having to repeat courses, “delay[]

 5   in both his graduation and commissioning,” and a “deleterious effect” on his future in the force.

 6   608 F. Supp. 1222, 1225, 1226 (E.D.N.Y. 1985). Some courts have specifically held that loss of

 7   opportunity to participate in post-secondary education programs is an irreparable harm. See

 8   Maria v. Loyola Univ. of Chicago Stritch Sch. of Med., No. 24 C 1698, 2025 WL 96482, at *8

 9   (N.D. Ill. Jan. 14, 2025) (accepting that loss of opportunity to participate in psychiatry residency

10   is an irreparable harm, though denying injunction on other grounds); Lujan v. United States

11   Dep’t of Educ., 664 F. Supp. 3d 701, 721 (W.D. Tex. 2023) (finding that erroneous loss of even

12   one point on Fulbright scholarship application grading would be an irreparable harm, due to loss

13   of opportunity to obtain scholarship). Here, as discussed, Plaintiff is currently unable to continue

14   in his academic work, 9 and should that condition persist, he faces loss of grants and an inability

15   to complete his degree—which is especially harmful where Plaintiff is just months away from

16   graduation.

17          Next, the Court considers the threat of removal. Removal is not by itself an irreparable

18   harm, in part because removal is (in at least some instances) reversible. See Nken, 556 U.S. at

19   430. However, in this case, the ordinary harms of removal would compound the other harms

20   Plaintiff faces by effectively eliminating his ability to complete his degree program, causing him

21
     9
      At the hearing, Plaintiff’s counsel identified Plaintiff’s grant is federally funded, which
22
     presumably means Plaintiff must maintain lawful status and that termination of Plaintiff’s work
     authorization prevents Plaintiff from engaging in the grant funded work. The record though is
23
     not complete on this issue. Nonetheless, the Court concludes irreparable harm has been
     established based on the other harms identified.
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 1   economic and reputational loss wherever he ultimately resides. Even if a removal order could be

 2   reversed and Plaintiff ultimately repatriated to the United States if he were wrongfully removed,

 3   it is unclear if Plaintiff’s educational loss could be reversed (e.g., needing to reapply for

 4   admission, repeating incomplete coursework, and/or competing for funding to replace lost

 5   grants). See e.g., D.A.M. v. Barr, 474 F. Supp. 3d 45, 67 (D.D.C. 2020) (in case challenging

 6   removal conditions during pandemic, finding that deportation was an irreparable harm because

 7   plaintiffs could not challenge deportation conditions and get effective relief after removal). As

 8   counsel for Plaintiff explained at the April 17 hearing, doctoral programs typically involve

 9   supervision of the doctoral candidate by an adviser with specialized knowledge and reputation in

10   the field, so the inability to complete a doctoral program due to status termination and removal

11   cannot necessarily be remedied with re-starting another program at a different time and place.

12          Finally, as Plaintiff points out, he may also be accruing unlawful presence as a result of

13   the SEVIS revocation, which other courts have held is irreparable. In Guilford College v.

14   McAleenan, the court set aside a USCIS policy memorandum purporting to redefine how accrual

15   of unlawful presence is calculated for students deemed to be out-of-status on F or J visas. 389 F.

16   Supp. 3d 377, 384 (M.D.N.C. 2019). With respect to injunctive relief, the Court found that

17   unlawful or unknowing accrual of unlawful presence would be irreparable because it could

18   expose plaintiffs to three- or ten-year reentry bars, which are not judicially reviewable. Id. at

19   394. Other courts, including in this district, are in accord. See Garcia v. United States Customs

20   & Border Prot., No. CV215468DMGJEMX, 2021 WL 4815945, at *4 (C.D. Cal. Aug. 20, 2021)

21   (granting motion for preliminary injunction to prevent accrual of unlawful presence, and

22   rejecting arguments that discretionary waiver or possibility of voluntary removal would render

23   the harm not irreparable); Ruiz-Diaz v. United States, No. C07-1881RSL, 2008 WL 3928016, at

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 1   *2 (W.D. Wash. Aug. 21, 2008) (“The Court finds that halting the accrual of unlawful presence

 2   time and/or unauthorized employment for all class members during the pendency of this

 3   litigation will continue the status quo ante litem, will prevent irreparable harm to class members

 4   and their families, and will not cause defendants any undue hardship.”). During the April 17

 5   hearing, Defendants could not confirm or deny if they consider Plaintiff to currently be out of

 6   status. This places Plaintiff in a Catch-22: the University has advised him not to engage in any

 7   employment for risk of making him ineligible for reinstatement (see Dkt. No. 7-2 at 2), but

 8   Defendants suggest his failure to continue his grant-funded research may make him ineligible

 9   going forward.

10              2. There is a Public Interest in Enforcement of Valid Regulations, and Balance of
                   Equities Favor Plaintiff
11
            “When the government is a party, the balance of equities and the public interest factors
12
     merge.” Nken, 556 U.S. at 435. The public has a vested interest in a federal government that
13
     follows its own regulations. As one court framed it: “the public has a strong interest in having a
14
     [government] that conducts itself fairly and according to its stated regulations and policies.”
15
     Cooney v. Dalton, 877 F. Supp. 508, 515 (D. Haw. 1995); see also Eight N. Indian Pueblos
16
     Council, Inc. v. Kempthorne, No. CV 06-745 WJ/ACT, 2006 WL 8443876, *5 (D.N.M. Sept. 15,
17
     2006) (“It is in the public interest that federal agencies comply with their own policies and with
18
     federal statutes.”). Here, Defendants assert that the public interest factors tip in their favor
19
     because the “public interest lies in the Executive’s ability to enforce U.S. immigration laws.”
20
     (Dkt. No. 12 at 9.) However, Defendants have provided no indication that they complied with
21
     the relevant statutory scheme in “enforcing immigration laws” in this case. (Dkt. No. 12 at 9.)
22
     Accordingly, this is a set of circumstances where the government and its decision-making
23
     processes will be best served by judicial review of a decision—and maintenance of the status quo
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 1   during that review—that appears both unlawful and likely to cause Plaintiff irreparable harm.

 2   Moreover, Defendants have not put forth evidence of how a TRO would cause them injury or

 3   harm. For these reasons, the Court determines that the balance of the equities and public interest

 4   factors tip sharply in Plaintiff’s favor.

 5           Finally, the Court addresses Defendant’s argument that Plaintiff is “not only seeking to

 6   preserve the status quo on a temporary basis” but is rather requesting “an order compelling the

 7   defendants to change the status quo” because “he seeks emergency restoration of a record that

 8   has already been marked as terminated.” (Dkt. No. 12 at 6.) Courts have long held that the

 9   “status quo ante litem” for the purposes of considering a temporary restraining order or

10   preliminary injunction “refers not simply to any situation before the filing of a lawsuit, but

11   instead to ‘the last uncontested status which preceded the pending controversy.’” GoTo.com,

12   Inc. v. Walt Disney Co., 202 F.3d 1199, 1210 (9th Cir. 2000) (quoting Tanner Motor Livery, Ltd.

13   v. Avis, Inc., 316 F.2d 804, 809 (9th Cir. 1963). An interpretation of “status quo as the moment

14   before filing a lawsuit but after alleged misconduct began “would lead to absurd situations, in

15   which plaintiffs could never bring suit once infringing conduct had begun.” Id.

16           This standard has been applied to government action as well as private disputes. See,

17   e.g., Doe #1 v. Trump, 957 F.3d 1050, 1068–1069 (9th Cir. 2020); S.A. v. Trump, No. 18-CV-

18   03539-LB, 2019 WL 990680, *13 (N.D. Cal. Mar. 1, 2019). For example, in S.A., the court

19   concluded that the status quo ante litem was the point before DHS stopped processing

20   conditionally approved beneficiaries under a dual refugee/parole program. See S.A., 2019 WL

21   990680, at *13. Accordingly, the court vacated DHS’s decision to mass-rescind conditional

22   approvals for 2,714 beneficiaries pending a final determination on the merits because that

23   maintained the status quo ante litem. Id. at *17. Similarly, in this case, the “legally relevant

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 1   relationship between the parties before the controversy arose,” describes the state of affairs prior

 2   to the termination of Plaintiff’s SEVIS record. Ariz. Dream Act Coalition v. Brewer, 757 F. 3d

 3   1053, 1060–1061 (9th Cir. 2014). Accordingly, Defendant’s argument that “the relief Doe seeks

 4   is not a prohibitory injunction to maintain the status quo” is frustrated by decades of Ninth

 5   Circuit caselaw. (Dkt. No. 12 at 2.)

 6          Finally, Defendant advances a confused argument that posits Plaintiff seeks “a final

 7   judgement on the merits” because a TRO is part of the final relief outlined in his complaint.

 8   (Dkt. No. 12 at 2.) Defendants are correct that “it is generally inappropriate for a federal court at

 9   the preliminary-injunction stage to give a final judgment on the merits.” University of Texas v.

10   Camenisch, 451 U.S. 390, 395 (1981). But what the Camenisch court was communicating was

11   that findings of fact and conclusions of law made by a court in a preliminary injunction or TRO

12   posture are preliminary and do not bind the court at the trial on the merits. Id. at 395–398. Thus,

13   it is not appropriate to enter a final judgement at a TRO stage. Id. That is not what the Court is

14   doing here. As the S.A. court emphasized, “nothing in Camenisch holds that the scope of a

15   preliminary injunction cannot overlap with the relief requested for an eventual final judgment.”

16   S.A, 2019 WL 990680, at *16 n.59. Here, as in S.A., the order makes no final findings on the

17   merits and merely returns the parties to the status quo ante litem.

18          C. The Court Will Not Require a Bond

19          Under Federal Rule of Civil Procedure 65(c), in granting a PI or TRO, the court must

20   require a movant to pay security “in an amount that the court considers proper to pay the costs

21   and damages sustained by any party found to have been wrongfully enjoined or restrained.” The

22   Ninth Circuit has held that “[d]espite the seemingly mandatory language, Rule 65(c) invests the

23   district court with discretion as to the amount of security required, if any.” Johnson v. Couturier,

24


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 1   572 F.3d 1067, 1086 (9th Cir. 2009) (quoting Jorgensen v. Cassiday, 320 F.3d 906, 919 (9th Cir.

 2   2003)) (cleaned up). “In particular, ‘[t]he district court may dispense with the filing of a bond

 3   when it concludes there is no realistic likelihood of harm to the defendant from enjoining his or

 4   her conduct.’” Id. (quoting Jorgensen, 320 F.3d at 919). Here, Defendants request that the

 5   Court impose a bond “in an amount the Court determines to be appropriate.” (Dkt. No. 12 at 10.)

 6   Defendants do not account for any costs they allege they will face if the TRO is issued

 7   erroneously, and the Court perceives none. Here, Defendants will face no cost from Plaintiff

 8   continuing his studies as he did before his SEVIS was terminated, and negligible or zero cost

 9   from restoring his SEVIS status to active. Plaintiff’s only criminal history is the misdemeanor

10   DUI for which he has been charged but not convicted, and he poses little if any risk to the public.

11   The Court therefore exercises its discretion to waive the bond requirement.

12                                             VI      CONCLUSION

13          Accordingly, it is ORDERED that Plaintiff’s Motion for a Temporary Restraining Order

14   (Dkt. No. 3) is GRANTED. Defendants are ENJOINED for a period of fourteen days from the

15   date of this order, as follows:

16               1) Defendants shall restore Plaintiff’s F-1 student record and I-20 in the Student and

17                   Exchange Visitor Information System (SEVIS);

18               2) Defendants shall set aside the April 7, 2025 F-1 student record and I-20

19                   termination as to Plaintiff;

20               3) Defendants shall not terminate Plaintiff’s student record and I-20 in SEVIS

21                   absent a valid ground as set forth in 8 C.F.R. §§ 214.1(d)–(g); 214.2(f).

22               4) Defendants are prohibited from detaining or transferring Plaintiff out of this

23                   Court’s jurisdiction, or ordering the detention or transfer of Plaintiff out of this

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 1                  Court’s jurisdiction, as a result of the termination of his F-1 student record or I-

 2                  20 in SEVIS on April 7, 2025; and

 3              5) Defendants are prohibited from initiating removal proceedings against or

 4                  deporting Plaintiff on the basis of the April 7, 2025 termination of his F-1 student

 5                  record or I-20 in SEVIS.

 6

 7   It is furthered ORDERED that the security requirement of Rule 65(c) is waived.

 8

 9          Dated this 17th day of April, 2025.

10

11                                                        a
                                                          David G. Estudillo
12                                                        United States District Judge
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 8                                      UNITED STATES DISTRICT COURT

 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11      STUDENT DOE,                                      No. 2:25-cv-01103-DAD-AC
12                         Plaintiff,
13             v.                                         ORDER GRANTING PLAINTIFF’S
                                                          MOTIONS TO PROCEED UNDER
14      KRISTI NOEM, et al.,                              PSEUDONYM, FOR A PROTECTIVE
                                                          ORDER AND FOR TEMPORARY
15                         Defendants.                    RESTRAINING ORDER
16                                                        (Doc. No. 5)
17

18
              This matter came before the court on April 17, 2025 for hearing on plaintiff’s motion to
19
       proceed under pseudonym and for protective order and plaintiff’s motion for temporary
20
       restraining order. (Doc. Nos. 2, 5.) Attorney Joye Wiley appeared in person on behalf of
21
       plaintiff. Assistant United States Attorney Shelley D. Weger appeared in person on behalf of
22
       defendants. For the reasons explained below, plaintiff’s motions to proceed under pseudonym,
23
       for a protective order and for a temporary restraining order will be granted.
24
                                                BACKGROUND
25
              On April 14, 2025, plaintiff Student Doe filed his complaint against defendants Kristi
26
       Noem, Todd Lyons, and Department of Homeland Security (“DHS”) for terminating plaintiff’s
27
       Student and Exchange Visitor Information System (“SEVIS”) record, which had the effect of
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                                                         1
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 1     terminating plaintiff’s F-1 visa status. (Doc. No. 1.) In support of the pending motions, plaintiff

 2     presents evidence of the following.

 3            Plaintiff, an international student with an F-1 visa, received an email on April 8, 2025

 4     from his university notifying plaintiff that “SEVIS has terminated your record” and that the

 5     “[e]xplanation” provided by the government was that plaintiff had been “[i]dentified in” a

 6     “criminal records check and/or had their VISA revoked.” (Doc. Nos. 2-2 at 2; 5-6 at 2.) The

 7     email also stated that ICE “agents may investigate to confirm the departure of the student[,]”

 8     “[n]o grace period is allowed[,]” and “[r]emaining in the United States on a terminated status may

 9     have serious consequences.” (Doc. Nos. 2-2 at 3–4; 5-6 at 3–4.) There has been a recent surge in

10     hate crimes, and the White House and DHS have communicated anti-immigrant sentiment. (Doc.

11     No. 2 at 4–5.)

12            Plaintiff has “never been convicted of any crime[,]” and has “never had criminal charges

13     filed against” him. (Doc. No. 5-5 at 2.) He “was detained two times by law enforcement in 2024,

14     but no charges were filed and [he] received correspondence from law enforcement that no charges

15     would be filed for lack of evidence.” (Id.)

16            Based upon the allegations of his complaint, plaintiff asserts the following claims against

17     defendants: (1) unauthorized SEVIS termination in violation of the Administrative Procedure Act

18     (“APA”); (2) deprivation of procedural due process rights in violation of the Fifth Amendment;

19     (3) unlawful detention in violation of the Fifth Amendment; (4) deprivation of procedural due

20     process in violation of the APA; and (5) arbitrary and capricious SEVIS termination in violation
21     of the APA. (Doc. No. 1 at ¶¶ 37–55.)

22            On April 14, 2025, plaintiff filed a motion to proceed under pseudonym and for protective

23     order. (Doc. No. 2.) On April 15, 2025, plaintiff filed a motion for temporary restraining order.

24     (Doc. No. 5.) That same day, the court required plaintiff to serve defendants with a copy of the

25     complaint, the motion to proceed under pseudonym, the emergency motion for temporary

26     restraining order, and accompanying papers. (Doc. No. 6.) The court also set the deadline for
27     defendants to file any opposition to the pending motions on April 16, 2025 at 4:00 p.m., and set a

28     hearing on the motions for April 17, 2025 at 10:00 a.m. (Id..) The court further ordered that
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 1     defendants not take any action to remove plaintiff from the United States or out of this District

 2     pending the scheduled hearing and unless and until the court ordered otherwise. (Id.) Also on

 3     April 15, 2025, defendants filed designation of counsel for service. (Doc. No. 7.) On April 16,

 4     2025, plaintiff filed proof of service of the required documents. (Doc. Nos. 8, 9.)

 5                                            LEGAL STANDARD

 6             The standard governing the issuing of a temporary restraining order is “substantially

 7     identical” to the standard for issuing a preliminary injunction. See Stuhlbarg Int’l Sales Co. v.

 8     John D. Brush & Co., 240 F.3d 832, 839 n.7 (9th Cir. 2001). “The proper legal standard for

 9     preliminary injunctive relief requires a party to demonstrate ‘that he is likely to succeed on the

10     merits, that he is likely to suffer irreparable harm in the absence of preliminary relief, that the

11     balance of equities tips in his favor, and that an injunction is in the public interest.’” Stormans,

12     Inc. v. Selecky, 586 F.3d 1109, 1127 (9th Cir. 2009) (quoting Winter v. Nat. Res. Def. Council,

13     Inc., 555 U.S. 7, 20 (2008)); see also Ctr. for Food Safety v. Vilsack, 636 F.3d 1166, 1172 (9th

14     Cir. 2011) (“After Winter, ‘plaintiffs must establish that irreparable harm is likely, not just

15     possible, in order to obtain a preliminary injunction.’”); Am. Trucking Ass’n, Inc. v. City of Los

16     Angeles, 559 F.3d 1046, 1052 (9th Cir. 2009). A plaintiff seeking a preliminary injunction must

17     make a showing on all four of these prongs. All. for the Wild Rockies v. Cottrell, 632 F.3d 1127,

18     1135 (9th Cir. 2011). The Ninth Circuit has also held that “[a] preliminary injunction is

19     appropriate when a plaintiff demonstrates . . . that serious questions going to the merits were

20     raised and the balance of hardships tips sharply in the plaintiff’s favor.” Id. at 1134–35 (citation
21     omitted). The party seeking the injunction bears the burden of proving these elements. Klein v.

22     City of San Clemente, 584 F.3d 1196, 1201 (9th Cir. 2009); see also Caribbean Marine Servs. Co.

23     v. Baldrige, 844 F.2d 668, 674 (9th Cir. 1988) (citation omitted) (“A plaintiff must do more than

24     merely allege imminent harm sufficient to establish standing; a plaintiff must demonstrate

25     immediate threatened injury as a prerequisite to preliminary injunctive relief.”). Finally, an

26     injunction is “an extraordinary remedy that may only be awarded upon a clear showing that the
27     plaintiff is entitled to such relief.” Winter, 555 U.S. at 22.

28     /////
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 1             The likelihood of success on the merits is the most important Winter factor. See Disney

 2     Enters., Inc. v. VidAngel, Inc., 869 F.3d 848, 856 (9th Cir. 2017). Plaintiff bears the burden of

 3     demonstrating that he is likely to succeed on the merits of his claims or, at the very least, that

 4     “serious questions going to the merits were raised.” All. for Wild Rockies, 632 F.3d at 1131.

 5                                                  ANALYSIS

 6     A.      Motion to Proceed Under Pseudonym and for Protective Order

 7             Plaintiff moves to proceed under pseudonym with respect to the public and for a

 8     protective order that would: (1) require the parties to redact or file any information identifying

 9     plaintiff under seal; (2) limit sharing by defendants’ counsel of any information about plaintiff’s

10     identity or related personal information beyond what is reasonably necessary for this litigation

11     and to comply with this court’s orders; (3) prohibit the use of the information for any purpose

12     outside of this litigation; and (4) prohibit disclosing the identity of plaintiff for purposes of

13     detention or removal during the pendency of this litigation or until further order of the court.

14     (Doc. No. 2 at 7–8.) Defendants filed no opposition to plaintiff’s motion to proceed under

15     pseudonym but stated at the hearing that they opposed the motion on the grounds that it was

16     unnecessary.

17             “The normal presumption in litigation is that parties must use their real names.” Doe v.

18     Kamehameha Schs./Bernice Pauahi Bishop Est., 596 F.3d 1036, 1042 (9th Cir. 2010). However,

19     the court may “conceal[] parties’ identities in order to protect them from retaliation by third

20     parties and also to protect nonparties from reprisals.” Does I thru XXIII v. Advanced Textile, 214
21     F.3d 1058, 1067 (9th Cir. 2000). “[A] party may preserve his or her anonymity in judicial

22     proceedings in special circumstances when the party’s need for anonymity outweighs prejudice to

23     the opposing party and the public’s interest in knowing the party’s identity.” Id. at 1068. Where

24     “pseudonyms are used to shield the anonymous party from retaliation, the district court should

25     determine need for anonymity by evaluating the following factors: (1) the severity of the

26     threatened harm; (2) the reasonableness of the anonymous party’s fears; and (3) the anonymous
27     party’s vulnerability to such retaliation.” Id. (citations omitted).

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 1            Here, plaintiff presents evidence that the threatened harm includes “public shame,

 2     potential vigilante justice by community members with anti-immigrant sentiment, reputational

 3     harm, and possible detention and removal.” (Doc. No. 2 at 3–6.) Plaintiff has provided evidence

 4     regarding surging hate crimes, anti-immigrant messaging from the White House and DHS, and

 5     the email plaintiff received warning that ICE “agents may investigate to confirm the departure of

 6     the student[,]” “[n]o grace period is allowed[,]” and “[r]emaining in the United States on a

 7     terminated status may have serious consequences.” (Doc. Nos. 2 at 4–5; 2-2 at 3.) This evidence

 8     is sufficient to show that the threatened harm is severe, plaintiff’s fears are reasonable, and

 9     plaintiff is vulnerable to retaliation. See Doe v. Becerra, No. 2:25-cv-00647-DJC-DMC, 2025

10     WL 691664, at *7 (E.D. Cal. Mar. 3, 2025) (“Given Petitioner is still at risk of removal should his

11     asylum application be denied, he is also acutely vulnerable to retaliation.”). Because defendants’

12     counsel will have access to plaintiff’s identity and be permitted to share that information as

13     necessary for purposes of this litigation, the court identifies no prejudice to defendants, and the

14     public’s interest in knowing plaintiff’s identity is minimal. Doe, 2025 WL 691664, at *7 (“There

15     is no prejudice to Respondents here — Petitioner’s identity is fully known to the Court and

16     Respondents — and the public interest in knowing Petitioner’s identity is minimal and

17     outweighed by Petitioner’s need for anonymity.”).

18            Federal Rule of Civil Procedure 5.2(e) provides that a court may require redaction of

19     private information from court filings “for good cause.” To show “good cause,” the party seeking

20     redaction must show that “specific harm or prejudice will result” if the protective order is not
21     granted. In re Roman Catholic Archbishop of Portland in Or., 661 F.3d 417, 424 (9th Cir. 2011).

22     For the same reasons discussed previously, the court concludes plaintiff has shown good cause for

23     requiring redaction of information identifying plaintiff. Beilarus1 v. Mayorkas, No. 2:24-cv-

24     01925-MJP, 2025 WL 104387, at *2 (W.D. Wash. Jan. 15, 2025) (finding good cause to redact

25     information regarding immigration status).

26            “[O]rdinarily a party must show ‘compelling reasons’ to keep a court document under
27     seal.” Ctr. for Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1095 (9th Cir. 2016). For the

28     reasons discussed above, the court finds compelling reasons to require filing under seal of any
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 1     information identifying plaintiff. Doe, 2025 WL 691664, at *7 (“While there is a strong

 2     presumption in favor of access to public records, for the same reasons stated above [regarding

 3     risk of removal], Petitioner has articulated compelling reasons that outweigh the general history

 4     of access and the public policies favoring disclosure.”). Accordingly, plaintiff’s motion to

 5     proceed under pseudonym with respect to the public and for a protective order will be granted.

 6     B.     Motion for Temporary Restraining Order

 7            Plaintiff moves for a temporary restraining order stating that defendants are: (1) enjoined

 8     from terminating plaintiff’s SEVIS record; (2) required to set aside their termination

 9     determination; (3) prohibited from detaining, initiating removal proceedings, or removing

10     plaintiff based on the SEVIS termination; and (4) enjoined from directly or indirectly enforcing,

11     implementing, or otherwise taking any action or imposing any legal consequences as a result of

12     the termination of his SEVIS record. (Doc. No. 5 at 17–18.) As noted, defendants oppose

13     plaintiff’s motion. (Doc. No. 11.)

14            1.      Likelihood of Success on the Merits

15            Plaintiff brings two types of claims in his complaint—claims brought under the APA and

16     claims alleging violations of the Fifth Amendment. The court first addresses plaintiff’s first and

17     fifth claims for unauthorized SEVIS termination in violation of the APA and arbitrary and

18     capricious SEVIS termination in violation of the APA, respectively. (Doc. No. 1 at ¶¶ 37–40,

19     52–55.)

20                    a.      Status Quo Ante Litem
21            Defendants first argue plaintiff’s requested injunction seeks to alter the status quo by

22     issuing an expedited order that would grant him the ultimate relief he seeks. (Doc. No. 11 at 5.)

23     The court is not persuaded by this argument. Instead, plaintiff properly seeks to restore the status

24     quo ante litem. “The status quo ante litem refers not simply to any situation before the filing of a

25     lawsuit, but instead to the last uncontested status which preceded the pending controversy[.]”

26     GoTo.com, Inc. v. Walt Disney Co., 202 F.3d 1199, 1210 (9th Cir. 2000) (citation omitted). The
27     last uncontested status existed before defendants terminated plaintiff’s SEVIS record, placing

28     plaintiff at risk of detention and removal on that basis. See id. (“In this case, the status quo ante
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 1     litem existed before Disney began using its allegedly infringing logo. The interpretation of this

 2     concept that Disney advocates would lead to absurd situations, in which plaintiffs could never

 3     bring suit once infringing conduct had begun.”).

 4                    b.       APA Legal Framework

 5            “The APA sets forth the procedures by which federal agencies are accountable to the

 6     public and their actions subject to review by the courts.” Dep’t of Homeland Sec. v. Regents of

 7     Univ. of Cal., 591 U.S. 1, 16 (2020) (internal quotation marks and citation omitted). Only “final

 8     agency actions are reviewable under the APA.” 5 U.S.C. § 704; see also 5 U.S.C. § 701 (for

 9     purposes of the APA’s judicial review provisions, “agency action” has “the meaning[] given” by

10     5 U.S.C. § 551). An “‘agency action’ includes the whole or a part of an agency rule, order,

11     license, sanction, relief, or the equivalent or denial thereof, or failure to act.” 5 U.S.C. § 551(13).

12     Under § 706 of the APA, the court is “to assess only whether the decision was based on a

13     consideration of the relevant factors and whether there has been a clear error of judg[]ment.”

14     Regents, 591 U.S. at 16 (internal quotation marks and citation omitted); see also Transp. Div. of

15     the Int’l Ass’n of Sheet Metal, Air, Rail, & Transp. Workers v. Fed. R.R. Admin., 988 F.3d 1170,

16     1178 (9th Cir. 2021).

17            The APA “requires agencies to engage in reasoned decisionmaking, and directs that

18     agency actions be set aside if they are arbitrary or capricious.” Regents, 591 U.S. at 16. (internal

19     citations and quotation marks omitted). The district court’s role “is simply to ensure that the

20     [agency] made no ‘clear error of judgment’ that would render its action ‘arbitrary and
21     capricious.’” Lands Council v. McNair, 537 F.3d 981, 993 (9th Cir. 2008) (citing Marsh v. Or.

22     Nat. Res. Council, 490 U.S. 360, 378 (1989)). “Factual determinations must be supported by

23     substantial evidence,” and “[t]he arbitrary and capricious standard requires ‘a rational connection

24     between facts found and conclusions made.’” League of Wilderness Defs./Blue Mountains

25     Biodiversity Project v. Connaughton, 752 F.3d 755, 759–60 (9th Cir. 2014) (internal citations

26     omitted). This requires the court to ensure that the agency has not, for instance:
27                    relied on factors which Congress has not intended it to consider,
                      entirely failed to consider an important aspect of the problem, offered
28                    an explanation for its decision that runs counter to the evidence
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 1                    before the agency, or [an explanation that] is so implausible that it
                      could not be ascribed to a difference in view or the product of agency
 2                    expertise.

 3     McNair, 537 F.3d at 993 (quoting Motor Vehicle Mfrs. Assn., Inc. v. State Farm Mut. Auto. Ins.

 4     Co., 463 U.S. 29, 43 (1983)); see also All. for the Wild Rockies v. Petrick, 68 F.4th 475, 492 (9th

 5     Cir. 2023) (articulating the same arbitrary or capricious standard).

 6                    c.      Whether Privacy Act Bars Plaintiff from Seeking Relief Under APA

 7            In their opposition, defendants note that plaintiff “frames several of his claims as arising

 8     under the APA,” and they argue that “though the APA generally waives the government’s

 9     immunity,” such waiver is not applicable here. (Doc. No. 11 at 6.)

10            The APA waives sovereign immunity for actions in federal district court by “person[s]

11     suffering legal wrong because of agency action.” 5 U.S.C. § 702. That waiver, however, is

12     subject to three limitations: (1) the plaintiff must “seek[ ] relief other than money damages”;

13     (2) the plaintiff must have “no other adequate remedy”; and (3) the plaintiff’s action must not be

14     “expressly or impliedly forbid[den]” by “any other statute.” United Aeronautical Corp. v. United

15     States Air Force, 80 F.4th 1017, 1022 (9th Cir. 2023) (citing 5 U.S.C. §§ 702, 704). Here,

16     defendants argue that plaintiff’s claims are subject to the second limitation, namely that “[t]he

17     Privacy Act provides an alternative, adequate remedy to the APA.” (Doc. No. 11 at 7.)

18            To be adequate, however, an alternative remedy must at a minimum provide the plaintiff

19     “specific procedures” by which the agency action can receive judicial review or some equivalent.

20     Bowen v. Massachusetts, 487 U.S. 879, 903 (1988). The adequacy of the relief available need not

21     provide review identical to that which the APA would provide, so long as the alternative remedy

22     offers the “same genre” of relief. Citizens for Responsibility & Ethics in Wash. v. U.S. Dep’t of

23     Justice, 846 F.3d 1235, 1245 (D.C. Cir. 2017). Nonetheless, an alternative remedy will not be

24     adequate “if the remedy offers only ‘doubtful and limited relief.’” Garcia v. Vilsack, 563 F.3d

25     519, 522 (D.C. Cir. 2009) (quoting Bowen, 487 U.S. at 901).

26            The court concludes that the Privacy Act clearly does not provide plaintiff another

27     adequate remedy, as plaintiff’s ability to seek relief under the Privacy Act is not even “doubtful,”

28     but nonexistent. As defendants concede, the Privacy Act provides that an “individual” is “a
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 1     citizen of the United States or an alien lawfully admitted for permanent residence,” (Doc. No. 11

 2     at 7) (citing 5 U.S.C.A. § 552a(a)(2)), but plaintiff “is a national of an undisclosed African

 3     country,” (Doc. No. 11 at 7). Accordingly, as defendants also concede, “the Privacy Act

 4     precludes judicial review of Plaintiff’s claims.” (Id. at 8.) Because plaintiff would not qualify for

 5     relief under the Privacy Act, the court concludes that he clearly does not have an alternative,

 6     adequate remedy that limits the APA’s waiver of the government’s immunity. See Stenson

 7     Tamaddon, LLC v. United States Internal Revenue Serv., 742 F. Supp. 3d 966, 988 (D. Ariz.

 8     2024) (rejecting the IRS’s argument that the plaintiff tax advisory firm is precluded from APA

 9     review because the “plaintiff’s clients can file a refund suit,” noting that “it is immaterial whether

10     Plaintiff’s clients possess an alternative remedy, as Plaintiff does not”); Wagafe v. Biden, No. 17-

11     cv-00094-LK, 2024 WL 2274349, at *5, 7 (W.D. Wash. May 20, 2024) (rejecting the defendants’

12     argument that “the INA provides an adequate alternative remedy for the [plaintiffs’] APA claims”

13     where “precluding district court jurisdiction could foreclose meaningful judicial review of the

14     [plaintiffs’] claims”); Scholl v. Mnuchin, 494 F. Supp. 3d 661, 681 (N.D. Cal. 2020) (finding that

15     the “plaintiffs have no adequate alternative remedy to the APA,” noting that courts have rejected

16     alternative remedy arguments where the process to seek alternative relief would be “arduous,

17     expensive, and long”); see also Kashkool v. Chertoff, 553 F. Supp. 2d 1131, 1142 (D. Ariz. 2008)

18     (“District courts have consistently found that there is no adequate alternative remedy available to

19     aliens seeking adjudication of adjustment of status applications. . . . This Court cannot discern a

20     reasonable alternative and, thus, concludes that Plaintiff has no adequate alternative remedy.”).
21     /////

22     /////

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 1                      d.     Application of APA

 2             Plaintiff has provided the court with evidence that defendants terminated plaintiff’s

 3     SEVIS record, effectively terminating plaintiff’s F-1 status.1 (Doc. No. 5-6 at 2–4.) This action

 4     constitutes a final decision reviewable under the APA. See Jie Fang v. Dir. United States

 5     Immigr. & Customs Enf’t, 935 F.3d 172, 182 (3d Cir. 2019) (“The order terminating these

 6     students’ F-1 visas marked the consummation of the agency’s decisionmaking process, and is

 7     therefore a final order[.]”); Yerrapareddypeddireddy v. Albence, No. 20-cv-01476-PHX-DWL,

 8     2021 WL 5324894, at *7 n.10 (D. Ariz. Nov. 16, 2021) (“Defendants contend this Court lacks

 9     jurisdiction because Yerrapareddypeddireddy has applied for reinstatement and is facing removal

10     proceedings, both of which render the SEVIS termination non-final. However, the Third Circuit

11     rejected similar arguments in Fang v. Director U.S. Immigration & Customs Enforcement, 935

12     F.3d 172 (3d Cir. 2019).”) (citation omitted), aff’d, No. 21-17070, 2022 WL 17484323 (9th Cir.

13     Dec. 7, 2022).

14             Therefore, pursuant to the APA, the court shall “hold unlawful and set aside” this “agency

15     action” if it is “found to be . . . arbitrary, capricious, an abuse of discretion, or otherwise not in

16     accordance with law[.]” 5 U.S.C. § 706(2)(A). Here, plaintiff has presented evidence regarding

17     the official explanation for the termination of plaintiff’s SEVIS record. (Doc. No. 5-6.)

18     According to this official explanation, plaintiff was “[i]dentified in” a “criminal records check

19     and/or has had their VISA revoked.” (Id. at 2.)

20             “A nonimmigrant’s conviction in a jurisdiction in the United States for a crime of violence
21     for which a sentence of more than one year imprisonment may be imposed (regardless of whether

22     such sentence is in fact imposed) constitutes a failure to maintain status.” 8 C.F.R. § 214.1(g).

23
       1
         Defendants argue termination of the SEVIS record does not equate to termination of plaintiff’s
24     F-1 visa status and in fact has no legal consequences. (Doc. No. 11 at 9.) However, defendants
       cite no authority for this proposition, and district courts addressing terminated SEVIS records
25     have found that such an action necessarily involves terminating the plaintiff’s F-1 status. See,
26     e.g., John Roe, et al., 2025 WL 1114694, at *3 (finding that regulations limiting the
       circumstances in which F-1 student status may be terminated apply to “termination of Plaintiffs’
27     F-1 student status under the SEVIS”). Furthermore, the notification plaintiff received warned that
       “[r]emaining in the United States on a terminated status may have serious consequences.” (Doc.
28     No. 5-6 at 4) (emphasis added).
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 1     However, plaintiff’s declaration states that plaintiff has “never been convicted of any crime[,]”

 2     and indeed has “never had criminal charges filed against” him. (Doc. No. 5-5 at 2.) He “was

 3     detained two times by law enforcement in 2024, but no charges were filed and [he] received

 4     correspondence from law enforcement that no charges would be filed for lack of evidence.” (Id.)

 5     According to this evidence, plaintiff is likely to establish that he did not fail to maintain status

 6     because he has not been convicted of a crime, much less a crime of violence for which a sentence

 7     of more than one year imprisonment may be imposed. 8 C.F.R. § 214.1(g). Furthermore, no

 8     other ground for failure to maintain status is at issue here. See 8 C.F.R. §§ 214.1(e)–(g).

 9            “[T]he Code of Federal Regulations permits termination of a student’s F-1 visa status in

10     three ways: 1) by revoking a waiver that the Attorney General had previously authorized under

11     § 212(d)(3) or (4) of the Immigration and Nationality Act; 2) ‘by the introduction of a private bill

12     to confer permanent resident status,’ or 3) ‘pursuant to notification in the Federal Register, on the

13     basis of national security, diplomatic, or public safety reasons.’” Jie Fang, 935 F.3d at 176

14     (quoting 8 C.F.R. § 214.1(d)). Revocation of plaintiff’s F-1 visa is not among the permitted

15     reasons for terminating his F-1 visa status in the SEVIS system. John Roe, et al. v. Noem, et al.,

16     No. 25-cv-00040-BU-DLC, 2025 WL 1114694, at *3 (D. Mont. Apr. 15, 2025) (“8 C.F.R. §

17     214.1(d) does not provide statutory or regulatory authority to terminate F-1 student status in

18     SEVIS based upon revocation of a visa.”).

19            Because plaintiff offers evidence supporting the conclusion that neither reason given for

20     termination is permitted by the applicable regulations, plaintiff will also likely show that
21     defendants’ decision to terminate his SEVIS record, effectively terminating his F-1 status, was

22     arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with the law in

23     violation of the APA.2 See Liu v. Noem et al., No. 1:25-cv-00133-SE-TSM, Doc. No. 13 at 3

24     (D.N.H., Apr. 10, 2025) (“Based on the record before the court, Liu is likely to show that DHS’s

25     2
         Because plaintiff is likely to succeed on the merits of at least one of his claims brought under
26     the APA, the court need not address plaintiff’s remaining claims. Liu v. Noem et al., No. 1:25-cv-
       00133-SE-TSM, Doc. No. 13 at 3 n.2 (Dist. N.H., Apr. 10, 2025) (“Because the court finds that
27     Liu has shown a likelihood of success on the merits of his APA claim in Count 2, it does not
       address at this time his claim in Count 1 that DHS violated his due process rights under the Fifth
28     Amendment when it terminated his F-1 status in the SEVIS system.”).
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 1     termination of his F-1 student status was not in compliance with 8 C.F.R. § 214.1(d) and was

 2     arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with the law.”);

 3     Isserdasani, et al. v. Noem, et al., No. 25-cv-00283-WMC, 2025 WL 1118626, at *5 (W.D. Wis.

 4     Apr. 15, 2025) (“Specifically, based on the record currently before the court, Isserdasani is likely

 5     to show that DHS’s termination of his F-1 student status was not in compliance with 8 C.F.R. §

 6     214.1(d) and was arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with

 7     law under 5 U.S.C. § 706(2)(A).”); John Roe, et al., 2025 WL 1114694, at *3 (“Therefore, the

 8     Court finds that Plaintiffs are likely to succeed on the allegation that Defendants’ termination of

 9     Plaintiffs’ F-1 student status under the SEVIS is arbitrary and capricious, an abuse of discretion,

10     contrary to constitutional right, contrary to law, and in excess of statutory jurisdiction.”); cf.

11     Orlando Language Sch., Inc. v. Holder, No. 6:13-cv-00703-ORL-37-GJK, 2013 WL 12141400,

12     at *3 (M.D. Fla. May 24, 2013) (finding termination of the plaintiff’s SEVIS access was contrary

13     to law under the APA because the applicable statute did not provide for this option as a response

14     to the school’s failure to apply for accreditation within one year).

15             e.      The Court’s Authority to Prohibit Removal and Detention

16             One of the forms of relief plaintiff requests is a temporary stay preventing defendants

17     from removing plaintiff on the basis of his terminated SEVIS record or consequently terminated

18     F-1 visa status. (Doc. No. 5 at 17–18.) Defendants argue that 8 U.S.C. § 1252(g) prohibits

19     district courts from hearing challenges to decisions and actions about whether, when, and where

20     to commence removal proceedings, and that § 1226(e) bars relief that would impact where and
21     when to detain a noncitizen. (Doc. No. 11 at 9–10.)

22             Title 8 U.S.C. § 1252(g) states as follows:

23                     Except as provided in this section and notwithstanding any other
                       provision of law (statutory or nonstatutory), including section 2241
24                     of Title 28, or any other habeas corpus provision, and sections 1361
                       and 1651 of such title, no court shall have jurisdiction to hear any
25                     cause or claim by or on behalf of any alien arising from the decision
                       or action by the Attorney General to commence proceedings,
26                     adjudicate cases, or execute removal orders against any alien under
                       this chapter.
27

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 1            Title 8 U.S.C. § 1226(e) states as follows:

 2                    The Attorney General’s discretionary judgment regarding the
                      application of this section shall not be subject to review. No court
 3                    may set aside any action or decision by the Attorney General under
                      this section regarding the detention of any alien or the revocation or
 4                    denial of bond or parole.
 5            “The Ninth Circuit has held consistently that Section 1252(g) should be interpreted

 6     narrowly.” Sied v. Nielsen, No. 17-cv-06785-LB, 2018 WL 1142202, at *21 (N.D. Cal. Mar. 2,

 7     2018) (citing United States v. Hovsepian, 359 F.3d 1144, 1155 (9th Cir. 2004) (en banc)). “The

 8     focus of Section 1252(g) is to limit ‘judicial constraints upon prosecutorial discretion.’” Id. “By

 9     contrast, Section 1252(g) does not divest courts of jurisdiction over cases that do not address

10     prosecutorial discretion and address ‘a purely legal question, which does not challenge the

11     Attorney General’s discretionary authority[.]’” Id. The Supreme Court has “indicated that the

12     reference to ‘execut[ing] removal orders’ appearing in that provision should be interpreted

13     narrowly, and not as referring to the underlying merits of the removal decision.” Maharaj v.

14     Ashcroft, 295 F.3d 963, 965 (9th Cir. 2002) (citing Reno v. Am.-Arab Anti-Discrimination

15     Comm., 525 U.S. 471, 482–87 (1999)). “The district court may consider a purely legal question

16     that does not challenge the Attorney General’s discretionary authority, even if the answer to that

17     legal question—a description of the relevant law—forms the backdrop against which the Attorney

18     General later will exercise discretionary authority.” Hovsepian, 359 F.3d at 1155.

19            “District courts have reached different conclusions regarding the scope of § 1252(g) when

20     a party requests a stay of removal.” Fatty v. Nielsen, No. 17-cv-1535-MJP-BAT, 2018 WL
21     2244713, at *5 (W.D. Wash. Apr. 5, 2018) (collecting cases). This court is persuaded that

22     § 1252(g) addresses challenges predicated on purported improper use of discretionary authority to

23     commence removal proceedings, which is not at issue here. 8 U.S.C. § 1252(g). Instead, here,

24     plaintiff seeks a temporary stay preventing removal, which is permitted under 8 U.S.C. § 1252(g)

25     where the basis for the stay is distinct from how the government’s prosecutorial discretion was

26     deployed. See Dhillon v. Mayorkas, No. 10-cv-00723-EMC, 2010 WL 1338132, at *9 (N.D. Cal.
27     Apr. 5, 2010) (“[T]he Court rejects the government’s position that § 1252(g) is a jurisdictional bar

28     to the relief requested by the Dhillons-i.e., a stay of removal. As those authorities indicate, the
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 1     stay sought on the removal order is not based on the Attorney General’s decision to commence,

 2     adjudicate, or execute a remand order within the meaning of § 1252(g). Indeed, the Dhillons’

 3     claim challenging the I-130 petition denial is fully collateral to the removal proceedings[.]”);

 4     Chhoeun v. Marin, 306 F. Supp. 3d 1147, 1159 (C.D. Cal. 2018) (“Contrary to the Government’s

 5     assertion, the Court has jurisdiction to hear Petitioners’ claims regarding due process violations

 6     and to order adequate injunctive relief.”); Ilyabaev v. Kane, 847 F. Supp. 2d 1168, 1174 (D. Ariz.

 7     2012) (“Respondents also argue that under 8 U.S.C. § 1252(g), as amended by the REAL ID Act,

 8     the Court lacks jurisdiction to stay Petitioners’ removal from the United States. . . . Petitioners

 9     are not challenging the Attorney General’s discretionary decision to remove them. Rather they

10     claim that it would be unlawful to remove them before they have had the opportunity to exercise

11     their legal right to challenge CIS’s basis for revoking the I–140 Petition. Because this is a legal

12     claim, not a challenge to the Attorney General’s exercise of prosecutorial discretion, § 1252(g)

13     does not deprive the Court of jurisdiction.”); see also Arce v. United States, 899 F.3d 796, 801

14     (9th Cir. 2018) (“[W]e are guided here, as elsewhere, by the general rule to resolve any

15     ambiguities in a jurisdiction-stripping statute in favor of the narrower interpretation, and by the

16     strong presumption in favor of judicial review[.]”) (citations omitted). Here the basis for the

17     requested stay preventing removal is the arbitrary and capricious or unlawful termination of

18     plaintiff’s SEVIS record, which is distinct from any potential decision to initiate proceedings.3

19     Id. The same reasoning applies to § 1226(e) regarding detention. See Jennings v. Rodriguez, 583

20     U.S. 281, 295 (2018) (“As we have previously explained, § 1226(e) precludes an alien from
21     ‘challeng[ing] a “discretionary judgment” by the Attorney General or a “decision” that the

22     Attorney General has made regarding his detention or release.’ But § 1226(e) does not preclude

23     ‘challenges [to] the statutory framework that permits [the alien’s] detention without bail.’”).

24            Therefore, plaintiff’s request to temporarily stay detention and removal on the basis of the

25     SEVIS termination is proper. John Roe, et al., 2025 WL 1114694, at *3 (“Defendants are

26     3
         Another provision does specifically regulate whether and when injunctions preventing removal
27     are allowed, but that provision, 8 U.S.C. § 1252(f), limits “only permanent injunctions, not stays
       for temporary relief.” Singh v. United States Citizenship & Immigr. Servs., No. 17-cv-01538-
28     JVS-JCG, 2018 WL 6265006, at *2 (C.D. Cal. Mar. 8, 2018) (citing Maharaj, 295 F.3d at 965).
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 1     prohibited from initiating removal proceedings against or deporting either Plaintiff on the basis of

 2     the termination of their F-1 student status.”); Zheng v. Lyons, No. 25-cv-10893-FDS, Doc. No. 8

 3     at 1 (D. Mass. April 11, 2025) (“Defendant Todd Lyons, Acting Director, United States

 4     Immigration and Customs Enforcement, and any agents acting under his authority or control, are

 5     temporarily restrained . . . from arresting or detaining plaintiff Huadan Zheng, a/k/a Carrie Zheng,

 6     under 8 U.S.C. § 1226(a), or otherwise for being unlawfully present in the United States without

 7     legal permission or authority, based on the termination or revocation of her F-1 student visa.”);

 8     Arizona Student Doe #2 v. Trump, et al., No. 4:25-cv-00175-AMM, Doc No. 7 at 2 (D. Ariz.

 9     April 15, 2025) (“Defendants are temporarily enjoined for fourteen days from arresting and

10     detaining Plaintiff pending these proceedings, transferring Plaintiff away from the jurisdiction of

11     this District pending these proceedings, or removing Plaintiff from the United States pending

12     these proceedings”).

13            2.      Likelihood of Irreparable Harm, Balance of Equities & the Public Interest

14            Here, plaintiff received an email from his school stating that as a result of the termination

15     of his SEVIS record, ICE agents may investigate to confirm his departure, no grace period is

16     allowed, and “remaining in the United States on a terminated status may have serious

17     consequences.” (Doc. No. 5-6 at 3–4.) In the absence of a temporary restraining order, plaintiff

18     may experience detention and deportation, including to a third country, and this risk has left

19     plaintiff “very distressed[.]” (Doc. No. 5-5 at 2–3.) These current and threatened consequences

20     constitute risk of irreparable harm for which an award of monetary damages would not be
21     sufficient. Liu, No. 1:25-cv-00133-SE-TSM, Doc. No. 13 at 4. They also outweigh any minimal

22     hardship defendants may experience. Id.

23            Plaintiff argues the public interest is served by granting the temporary restraining order

24     because it “avoids undermining the missions of U.S. universities, preserves the substantial

25     benefits of international research and collaboration, and prevents potential chilling of

26     international student enrollment.” (Doc. No. 5 at 16.) Additionally, based upon the evidence
27     now before the court, public safety is not jeopardized because plaintiff has no criminal

28     convictions and has never even been charged with a crime. (Id.) Defendants argue control over
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 1     immigration is a sovereign prerogative. (Doc. No. 11 at 11.) The court is persuaded that the

 2     public interest favors plaintiff in this case. See Liu, No. 1:25-cv-00133-SE-TSM, Doc. No. 13 at

 3     4 (“The balance of the hardships and whether injunctive relief is in the public interest both weigh

 4     in Liu’s favor. The only argument that the defendants offered on these factors was a concern that

 5     a TRO in this case may interfere with ICE’s ability to carry out its duties.”).

 6                                               CONCLUSION

 7            For the reasons explained above,

 8            1.      Plaintiff’s motion to proceed under pseudonym and for protective order is

 9                    GRANTED;

10            2.      The court orders that:

11                    a. Plaintiff has permission to proceed pseudonymously with respect to the public;

12                    b. The parties are required to redact or file any information identifying plaintiff

13                        under seal;

14                    c. Defendants’ counsel may not share any information about plaintiff’s identity

15                        beyond what is reasonably necessary for the litigation and to comply with this

16                        court’s orders;

17                    d. The parties are prohibited from using the protected information for any

18                        purpose outside of this litigation; and

19                    e. The parties are prohibited from disclosing the identity of plaintiff for purposes

20                        of detention or removal for the pendency of this litigation or until further order
21                        of the court;

22            3.      Plaintiff’s motion for a temporary restraining order (Doc. No. 5) is GRANTED;

23            4.      The court orders that, pending the hearing and determination of the motion for

24                    preliminary injunction, defendants are:

25                    a. Enjoined from terminating plaintiff’s SEVIS record;

26                    b. Required to set aside their SEVIS record termination determination;
27                    c. Prohibited from detaining or removing plaintiff based on the SEVIS

28                        termination; and
                                                         16
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 1                      d. Enjoined from directly or indirectly enforcing, implementing, or otherwise

 2                         taking any action or imposing any legal consequences as a result of the

 3                         termination of his SEVIS record; and

 4              5.      The court sets the following schedule with respect to plaintiff’s motion for

 5                      preliminary injunction:

 6                      a. Plaintiff shall file his motion for preliminary injunction by June 2, 2025;

 7                      b. Defendant shall file its opposition to the motion by June 16, 2025;

 8                      c. Plaintiff shall file any reply to the opposition by June 23, 2025;

 9                      d. The motion for preliminary injunction will be heard by the court on July 7,

10                         2025 at 1:30 PM in Courtroom 4;

11              6.      No bond shall be required to be posted by plaintiff pursuant to Rule 65(c) of the

12                      Federal Rules of Civil Procedure.

13              IT IS SO ORDERED.
14
       Dated:        April 17, 2025
15                                                          DALE A. DROZD
                                                            UNITED STATES DISTRICT JUDGE
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

YUNWEI CHEN,                                           )
                                                       )
                             Plaintiff,                )
                                                       )
                        v.                             )   Case No. 1:25-cv-00733-TWP-MG
                                                       )
KRISTI NOEM,                                           )
TODD LYONS,                                            )
                                                       )
                             Defendants.               )

               ORDER GRANTING TEMPORARY RESTRAINING ORDER

        This matter is before the Court on Plaintiff Yunwei Chen's ("Chen") Motion for Temporary

 Restraining Order and Preliminary Injunction (Filing No. 2) filed pursuant to Federal Rule of Civil

 Procedure 65. Chen seeks a Temporary Restraining Order ("TRO") and Preliminary Injunction

 against Defendants Kristi Noem, Secretary of the United States Department of Homeland Security

 ("DHS"), and Todd Lyons, Acting Director of United States Immigration and Customs

 Enforcement ("ICE") (together, "Defendants"). Chen, a Chinese citizen, is a PhD student at Indiana

 University ("IU"). He was recently notified by IU that his record in the Student and Exchange

 Visitor Information System ("SEVIS") and his F-1 student status were terminated. He seeks a

 temporary restraining order directing Defendants to set aside the termination of his SEVIS record

 and F-1 status and enjoining Defendants from "enforcing, implementing, or otherwise taking any

 action or imposing any legal consequences," including detention or removal of Chen, as a result

 of that termination. Although Defendants have appeared, filed a response, and attended a

 telephonic hearing, this Order addresses Chen's request for a TRO pursuant to Federal Rule of

 Civil Procedure 65(b). Chen's request for a Preliminary Injunction remains pending and will be

 ruled on in due course in a separate entry (see Filing No. 5). For the reasons discussed below, the
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 Court concludes that Chen has met his burden of demonstrating entitlement to entry of a TRO

 against Defendants. Therefore, Chen's request for a TRO is granted.

                                      I.         BACKGROUND

 A.     Statutory and Regulatory Background

        The Immigration and Nationality Act allows for the entry of international students into the

 United States to engage in a full course of study. (Filing No. 1 at 3); 8 U.S.C. § 1101(a)(15)(F)(i);

 (Filing No. 14 at 2). The State Department is responsible for issuing visas, including student visas

 that are often called "F-1 visas." (Filing No. 1 at 3). Issuance of an F-1 visa controls a student's

 lawful entry into the United States, and once admitted, a student may stay in the country as long

 as he continues to meet the requirements of his visa classification and maintains his F-1 status. 8

 C.F.R. § 214.2(f). SEVIS is a centralized government database that tracks international students'

 compliance     with    their   F-1    status.    About   SEVIS,     Dep't    of   Homeland      Sec.,

 https://studyinthestates.dhs.gov/site/about-sevis (last visited Apr. 20, 2025). ICE uses SEVIS to

 monitor student status and track compliance with the terms of the student's status. Only schools

 and ICE may access SEVIS records (Filing No. 1 ¶ 15).

        To maintain lawful status, a nonimmigrant, including F-1 visa students, may not engage in

 certain specified activity, including engaging in unauthorized employment, providing false

 information to DHS, or engaging in "criminal activity." 8 C.F.R. § 214.2(e)–(g). "Criminal

 activity" is narrowly defined to mean a "conviction . . . for a crime of violence for which a sentence

 of more than one year imprisonment may be imposed (regardless of whether such sentence is in

 fact imposed)." 8 C.F.R. § 214.1(g). These actions may result in the termination of a student's

 SEVIS record, which could end that student's F-1 status, although the ultimate authority to issue

 or revoke F-1 visas lies with the State Department (Filing No. 14 at 4).



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        Absent conduct causing a status violation, ICE can terminate SEVIS records under only

 three circumstances: (1) a previously-granted waiver under 8 U.S.C. § 1182(d)(3) or (4) is revoked;

 (2) a private bill to confer lawful permanent residence is introduced in Congress; or (3) DHS

 publishes a notification in the Federal Register identifying national security, diplomatic, or public

 safety reasons for termination. 8 C.F.R. § 214.1(d). DHS cannot otherwise unilaterally terminate

 nonimmigrant status. See Jie Fang v. Dir. U.S. Immigr. & Customs Enf't, 935 F.3d 172, 185 n. 100

 (3d Cir. 2019). The revocation of a visa by the State Department does not constitute a failure to

 maintain status and visa revocation is not, by itself, cause for termination of a student's SEVIS

 record (Filing No. 1 ¶ 19).

 B.     Factual Background

        Chen is a Chinese citizen and a current PhD student at IU (Filing No. 1-2). He came to the

 United States in 2013 to start his undergraduate studies. He obtained his undergraduate degree in

 2017, obtained a master's degree from IU in 2019, and started his PhD program in 2020. Id. Chen

 is now five years into his PhD program and expects to graduate in 2027. Id. Chen has always

 abided by the terms of his F-1 status (Filing No. 1 ¶ 27).

        On April 8, 2025, Chen received an email from IU stating his "SEVIS record and lawful

 F-1 status in the United States was terminated." (Filing No. 1-1). According to the email, "[t]he

 reason for the termination listed in SEVIS is, 'OTHER - Individual identified in criminal records

 check and/or has had their VISA revoked. SEVIS record has been terminated.'" Id. The email

 further stated, "[i]f you are currently working on-campus, you are advised to cease employment

 immediately." Id. Chen has a conviction for reckless driving in 2019, which is a misdemeanor

 under Indiana law and is not punishable by a sentence of more than one year (Filing No. 1 ¶ 29).

        To date, Chen has invested over $800,000.00 in his education, which includes tuition and

 living expenses over the last twelve years (Filing No. 1-2). Defendants' sudden termination of
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 Chen's SEVIS record and F-1 status has interrupted his doctoral studies and caused him to lose his

 employment and income, "placing a significant financial burden on [him] and [his] family." Id.

 Chen also stands to lose $4,500.00 in tuition for the current semester and his rental payments for

 the rest of the year despite having his lawful status terminated (Filing No. 1 ¶ 30). Further, Chen

 had accepted job offers for the upcoming year "that would have helped build [his] professional

 experience" but has since lost those jobs, which has "set back [his] career development and

 damaged [his] professional reputation with potential employers." (Filing No. 1-2). On top of

 educational and financial concerns, Chen lives in "constant fear about [his] ability to remain in the

 country legally, which has made it difficult to focus or make any concrete plans." Id. " The sudden

 nature of the termination has left [him] feeling isolated and helpless." Id.

        On April 17, 2025, Chen became one of the many students across the United States to file

 a Petition for Declaratory Judgment and Injunctive Relief seeking reinstatement of SEVIS records

 and F-1 student status (Filing No. 1). That same day he filed the instant Motion for Temporary

 Restraining Order and Preliminary Injunction (Filing No. 2). On the evening of April 17, 2025,

 the Court ordered Chen's counsel to provide any information regarding efforts to notify Defendants

 of his request for a TRO and set the TRO for a telephonic hearing at 11:00 a.m. EST on Friday,

 April 18, 2025 (the "Hearing") (Filing No. 6). Chen's counsel filed an Attorney Certificate later

 that evening (Filing No. 8). Shortly before the Hearing began, Defendants filed an appearance and

 their response to the request for a TRO (Filing No. 13; Filing No. 14). Counsel for both parties

 appeared at the Hearing and presented argument. The Court then gave the parties' leave to file

 supplements to their briefs (Filing No. 15). Later that evening, Chen filed a short reply brief (Filing

 No. 16). Defendants did not file any supplements.




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                                   II.      LEGAL STANDARD

        A court may grant a TRO under Federal Rule of Civil Procedure 65(b) only in extremely

 limited circumstances, and the TRO may only last up to fourteen days, unless before that time

 expires, it is extended for another fourteen days for good cause. Am. Can Co. v. Mansukhani, 742

 F.2d 314, 321 (7th Cir. 1984). The Seventh Circuit uses a two-step analysis to assess whether

 preliminary injunctive relief is warranted. See Girl Scouts of Manitou Council, Inc. v. Girl Scouts

 of USA, Inc., 549 F.3d 1079, 1085–86 (7th Cir. 2008), abrogated on other grounds by Nken v.

 Holder, 556 U.S. 418, 434 (2009). This analysis is the same to determine if a TRO is warranted.

 Gray v. Orr, 4 F. Supp. 3d 984, 989 n.2 (N.D. Ill. 2013). To warrant a TRO, a plaintiff must

 demonstrate: (1) a likelihood of success on the merits; (2) no adequate remedy at law exists; and

 (3) plaintiff will suffer irreparable harm if the TRO is not granted. See Incredible Techs., Inc. v.

 Virtual Techs., Inc., 400 F.3d 1007, 1011 (7th Cir. 2005). If these elements are satisfied, the Court

 must then balance the harm to the plaintiff if the restraining order is denied against the harm to the

 defendant if the restraining order is granted. Id. The greater the movant's likelihood of success on

 the merits, "the less strong a showing" the movant "must make that the balance of harm is in its

 favor." Foodcomm Int'l v. Barry, 328 F.3d 300, 303 (7th Cir. 2003).

                                         III.   DISCUSSION

        In his Petition, Chen asserts six claims against Defendants: (1) unauthorized SEVIS

 termination in violation of the Administrative Procedure Act ("APA"); (2) arbitrary and capricious

 SEVIS termination in violation of the APA; (3) violation of procedural due process under the Fifth

 Amendment; (4) violation of procedural due process under the APA; (5) unlawful SEVIS

 termination under United States ex rel. Accardi v. Shaughnessy, 347 U.S. 260 (1954); and

 (6) unlawful detention in violation of the due process clause of the Fifth Amendment. He moves

 for a TRO to (1) enjoin Defendants’ decision to terminate Plaintiff’s SEVIS records and their F-1

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 student status, and (2) enjoin Defendants from directly or indirectly enforcing, implementing, or

 otherwise taking any action or imposing any legal consequences—including detaining or removing

 Plaintiff—as a result of that decision pending the instant case. (Filing No. 3 at 12).

        Defendants oppose the Court granting a TRO. (Filing No. 14).

 A.     Status Quo

        As a preliminary matter, Defendants argue that a TRO is meant to "preserve the status quo,"

 but Chen seeks to alter the status quo by "request[ing] that the Court order DHS to reinstate his

 SEVIS record." (Filing No. 14 at 6). However, "[t]he status quo is the last uncontested status which

 preceded the pending controversy." Westinghouse Elec. Corp. v. Free Sewing Mach. Co., 256 F.2d

 806, 808 (7th Cir. 1958); see Local 180 of Int'l Union, United Auto. Aircraft & Agr. Workers of

 Am., AFL-CIO v. J.I. Case Co., 281 F.2d 773, 775 n.1 (7th Cir. 1960) ("We have defined the status

 quo as the last uncontested status which preceded the pending controversy."); Seagram-Distillers

 Corp. v. New Cut Rate Liquors, 221 F.2d 815, 82 (7th Cir. 1955); Student Doe v. Noem, No. 25-

 cv-1103, 2025 WL 1134977, at *3 (E.D. Cal. Apr. 17, 2025) ("[P]laintiff properly seeks to restore

 the status quo ante litem. . . . The last uncontested status existed before defendants terminated

 plaintiff's SEVIS record, placing plaintiff at risk of detention and removal on that basis."). In this

 case, an order preserving the "status quo" would be one requiring Defendants to reinstate Chen's

 SEVIS record and F-1 status.

 B.     Likelihood of Success on the Merits

        The Court begins with Counts 1 and 2 of Chen's Petition, which assert claims under the

 APA. The APA governs judicial review of agency actions and waives federal sovereign immunity

 in some circumstances to allow for equitable relief from agency action or inaction. 5 U.S.C. § 702.

 Under the APA, a court may "hold unlawful and set aside agency action" that is "arbitrary,



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 capricious, an abuse of discretion," "short of statutory right," or "without observance of procedure

 required by law." Id. § 706(2)(A), (C)–(D).

        Chen alleges the Defendants terminated his SEVIS record and F-1 status without any

 statutory or regulatory authority and without articulating their basis for the termination decision.

 He alleges the decision was therefore arbitrary, capricious, not in accordance with law, in excess

 of statutory authority, and without observance of procedure required by law (Filing No. 1 at 7–8).

 Defendants respond that Chen is not likely to succeed on the merits of his APA claims because the

 Privacy Act bars APA review, Defendants' action is not a "final" agency action under the APA, and

 because this Court cannot enjoin a removal action. The Court will address each of the Defendants'

 arguments before discussing Chen's arguments.

        1. The Privacy Act

        The APA waives sovereign immunity for actions in federal court by "person[s] suffering

 legal wrong because of agency action." 5 U.S.C. § 702. "That waiver, however, is subject to three

 limitations: (1) the plaintiff must 'seek[] relief other than money damages'; (2) the plaintiff must

 have 'no other adequate remedy'; and (3) the plaintiff's action must not be 'expressly or impliedly

 forbid[den]' by 'any other statute.'" Student Doe, 2025 WL 1134977, at *4 (alterations in original)

 (quoting United Aeronautical Corp. v. U.S. Air Force, 80 F.4th 1017, 1022 (9th Cir. 2023) (citing

 5 U.S.C. §§ 702, 704)). Defendants argue that the third limitation applies, and the APA does not

 waive the United States' sovereign immunity as to Chen's APA claims because the Privacy Act

 provides the exclusive means for challenging the termination of SEVIS records.

        "Where a statute vest exclusive jurisdiction over a category of claims in a specialized court

 . . . , it 'impliedly forbids' an APA action brought in federal district court." United Aeronautical

 Corp., 80 F.4th at 1022; see Match-E-Be-Nash-She-Wish Band of Pottawatomi Indians v. Patchak,

 567 U.S. 209, 216 (2012). Defendants contend that the Privacy Act "allows individuals to
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 challenge data contained in a government system of records in federal court and establishes a

 comprehensive scheme for such claims," but because noncitizens may not sue under the Privacy

 Act, Chen cannot (and does not 1) assert a Privacy Act claim. (Filing No. 14 at 9); United

 Aeronautical Corp., 80 F.4th at 1022 (rejecting argument that the Privacy Act provided similar

 plaintiffs an "other adequate remedy" because noncitizens may not sue under the Privacy Act).

         The District Court for the District of Columbia recently rejected the Defendants' argument

 in Alliance for Retired Americans v. Bessent, -- F. Supp. 3d --, 2025 WL 740401, at *18 (D.D.C.

 Mar. 7, 2025). In that case, three organizations sued the Department of Treasury and Treasury

 Secretary, among others, after government personnel were given access to Treasury records

 containing the sensitive and personal information of plaintiffs' members. The defendants, like

 Defendants here, argued that the APA did not waive sovereign immunity as to the plaintiffs' claims

 because "Congress intended the remedies in the Privacy Act to be exclusive, impliedly forbidding

 related forms of relief under the APA." Id. at *18. The District of Columbia disagreed, stating that

 "the Supreme Court's more recent decision in Department of Agriculture Rural Development Rural

 Housing Service v. Kirtz, 601 U.S. 42 (2024), suggests that the Privacy Act is not the kind of

 comprehensive and 'exclusive' remedial statute that impliedly displaces related remedies under

 other statutes." Id. at *19. In Kirtz, the Supreme Court found that the Privacy Act did not foreclose

 a plaintiff's claims under the Fair Credit Reporting Act. The District of Columbia therefore found

 that "Congress did not intend for the Privacy Act to be an 'exclusive' source of claims or remedies

 for alleged mishandling of records about individuals that impliedly forbids other relief under the

 APA," and the defendants did not have sovereign immunity to the plaintiff-organizations' claims.

 Id.; see Am. Fed'n of Labor & Cong. of Indus. Orgs. v. Dep't of Labor, -- F. Supp. 3d --, 2025 WL


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   Because Chen does not assert a Privacy Act claim, the Court need not address the Defendants' argument that he has
 failed to exhaust his administrative remedies under the Privacy Act (Filing No. 14 at 9–10).

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 1129227, at *15 (D.D.C. Apr. 16, 2025) ("It appears, then, that the Supreme Court reads the Privacy

 Act to show no 'clear and convincing evidence' that Congress wanted to preclude review outside

 of the Act's confines, including through the APA. Hence, plaintiffs' reliance on the Privacy Act

 does not rob them of an APA cause of action." (citing Alliance, 2025 WL 740401, at *19; Doe v.

 Chao, 540 U.S. 614, 619, n.1 (2004))).

          This Court is persuaded by the District of Columbia's analysis. The Supreme Court has

 held that the Privacy Act is not the exclusive means of challenging the mishandling of federal

 records, so the Privacy Act does not forbid Chen's APA claims. Kirtz, 601 U.S. at 63.

          Defendants cite one decision in support of their argument that the Privacy Act impliedly

 forbids Chen's APA claims. 2 In El Badrawi v. Department of Homeland Security, the District of

 Connecticut, in dicta in a footnote, stated that because the Privacy Act applies only to U.S. citizens

 and lawful permanent residents, it "implicitly (if not explicitly) forbids nonresident aliens . . . from

 suing federal agencies to correct their records." 579 F. Supp. 2d 249, 279 n.35 (D. Conn. 2008).

 This non-precedential dicta is unpersuasive for several reasons. First, it predates the Supreme

 Court's decision in Kirtz. Second, this portion of El Badrawi has been cited only one other time,

 in 2010, also by the District of Connecticut. Diaz-Bernal v. Myers, 758 F. Supp. 2d 106, 119 (D.

 Conn. 2010). Third, the District of Connecticut's reading of the APA appears to conflict with the

 Seventh Circuit's less restrictive reading. In Michigan v. U.S. Army Corps of Engineers, 667 F.3d

 765 (7th Cir. 2011), the Seventh Circuit held that the FTCA did not "implicitly prohibit injunctive




 2
  Defendants cite three other cases that are inapplicable, since none of them discusses the APA or sovereign immunity.
 (Filing No. 14 at 9); Durrani v. U.S. Citizenship & Immigr. Servs., 596 F. Supp. 2d 24, 28 (D.D.C. 2009) (dismissing
 pro se plaintiff's Privacy Act claim seeking to correct citizenship records to reflect his status as naturalized citizen
 because undisputed evidence did not show that plaintiff was ever naturalized); Cudzich v. U.S. Immigr. &
 Naturalization Serv., 886 F. Supp. 101, 105 (D.D.C. 1995) (dismissing pro se plaintiff's Privacy Act claim because
 plaintiff was not a citizen or lawful permanent resident); Raven v. Panama Canal Co., 583 F.2d 169, 171 (5th Cir.
 1978) (dismissing Privacy Act claim because plaintiff was not a citizen or lawful permanent resident).

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 relief in tort suits against the United States" simply because the FTCA only refers to monetary

 relief and is silent as to injunctive relief. Id. at 776. The Seventh Circuit explained:

         There is nothing in the statute suggesting that Congress meant to forbid all actions
         that were not expressly authorized. To the contrary, section 702(2) requires
         evidence, in the form of either express language or fair implication, that Congress
         meant to forbid the relief that is sought. The [government's] effort to transform
         silence into implicit prohibition would seriously undermine Congress's effort in the
         APA to authorize specific relief against the United States. When Congress amended
         the APA in 1976 it gave every indication that it intended to provide specific relief
         for all nonstatutory claims against the government.

 Id. at 775–76. The Seventh Circuit continued that because the type of claim asserted by plaintiffs

 "would not be cognizable under the FTCA in the first place," there is "no reason to think that it

 implicitly forbids a particular type of relief for a claim outside its scope." Id. at 776.

         Here, Defendants attempt to seize upon a similar silence in the Privacy Act, but there is

 nothing in the Privacy Act suggesting that Congress meant to forbid all actions that were not

 expressly authorized, particularly because, as Defendants assert, a Privacy Act claim by Chen

 "would not be cognizable . . . in the first place." Id. at 776; (Filing No. 14 at 9).

         The Supreme Court has also indicated that the Privacy Act does not impliedly forbid claims

 or remedies that are not expressly authorized. Doe v. Chao, 540 U.S. at 619 n.1 ("The Privacy Act

 says nothing about standards of proof governing equitable relief that may be open to victims of

 adverse determinations or effects, although it may be that this inattention is explained by the

 general provisions for equitable relief within the Administrative Procedure Act . . . ."); accord

 Texas v. U.S. Dep't of Homeland Sec., 123 F.4th 186, 204 (5th Cir. 2024) (discussing FTCA claims);

 Am. Fed'n of Gov't Emps., AFL-CIO v. U.S. Office of Personnel Mgmt., -- F. Supp. 3d --, 2025 WL

 996542, at *18–19 (S.D.N.Y. Apr. 3, 2025) ("[T]he Privacy Act explicitly provides for injunctive

 relief in two circumstances, while being silent regarding other circumstances. That is not 'fairly

 discernable' evidence that Congress intended to preclude judicial review of APA claims alleging


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 violations of the Privacy Act's substantive provisions or arbitrary and capricious actions by OPM

 that strike at the privacy concerns that drove the enactment of the Privacy Act. . . . [M]ore notably,

 the defendants have not identified any comparable cases in which injunctive relief which was ruled

 to be unavailable under the Privacy Act was not also available under the APA. Instead, the Supreme

 Court has suggested that injunctive relief is available under the APA in such circumstances.")

 (citing Supreme Court cases).

        In sum, the Court is not persuaded by the dicta in El Badrawi and instead follows the

 reasoned analysis of the District of Columbia in Allied, which is well supported by, and consistent

 with, Supreme Court and Seventh Circuit precedent. Because the Supreme Court has held that the

 Privacy Act does not provide the exclusive remedy for mishandling of federal records, and because

 the Seventh Circuit does not read mere silence as a statutory prohibition against claims, the Court

 concludes that the Privacy Act does not explicitly or implicitly forbid Chen's claims, and the APA

 waives sovereign immunity against those claims.

        2. Finality of Agency Action

        Defendants next argue that Chen cannot succeed on his APA claims because "the agency's

 action is not final because no decision has been made on [Chen's] nonimmigrant status" and

 because Chen "could administratively challenge the relevant agency decision." (Filing No. 14 at

 10). The APA "allow[s] any person 'adversely affected or aggrieved' by agency action to obtain

 judicial review thereof, so long as the decision challenged represents a 'final agency action' for

 which there is no other adequate remedy in a court." Webster v. Doe, 486 U.S. 592, 599 (1988)

 (quoting 5 U.S.C. §§ 701–06). For an "agency action" to be "final," 5 U.S.C. § 704, two conditions

 must be satisfied. "First, the action must mark the consummation of the agency's decisionmaking

 process—it must not be of a merely tentative or interlocutory nature. And second, the action must

 be one by which 'rights or obligations have been determined,' or from which 'legal consequences
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 will flow.'" Bennett v. Spear, 520 U.S. 154, 177–78 (1997) (citation omitted). In other words, the

 final agency action requirement "asks whether a 'terminal event' has occurred." Driftless Area Land

 Conservancy v. Rural Utis. Serv., 74 F.4th 489, 493 (7th Cir. 2023) (quoting Salinas v. R.R. Ret.

 Bd., 141 S. Ct. 691, 697 (2021)); see also U.S. Army Corps of Eng'rs v. Hawkes Co., 578 U.S. 590,

 597 (2016) (quoting Bennett, 520 U.S. at 178).

        As to their first reason, Defendants argue Chen "cannot establish that the change in [his]

 SEVIS record determines his rights or obligations as to his nonimmigrant status or that any legal

 consequences have flowed from the change of [his] SEVIS record to set the status as terminated."

 (Filing No. 14 at 10). In support, Defendants refile the Declaration of Andre Watson, the Senior

 Official in the National Security Division for Homeland Security Investigations (Filing No. 14-2)

 from another action pending in this Court, Jelena Liu v. Noem, No. 1:25-cv-00716-JPH-TAB (S.D.

 Ind. Apr. 15, 2025), and a recent decision from the Eastern District of Michigan, Deore v. Secretary

 of U.S. Department of Homeland Security, No. 25-cv-11038 (E.D. Mich. Apr. 17, 2025). Mr.

 Watson's Declaration mostly relates to the facts of Jelena Liu but states, in relevant part:

        Terminating a record in SEVIS does not terminate an individual's nonimmigrant
        status in the United States. The statute and regulations do not provide SEVP the
        authority to terminate a nonimmigrant status by terminating a SEVIS record, and
        SEVP has never claimed that it terminated [the Jelena Liu] plaintiffs' nonimmigrant
        status. Furthermore, the authority to issue or revoke visas for nonimmigrant
        students like the [Jelena Liu] plaintiffs' lies with the Department of State, not
        SEVP. Terminating a record within SEVIS does not effectuate a visa revocation.

 (Filing No. 14-2 ¶ 35). In Deore, the court denied the plaintiff's request for a TRO because "it

 [was] not clear that the Plaintiffs' F-1 status were terminated alongside their SEVIS records," and

 there was "substantial uncertainty over the effect of SEVIS record terminations" and whether that

 termination alone "carries any legal consequences." (Filing No. 14-5 at 10).

        In Jelena Liu and Deore, the defendants had submitted evidence (including a similar

 declaration from Mr. Watson) or made representations that there had been no status change for the
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 plaintiffs in those cases. Id. at 7 ("At the motion hearing, the Government also represented that it

 does not currently believe that there has been any status change for any of the students, even

 considering the termination of the SEVIS records."); (Filing No. 14-2 ¶ 35 (relating to plaintiffs in

 the Jelena Liu case)). At the Hearing in this case, Defendants were unable to tell the Court "exactly

 what happened" with Chen, so there is no evidence contradicting Chen's evidence that both his

 SEVIS record and his F-1 status were terminated. (Filing No. 1-1 at 2 (telling Chen his "SEVIS

 record and lawful F-1 status in the United States was terminated"); J.P. Morgan Secs. LLC v. Weiss,

 19-cv-4163, 2019 WL 6050176, at *4 (S.D. Ind. Nov. 15, 2019) ("[H]earsay can be considered in

 entering a preliminary injunction.") (quotation marks omitted); Chandraprakash Hinge v. Lyons,

 No. 25-1097, 2025 WL 1134966, at *4 & n.10 (D.D.C. Apr. 15, 2025) (granting TRO; "[D]efendant

 cited the . . . Declaration of Andre Watson . . . . However, even if this is true, in the . . . hearing,

 government counsel was unable to confirm that ICE would not interpret its SEVIS record

 termination and the subsequent action taken by the plaintiff's university in response to that

 termination, as effectively terminating the plaintiff's F-1 status and providing grounds for the

 plaintiff to be subject to arrest, deportation, and accruing unlawful presence."). At this stage, Chen

 has shown that his F-1 status was also terminated, so the Court need not reach the question of

 whether the SEVIS record termination, absent a termination of F-1 status, is a final agency action.

         Chen argues that the termination of his F-1 student status is a final agency action.

 Defendants do not address this argument in their response. See Bonte v. U.S. Bank, N.A., 624 F.3d

 461, 466 (7th Cir. 2010) (concluding that "failure to respond to an argument—as [is the case]

 here—results in waiver"). The Court agrees with Chen. In Jie Fang v. Director U.S. Immigration

 & Customs Enforcement, 935 F.3d 172 (3d Cir. 2019), the Third Circuit held that the defendants'

 termination of the plaintiffs' lawful F-1 status was a final agency action. Id. at 179–85. The Third



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 Circuit found that the termination of the students' F-1 status marked the consummation of the

 agency's decision-making process, and that the termination order determines a right or obligation

 because it "end[s] the student's legal status in the United States." Id. at 180; See Doe v. Noem, -- F.

 Supp. 3d --, 2025 WL 1141279, at *3 (W.D. Wash. Apr. 17, 2025) (holding that termination of

 SEVIS record and student status was a final agency action).

        Defendants next argue that the termination of Chen's F-1 status is not "final" because Chen

 "could administratively challenge the relevant agency decision." (Filing No. 14 at 10). Defendants

 do not elaborate on this argument, aside from citing two regulations: 8 C.F.R. § 214.2(f)(16),

 regarding the reinstatement of student status; and 22 C.F.R. § 41.122(b), regarding provisional

 revocation of visas. The Third Circuit also rejected this argument in Jie Fang:

        First, there is no statutory or regulatory requirement that a student seek
        reinstatement after his or her F-1 visa [status] has been terminated. Moreover, even
        if the students attempt to pursue the administrative procedures for reinstatement,
        there is no mechanism to review the propriety of the original termination order.
        Second, the students need not wait for removal proceedings to be instituted. . . .
        [A]n order's finality cannot depend on the institution of removal procedures which
        may never occur. And in any event, immigration judges cannot review the original
        denial of reinstatement. They do not have that authority.

 935 F.3d at 182; see Young Dong Kim v. Holder, 737 F.3d 1181 (7th Cir. 2013) ("[N]either the

 [immigration judge] nor the [Board of Immigration Appeals] may review the USCIS's

 discretionary denial of a motion to reinstate student status."). At the Hearing, Chen echoed the

 Third Circuit's reasoning, noting that during deportation proceedings, an immigration judge

 considers the termination of a lawful status but not the reason for that termination.

        At this initial stage, the Court finds Chen is reasonably likely to show that Defendants'

 decision to terminate his F-1 status is a reviewable final agency action. See Chandraprakash

 Hinge, 2025 WL 1134966, at *5 ("If the plaintiff's lawful status in the United States has been

 revoked, whether directly by ICE or indirectly by his university's correct interpretation of the


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 action it is required to take in response to ICE's actions, that revocation will affect the plaintiff's

 'rights or obligations . . . from which legal consequences will flow.' Thus, the Court concludes that

 it must grant the plaintiff's request for a temporary restraining order until a further status

 conference is held in order to allow government counsel to address these ambiguities after

 conferring with the agency he represents." (omission in original) (quoting Bennett, 520 U.S. at

 177–78)).

        3. Authority to Enjoin Removal Proceedings

        Defendants lastly argue that Chen "seeks an injunction barring the government from

 initiating removal proceedings," but "the Court lacks jurisdiction or authority to entertain such a

 claim" because 8 U.S.C. § 1252(g) forecloses judicial review of decisions to commence removal

 proceedings and because the decision to commence removal proceedings is committed to agency

 discretion. (Filing No. 14 at 10); 5 U.S.C. § 701(a)(1)–(2). Section 1252(g) provides, "no court

 shall have jurisdiction to hear any cause or claim by or on behalf of any alien arising from the

 decision or action by the Attorney General to commence proceedings . . . against any alien under

 this chapter." In Reno v. American-Arab Anti-Discrimination Committee, 525 U.S. 471 (1999), the

 Supreme Court instructed courts to read § 1252(g) narrowly. Id. at 486; see Fornalik v. Perryman,

 223 F.3d 523, 531 (7th Cir. 2000) ("[A]lmost every alien who brings a claim to federal court . . .

 does so because she is threatened with removal from the United States. . . . As the INS would have

 it here, the alien not only would be barred from raising virtually all claims prior to removal

 proceedings (because of exhaustion requirements), but then § 1252(g) would preclude jurisdiction

 of all claims brought after removal is threatened. Such a sweeping reading would be inconsistent

 with the narrow interpretation of § 1252(g) that AADC commands." (emphases in original)).

        The Seventh Circuit has explained that § 1252(g) applies only to "judicial review 'arising

 from'" the enumerated actions, including commencing removal proceedings. Sharif ex rel. Sharif
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 v. Ashcroft, 280 F.3d 786, 787 (7th Cir. 2002). The cases cited by Defendants involve claims arising

 from a discretionary decision to commence removal proceedings. (Filing No. 14 at 11); Kightlinger

 v. Napolitano, 500 F. App'x 511, 514–15 (7th Cir. 2013) (dismissing APA claim challenging

 removal order under § 1252(a)(5), which precludes district court review of final removal orders);

 Albarran v. Wong, 157 F. Supp. 3d 779, 785 (N.D. Ill. 2016) (dismissing APA case under § 1252(g)

 because the claim "arises from" the defendants' decision to execute a reinstated removal order);

 Garcia v. Dep't of Homeland Sec., No. 19-cv-1265, 2019 WL 7290556, at *3 (N.D. Ill. Dec. 30,

 2019) (dismissing APA claim challenging DHS's denial of request for a stay of removal

 proceedings because it "arises from" a decision to execute a removal order).

        This case is more analogous to the Seventh Circuit case Fornalik v. Perrman. In Fornalik,

 the plaintiff challenged the Attorney General's denial of his application for adjustment of status,

 but by the time the plaintiff filed a habeas petition, the government had threatened to commence

 removal proceedings, so the plaintiff requested a stay of his removal. 223 F.3d at 532. The Seventh

 Circuit "reject[ed] the [government's] argument that the district court properly invoked § 1252(g)

 to reject [the plaintiff's] claim" because "[h]is claim is not that the Attorney General is unfairly

 executing a removal order, but rather that a prior, unrelated error makes his removal improper. This

 makes our case entirely different from other decisions of this circuit that have applied AADC." Id.

 at 553. The Fornalik court accordingly exercised jurisdiction over the plaintiff's habeas action and

 stayed the execution of his removal order. Id. at 533. Here, Chen does not challenge a decision to

 commence removal proceedings and instead challenges Defendants' termination of his SEVIS

 record and F-1 status. Chen's request that the Court enjoin removal proceedings, as in Fornalik,

 "comes into the case only incidentally." Fornalik, 223 F.3d at 532.




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        At least two other district courts have reached this same conclusion in very similar cases.

 In Student Doe v. Noem, the plaintiff student sued Defendants "for terminating plaintiff's [SEVIS]

 record, which had the effect of terminating plaintiff's F-1 visa status." 2025 WL 1134977, at *1.

 The plaintiff sought the same injunctive relief that Chen seeks, and the Defendants argued that

 § 1252(g) barred that relief. The Eastern District of California noted that under Ninth Circuit

 precedent, like Seventh Circuit precedent, § 1252(g) "'does not divest courts of jurisdiction over

 cases that do not address prosecutorial discretion and address "a purely legal question, which does

 not challenge the Attorney General's discretionary authority."'" Id. at *7 (quoting Sied v. Nielsen,

 No. 17-cv-6785, 2018 WL 1142202, at *21 (N.D. Cal. Mar. 2, 2018) (quoting United States v.

 Hovsepian, 359 F.3d 1144, 1155 (9th Cir. 2004) (en banc))). The Student Doe court therefore held

 that § 1252(g) "addresses challenges predicated on purported improper use of discretionary

 authority to commence removal proceedings, which is not at issue," so "plaintiff's request to

 temporarily stay detention and removal on the basis of the SEVIS termination is proper." Id. at *7–

 8 ("The same reasoning applies to § 1226(e) regarding detention."). In Osturk v. Trump, -- F. Supp.

 3d --, 2025 WL 1145250, at *12 (D. Vt. Apr. 18, 2025), the District of Vermont noted that the

 Second Circuit, also like the Seventh Circuit, has held that "a suit brought against immigration

 authorities is not per se a challenge to a removal order; whether the district court has jurisdiction

 will turn on the substance of the relief that a plaintiff is seeking." Id. at *12 (quoting Delgado v.

 Quarantillo, 643 F.3d 52, 55 (2d Cir. 2011) (citing Kellici v. Gonzales, 472 F.3d 416, 420 (6th Cir.

 2006) (exercising jurisdiction over action where plaintiff "challenged only the constitutionality of

 the arrest and detention, not the underlying administrative order of removal")). The Orturk court

 held that the plaintiff's claims challenging her "apprehension, detention, and the termination of her

 SEVIS" did not "raise challenges to the removal process," so § 1252 did not apply. Id.



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        The Court additionally notes that other district courts in this Circuit have entered the same

 type of injunction that Chen request. Nali v. Noem, No. 25-cv-3969, Doc. No. 21 (N.D. Ill. Apr.

 18, 2025); Isserdasani v. Noem, No. 25-cv-283, 2025 WL 1118626, at *6 (W.D. Wis. Apr. 15,

 2025). And several other district courts throughout the country have as well. Prasanna Oruganti

 v. Noem, No. 25-cv-409, 2025 WL 1144560, at *8 (S.D. Ohio Apr. 18, 2025); Zeel M. Patel v.

 Bondi, No. 25-CV-101, 2025 WL 1134875, at *3 (W.D. Pa. Apr. 17, 2025); Doe v. Noem, 2025 WL

 1141279, at *10; Student Doe, 2025 WL 1134977, at *8; Arizona Student Doe #2 v. Trump, No.

 4:25-cv-00175, Doc No. 7 at 2 (D. Ariz. Apr. 15, 2025); C.S. v. Noem, No. 25-cv-477, Doc. No. 22

 (W.D. Pa. Apr. 15, 2025); Roe v. Noem, No. CV 25-40, 2025 WL 1114694, at *4 (D. Mon. Apr. 15,

 2025); Zheng v. Lyons, No. 25-cv-10893, Doc. No. 8 at 1 (D. Mass. Apr. 11, 2025). The Court

 concludes, at least at this stage, that it may enjoin Defendants from imposing any consequences,

 including detention and removal, of the termination of Chen's SEVIS record and F-1 status.

        4. Chen's Likelihood of Success on the Merits

        Chen argues he is likely to succeed on the merits of his APA claims because he has

 committed none of the violations that would trigger the lawful termination of his F-1 student status,

 and Defendants did not terminate his SEVIS record in compliance with 8 C.F.R. § 214.1(d) (Filing

 No. 3 at 8). Chen suspects that Defendants terminated his SEVIS record and F-1 status because of

 his 2019 conviction for reckless driving, which is a misdemeanor not punishable by a sentence of

 more than one year and is thus not "criminal activity" under 8 C.F.R. § 214.1(g). See Judgment

 and Order Re: Sentencing, Indiana v. Chen, No. 55D02-1810-F5-1717 (Morgan Sup. Ct. No. 2

 Aug. 15, 2019); Ind. Code § 9-21-8-52(a)(1) (offense levels); Ind. Code §§ 35-50-3-2 & -4

 (potential sentences). During the Hearing, Defendants conceded that based on Chen's allegations,

 this is likely what happened. "Accordingly, plaintiff [Chen] has shown a substantial, if not

 overwhelming, likelihood of success on the merits of his claim . . . that DHS violated the APA
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 when it summarily terminated his F-1 student status in SEVIS without cause." Isserdasani, 2025

 WL 1118626, at *5. Specifically, based on the pleadings and evidence before the Court, Chen is

 likely to show that Defendants' termination of his SEVIS record and F-1 status was not in

 compliance with 8 C.F.R. 214.1(d) and was arbitrary, capricious, an abuse of discretion, and not in

 accordance with law under 5 U.S.C. § 706(2)(A).

        To obtain preliminary injunctive relief, Chen must only show a reasonable likelihood of

 success on at least one of his claims, not all of them. See, e.g., Girl Scouts of Manitou Council,

 Inc., 549 F.3d at 1096. The Court need not, and therefore does not, address Chen's likelihood of

 success on his due process claims or claim under the Accardi doctrine. See Liu, No. 25-cv-133,

 Doc. No. 13 at 3 n.2 (declining to address likelihood of success on due process claim); Roe, 2025

 WL 1114694, at *3 (same); Prasanna Oruganti, 2025 WL 1144560, at *6 n.5 (same) (citing cases);

 Doe v. Noem, 2025 WL 1141279, at *4 n.5 (same).

 C.     Irreparable Harm and Inadequate Remedy at Law

        Chen argues that absent an injunction, he will suffer irreparable harm in the form of

 potential detention and removal, "catastrophic financial hardship," and the interruption and

 potential loss of his education. DHS responds that Chen has not shown a likelihood of irreparable

 harm because DHS has not yet initiated removal proceedings and Chen is not being detained, and

 that his alleged monetary injuries alone generally do not constitute irreparable harm (Filing No.

 14 at 13). Defendants also note that this Court recently denied a request for a TRO in another case,

 Jelena Liu, due to an insufficient showing of irreparable harm (Filing No. 14-1). On reply, Chen

 asserts that without an injunction, "[h]e cannot continue his PhD program, which includes stalling

 all research associated with that program," and "if he is unable to complete his research and his

 doctoral program, he will lose the past 5 years' worth of work, face diminished career prospects,

 and suffer reputational harm," on top of his concerns regarding removal (Filing No. 16 at 5).
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         In Jelena Liu, the seven plaintiffs, who are students from universities throughout Indiana,3

 challenged the termination of their SEVIS record and student status and seeking a temporary

 restraining order. 2025 WL 1141023, at *1. All of the plaintiffs alleged concerns about possible

 removal, and each plaintiff generally alleged that they "may never be able to complete [their]

 studies," with a few plaintiffs identifying lost income from jobs at their universities, and one PhD

 student alleging the risk of losing a fellowship. The Court denied the request for a temporary

 restraining order because "'some possibility' of deportation is not enough to show irreparable

 harm," and each plaintiff's "conclusory statement that they will not be able to complete their

 studies," without evidence "that they would not be able to resume and complete their academic

 programs if they prevail," were not enough to demonstrate irreparable harm. Id. at *3.

         Chen offers more specific evidence of irreparable harm. Chen does not merely allege that

 he is worried he will not be able to continue his education as planned. He explains that he has

 invested twelve years and $800,000.00 in his education to date, and he is already five years into

 his doctoral research and program. Chen also describes how he has lost previously accepted jobs,

 which has "set back [his] career development and damaged his reputation with potential

 employers." (Filing No. 1-2 at 2). These allegations provide more context to Chen's alleged

 irreparable harm than the plaintiffs' conclusory allegations in Jelena Liu.

         Further, Chen's doctoral program is not the type that could simply be resumed if Chen

 ultimately prevails. Unlike undergraduate or even masters programs, which typically have more

 standardized curricula and take fewer years to complete, doctoral programs are highly specialized

 and time intensive and cannot easily be put down and picked back up. See Doe v. Noem, 2025 WL



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   Most of the plaintiffs in Jelena Liu do not reside in the Southern District of Indiana, and the Court in Jelena Liu
 expressed concern as to whether this this district is the proper venue for those plaintiffs' claims. 2025 WL 1141023,
 at *4. In this case, Defendants do not dispute that venue is proper in this Court.

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 1141279, at *8 ("[D]octoral programs typically involve supervision of the doctoral candidate by

 an adviser with specialized knowledge and reputation in the field, so the inability to complete a

 doctoral program due to status termination and removal cannot necessarily be remedied with re-

 starting another program at a different time and place."). Chen's status as a noncitizen may

 compound these concerns, since it may be more difficult for him to be readmitted to a similar

 doctoral program, especially if he is removed from the country. Zeel M. Patel, 2025 WL 1134875,

 at *2 n.3 ("While delays in education alone have generally been found not to amount to irreparable

 harm, the circumstances here are unique in that Patel is at risk of accruing days that could

 accumulate to prevent future reinstatement of F-1 status." (quotation marks and citations omitted)).

 Chen's situation is therefore distinguishable from other cases in this Circuit finding that "a potential

 gap" in education, by itself, is "generally not irreparable harm." Jelena Liu, 2025 WL 1141023, at

 *3 (citing Medlock v. Tr. of Ind. Univ., No. 11-cv-977, 2011 WL 4068453, at *9 (S.D. Ind. Sept.

 13, 2011) (finding that plaintiff, an undergraduate student at IU, would be eligible for reinstatement

 at IU, considering that plaintiff had already been admitted into George Mason University for the

 upcoming academic year); Doe v. Bd. of Trs. of Univ. of Ill., No. 17-CV-2180, 2017 WL 11593304,

 at *2 (C.D. Ill. Dec. 18, 2017) (finding "no indication" that plaintiff could not attend another

 university or that plaintiff could not apply for readmission at the conclusion of his suspension)).

         The Court finds that these considerations regarding Chen's specific degree path and

 progress, coupled with his allegations regarding financial harm, loss of present and future

 employment opportunities, and potential removal, place Chen's claims within the realm of

 irreparable harm with no adequate remedy at law. See Isserdasani, 2025 WL 1118626, at *5

 ("Given the amount of Isserdasani's educational expenses and potential losses from having to leave

 the United States without obtaining his degree, the court concludes that Isserdasani credibly



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 demonstrates that he faces irreparable harm for which he has no adequate remedy at law in the

 absence of injunctive relief."); Prasanna Oruganti, 2025 WL 1144560, at *5 (citing Isserdasani

 and four other similar cases finding irreparable harm; granting TRO); Doe v. Noem, 2025 WL

 1141279, at *8 ("[I]n this case, the ordinary harms of removal would compound the other harms

 Plaintiff faces by effectively eliminating his ability to complete his degree program, causing him

 economic and reputational loss wherever he ultimately resides.").

 D.     Balance of Equities and Public Interest

        The final two questions are whether the balance of harms weigh in favor of preliminary

 relief and whether the public will benefit from the proposed injunction. "When the government is

 a party, the balance of equities and the public interest factors merge." Nken, 556 U.S. at 435. The

 Court "weighs the balance of potential harms on a 'sliding scale' against the movant's likelihood of

 success: the more likely he is to win, the less the balance of harms must weigh in his favor; the

 less likely he is to win, the more it must weigh in his favor." Turnell v. CentiMark Corp., 796 F.3d

 656, 662 (7th Cir. 2015).

        Chen asserts that while he is suffering "significant and devastating harm in the absence of

 injunctive relief," Defendants "have no substantial interest in terminating the status of one diligent,

 hard-working student." (Filing No. 11 at 3). He also contends that "'[t]he public interest is served

 when administrative agencies comply with their obligations under the APA" and "can only be

 served by the halting of ongoing unconstitutional government action." Id. (quoting N. Mariana

 Islands v. United States, 686 F. Supp. 2d 7, 21 (D.D.C. 2009)) (citing Elrod v. Burns, 427 U.S. 347,

 373 (1976)). Defendants do not respond to these arguments. The Court agrees with Chen that the

 balance of equities weighs strongly in his favor, considering the lack of potential harm to

 Defendants and Chen's very strong likelihood of success on the merits of his claims. The Court

 also agrees that the public interest would be served by ensuring that SEVIS record and F-1 student
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 status terminations occur only pursuant to applicable law. See Zeel M. Patel, 2025 WL 1134875,

 at *3; Prasanna Oruganti, 2025 WL 1144560, at *7; Student Doe, 2025 WL 1134977, at *9.

 E.      Bond

         According to Rule 65(c), "[t]he court may issue a . . . temporary restraining order . . . only

 if the movant gives security in an amount that the court considers proper to pay the costs and

 damages sustained by any party found to have been wrongfully enjoined or restrained."

 Nevertheless, a district court may "waive the requirement of an injunction bond" when "the court

 is satisfied that there's no danger that the opposing party will incur any damages from the

 injunction." Habitat Educ. Ctr. v. United States Forest Serv., 607 F.3d 453, 458 (7th Cir.2010)

 ("There is no reason to require a bond in such a case."). In this case, the court is satisfied that

 Defendants will not suffer any damages if their termination of Chen's SEVIS record and F-1

 student status, and any consequences of that termination, are enjoined. Defendants make no

 argument to the contrary, so Chen shall not be required to post a bond.

                                       IV.     CONCLUSION

         For the foregoing reasons, Chen's request for a TRO (Filing No. 2) is GRANTED.

         IT IS, THEREFORE, ORDERED that:

         1.     A temporary restraining order is issued immediately.

         2.     Defendants are ordered to set aside the termination of Chen's SEVIS record and F-

 1 status.

         3.     Defendants are enjoined from directly or indirectly enforcing, implementing, or

 otherwise taking any action or imposing any legal consequences as a result of the termination of

 Chen's SEVIS record and F-1 status.

         4.     This Order shall remain in full force and effect for a period of fourteen (14) days

 pursuant to Federal Rule of Civil Procedure 65.

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        5.       No bond shall be required to be posted by Chen pursuant to Federal Rule of Civil

 Procedure 65(c).

        Chen's Motion (Filing No. 2) REMAINS PENDING as to his request for a Preliminary

 Injunction. Pursuant to the Court's April 17, 2025 Order (Filing No. 5), the parties are DIRECTED

 to meet with the Magistrate Judge to discuss a discovery plan, briefing schedule, and the hearing

 on Chen's request for preliminary injunctive relief.

        SO ORDERED.

        Date:    4/21/2025




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